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                                                                EXHIBIT 1


          IN THE CIRCUIT COURT FOR BOONE COUNTY
                     STATE OF MISSOURI

JEREMY A. ROWLES,                      )
                                       )
                       Plaintiff,      )
                                       )
                  v.                   )     Case No. 17BA-CV03170
                                       )
CURATORS OF THE UNIVERSITY             )     Hon. Jeff Harris
OF MISSOURI,                           )
                                       )
   Serve: Stephen J. Owens             )
            227 University Hall        )
            Columbia, MO 65211         )
                                       )
CATHY SCROGGS, in her individual       )
capacity,                              )
                                       )
   Serve: Cathy Scroggs                )
            1008 Maplewood Dr.         )
            Columbia, MO 65203         )
                                       )
ELLEN EARDLEY, in her individual       )     JURY TRIAL DEMANDED
capacity,                              )
                                       )
   Serve: Ellen Eardley                )
            Mehri & Skalet, PLLC       )
            1250 Connecticut Ave. N.W. )
            Suite 300                  )
            Washington, DC 20036       )
                                       )
SALAMA GALLIMORE, in her               )
individual capacity,                   )
                                       )
   Serve: Salama Gallimore             )
            Armstrong Teasdale LLP     )
            2345 Grand Blvd., Ste 1500 )
            Kansas City, MO 64108      )
                                       )
                  and                  )



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ANDREA HAYES, in her official                )
capacity as Interim Assistant Vice           )
Chancellor for Civil Rights & Title IX       )
                                             )
   Serve:   Andrea Hayes                     )
            202 Jesse Hall                   )
            Columbia, MO 65211               )
                                             )
                        Defendants.          )


                   FIRST AMENDED PETITION
              FOR DAMAGES AND INJUNCTIVE RELIEF

      Plaintiff Jeremy A. Rowles states the following in support of his First

Amended Petition for Damages and Injunctive Relief against Defendants

Curators of the University of Missouri, Cathy Scroggs, Ellen Eardley, Salama

Gallimore, and Andrea Hayes:

                             INTRODUCTION

      1.    This case involves an African-American male graduate student

named Jeremy Rowles (“Rowles”), who was removed from his doctoral

program and effectively expelled from the University of Missouri System for

writing a letter expressing his feelings to a white female undergraduate

named Annalise Breaux (“Breaux”).

      2.    Breaux was never Rowles’s student, employee, or coworker, and

he held no position of authority over her. On the contrary, she was Rowles’s

instructor at the Student Recreation Center (“Rec Center”).



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        3.   After exchanging flirtatious posts on social media in April 2016,

Rowles asked Breaux out on a date. Breaux told Rowles she couldn’t go out

with him the following weekend because she was going out of town. Rowles

then asked if they could celebrate his defense of his master’s thesis when she

returned, to which Breaux agreed. Rowles wrote her several times over the

following week, after which Breaux texted him that she only wanted their

relationship to remain professional. Rowles profusely apologized and did not

ask her out again. With Breaux’s permission, he continued taking her classes.

        4.   Over the next several months, Rowles spoke to Breaux only in

passing immediately before and after class. Occasionally he asked her for

dance and exercise tips, and Breaux suggested he take private lessons.

Rowles attempted to sign up for private lessons at the Rec Center but was

unable to do so. Breaux became increasingly distant over time, avoided

Rowles before and after class. After several failed attempts to speak with her,

Rowles handed Breaux a three-page letter apologizing for the awkwardness

between them, expressed his feelings for her, and asked if they could start

over.

        5.   After she received the letter, Breaux submitted a formal

complaint to the University’s Title IX office. Breaux did not allege that

Rowles ever intimidated, threatened, or stalked her, nor that he ever touched



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her inappropriately or made her feel unsafe; she alleged only that he made

her feel “uncomfortable.”

      6.    When he was informed of the complaint against him, Rowles

requested that Deputy Title IX Coordinator Salama Gallimore not be

involved in his case because he believed Gallimore had discriminated against

him during a prior Title IX investigation. In the earlier case, Gallimore told

Rowles that she thought he “looked like someone who might commit sexual

assault” and recommended discipline against him. Gallimore was eventually

overruled by Senior Associate Vice Provost Ken Dean, who found the

allegation of sexual misconduct against Rowles unsubstantiated. Rowles

feared Gallimore would push to discipline him for the current complaint

based on the prior allegations against him. He was assured by the Title IX

Office that Gallimore would not be involved this time.

      7.    In addition to Breaux’s formal complaint, the Title IX Office

received an email from Breaux’s supervisor, Rec Center Associate Director

Emily McElwain, identifying three other female fitness instructors whom she

believed Rowles had also made “uncomfortable.” Despite repeated efforts by

Title IX investigator Amber Lammers to contact them, none of the three

other instructors ever spoke with the Title IX Office or submitted any first-

hand allegations against Rowles. Nonetheless, Lammers included McElwain’s

allegations about the other three women in her Investigative Report.

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      8.    In March 2017, Title IX Administrator and Assistant Vice

Chancellor Ellen Eardley issued written “Findings by the Administrative

Officer” in which she concluded that Rowles “does not appear to set

appropriate boundaries with undergraduate students….” And though the

earlier Title IX complaint against him was unsubstantiated, Eardley

expressed concern “that [Rowles] failed to learn from [his] previous warning

regarding his conduct with an undergraduate female student.”

      9.    On information and belief—and contrary to Lammers’s

assurances—the Findings of the Administrative Officer signed and issued by

Ellen Eardley were drafted in substantial party by Salama Gallimore.

      10.   Evidently relying on hearsay about the other fitness instructors

as well as the prior unsubstantiated Title IX complaint against him, Eardley

and Gallimore concluded that Rowles’s conduct violated University policies

prohibiting sexual harassment and stalking on the basis of sex. Based on the

“totality of the circumstances,” Eardley and Gallimore barred Rowles from

entering all four campuses of the University system for four years,

permanently barred him from entering the Rec Center or any University

residential hall, and imposed a draconian remediation plan that would have

to be completed before Rowles could return to the University.

      11.   Rowles’s “suspension,” which Vice Chancellor for Student Affairs

Cathy Scroggs affirmed but shorted from four years to two, terminated

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Rowles’s participation in his doctoral program and effectively ended his

academic career.

      12.   The University treated Rowles differently from similarly situated

students based on his race and gender and violated his rights under the First

and Fourteenth Amendments to the Constitution of the United States, the

Civil Rights Act of 1964, the Education Amendments of 1972, and the

Missouri Human Rights Act.

                PARTIES, JURISDICTION, AND VENUE

      13.   Plaintiff Jeremy A. Rowles (“Rowles”) is a resident of Boone

County, Missouri, and a former doctoral candidate in Cultural Anthropology

at the University of Missouri.

      14.   Rowles is an African-American man.

      15.   Race and sex are protected classes under the Missouri Human

Rights Act (“MHRA”), § 213.010 et seq., RSMo.

      16.   Defendant Curators of the University of Missouri is the corporate

name of the body politic governing the state university system, which has the

power to sue and be sued. Mo. Const. Art. IX, sec. 9(a); §§.172.010-.020 RSMo.

      17.   The University of Missouri is a place of public accommodation

under the Missouri Human Rights Act, § 213.065 RSMo.




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      18.   Defendant Cathy Scroggs was Vice Chancellor for Student Affairs

at the University of Missouri when Rowles was investigated and sanctioned

by the University’s Title IX Office. Scroggs is sued in her individual capacity.

      19.   Defendant Ellen Eardley was Assistant Vice Provost for Civil

Rights and Title IX at the University of Missouri when Rowles was

investigated and sanctioned by the Title IX Office. Eardley is sued in her

individual capacity.

      20.   Defendant Salama Gallimore was Director of Investigations and

Deputy Title IX Coordinator at the University of Missouri when Rowles was

investigated and sanctioned by the Title IX Office. Gallimore is sued in her

individual capacity.

      21.   Defendant Andrea Hayes is the Interim Assistant Vice

Chancellor for Civil Rights & Title IX at the University of Missouri. Hayes is

sued in her official capacity solely for prospective injunctive relief under the

doctrine of Ex parte Young, 209 U.S. 123 (1908).

      22.   Defendant Hayes is the successor to Defendant Eardley in the

office of Assistant Vice Chancellor for Civil Rights & Title IX.

      23.   On or about May 23, 2017, Rowles filed a charge of

discrimination in public accommodations with the Missouri Commission on

Human Rights (“MCHR”), alleging race- and sex-based discrimination in the

University’s investigation of a Title IX complaint filed against Rowles and the

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resulting sanctions imposed on him. A copy of Rowles’s Charge of

Discrimination is attached as Exhibit A.

      24.   Rowles’s charge was filed within 180 days of the discriminatory

conduct alleged within it.

      25.   MCHR closed its investigation and issued a Notice of Right to

Sue on November 27, 2017. A copy of Rowles’s Notice of Right to Sue is

attached as Exhibit B.

      26.   Rowles filed this Petition no later than 90 days after receiving his

Notice of Right to Sue and within two years of the discrimination alleged.

      27.   Rowles has fully complied with all conditions precedent under the

MHRA.

      28.   This Court has subject-matter jurisdiction over Rowles’s claims

pursuant to Article 5, section 14 of the Missouri Constitution.

      29.   Venue is appropriate in this Court because the discrimination

alleged herein occurred in Boone County, Missouri.

                         GENERAL ALLEGATIONS

A.    Rowles meets Breaux and tries to ask her out on a date.

      30.   Rowles was a doctoral candidate and graduate instructor in

Cultural Anthropology at the University of Missouri-Columbia.

      31.   While in graduate school, he regularly worked out and took

various dance fitness classes at the Rec Center.

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      32.   During the 2015-2016 school year, Rowles developed a friendship

with Breaux, one of the dance instructors from whom he took dance fitness

classes at the Rec Center.

      33.   Interpreting their early interactions as mutually flirtatious,

Rowles asked Breaux out of a date on or about April 12, 2016.

      34.   Breaux told Rowles she was busy for the next week, but the two

discussed going out to celebrate when Rowles defended his Master’s thesis

later in the month.

      35.   Over the next week, Rowles sent Breaux flirtatious messages via

social media in anticipation of what he understood to be an upcoming date.

B.    Breaux turns Rowles down but says he can still come to her
      dance classes.

      36.   On or about April 18, Breaux sent Rowles a message stating that

she wanted their friendship to remain professional and asked him to stop

making romantic overtures toward her.

      37.   Breaux told Rowles she still wanted him to come to dance classes

at the Rec Center, but she said she needed her space outside of class.

      38.   Rowles immediately apologized and promised to keep their

relationship professional.

      39.   With Breaux’s express consent, Rowles continued to attend dance

classes at the Rec Center, included classes taught by Breaux.


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      40.   The following fall, Rowles asked Breaux to recommend some

YouTube videos he could watch to improve his dance technique.

      41.   Breaux suggested that he take private dance lessons, which are

available through the Rec Center.

      42.   When Rowles had difficulty signing up for private lessons, he

followed up with Breaux.

      43.   Believing that he was seeking private lessons from her, Breaux

told Rowles she didn’t teach private lessons.

      44.   Breaux became increasingly withdrawn during her dance classes

over the next week, frequently moving to the other side of the room from him.

      45.   Not understanding what he had done to upset her, Rowles

attempted to speak with Breaux after class but she avoided him.

      46.   On October 14, Rowles gave Breaux a gushing, three-page letter

in which he apologized for being awkward around her, expressed sincere

feelings for her, and asked what if anything she wanted from him.

C.    Rowles’s letter is reported to the Title IX Office as a possible
      violation of University Rules.

      47.   After Rowles gave Breaux the letter, Rec Center Associate

Director Emily Bach McElwaine emailed the University’s Title IX office,

alleging that Rowles “had engaged in a sexually harassing and stalking




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behaviors toward four female students” who worked at the Rec Center. A

copy of McElwaine’s report is attached to this petition as Exhibit C.

      48.   In addition to Breaux, McElwaine purported to submit

allegations on behalf of Rose Nash, Ashlyn Balch, and Hannah Turnbull.

      49.   The Title IX office interviewed Breaux on October 20 and asked

her to submit a formal complaint.

      50.   On October 21, Breaux submitted a formal complaint alleging

that Rowles’s conduct and communications were “bizarre” and made her

“uncomfortable.” A copy of Breaux’s Formal Complaint is attached to this

Petition as Exhibit D.

      51.   The allegations in Breaux’s complaint consisted solely of Rowles’s

interactions with her at the Rec Center, his asking Breaux out on a date in

April, a few dozen flirtatious instant messages over social media, high fives

during and after their dance classes, and the October 14 letter.

      52.   Breaux never alleged that Rowles touched her inappropriately or

made her feel unsafe, intimidated, or threatened.

      53.   Breaux did not accuse Rowles of “stalking” her.

      54.   Indeed, aside from the occasional in-class high five, Breaux

accused Rowles of nothing more than speech.




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D.    The Title IX Office initiates an investigation into Rowles’s
      behavior at the Student Rec Center.

      55.   On or about November 7, 2016, Title IX Investigator Amber

Lammers sent Rowles a Notice of Investigation of Potential Sex

Discrimination, a copy of which is attached to this Petition as Exhibit E.

      56.   The Notice of Investigation identified potential violations of

Section 200.010 of the University of Missouri Collected Rules and

Regulations, which provides in pertinent part:

            Conduct for which students and student
            organizations, when applicable, are subject to
            sanctions falls into the following categories: . . .

            7. Violation of the University’s Sex Discrimination,
               Sexual Harassment and Sexual Misconduct in
               Education/Employment Policy in Section 600.020
               of the Collected Rules and Regulations. These
               violations include: . . .

               b. Sexual Harassment. Sexual harassment is
                  defined as:

                  1) Unwelcome sexual advances or requests for
                     sexual activity by a person or persons in a
                     position of power or authority to another
                     person, or

                  2) Other unwelcome verbal or physical conduct
                     of a sexual nature by a person to another
                     person, when:

                     a) Submission to or rejection of such
                        conduct is used explicitly or implicitly as
                        a condition for academic or employment
                        decisions; or

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                     b) Such conduct creates a hostile
                        environment by being sufficiently severe
                        or pervasive and objectively offensive
                        that it interferes with, limits or denies
                        the ability of an individual to participate
                        in or benefit from educational programs
                        or activities or employment access,
                        benefits or opportunities. . . .

               d. Stalking on the Basis of Sex. Stalking on the
                  basis of sex is following or engaging in a course
                  of conduct on the basis of sex with no legitimate
                  purpose that puts another person reasonably in
                  fear for his or her safety or would cause a
                  reasonable person under the circumstances to
                  be frightened, intimidated or emotionally
                  distressed.

      57.   When Lammers interviewed Rowles, he raised concerns that

Title IX Investigator Salama Gallimore had discriminated against him on the

grounds of race during a prior Title IX investigation.

      58.   Rowles told Lammers that Gallimore had been predisposed to

find him guilty of sexual harassment because he was an African-American

man and the complainant was a white woman.

      59.   Rowles relayed to Lammers that Gallimore had told Rowles

during her earlier investigation that he “looked like someone who might

commit sexual assault.”




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      60.    Rowles was worried that Gallimore could not be impartial and

would be out to get him this time because she was unable to prove he had

sexually harassed the earlier complainant.

      61.    Lammers assured Rowles that Gallimore would have no role in

the current investigation.

      62.    On information and belief, however, Gallimore did interject

herself into the case with the hopes of getting Rowles expelled.

      63.    None of the other three Rec Center employees on whose behalf

McElwaine purported to submit allegations ever responded to Lammers’s

inquiries, and they were never interviewed as part of the investigation.

      64.    Nonetheless, Lammers’s 54-page Investigative Report (a copy of

which is attached to this Petition as Exhibit F) includes the hearsay

allegations McElwain purported to submit on their behalf.

E.    Rowles agrees to an “Informal Resolution Process” without
      meaningful notice that he could be expelled without a hearing.

      65.    On or about December 13, the Title IX Administrator and

Assistant Vice Chancellor Ellen Eardley emailed Rowles a Notice of Charges,

which formally accused him of violating CRR 200.010 and asked Rowles to

elect between an Informal or Formal Resolution Process within three

business days. A copy of the Notice of Charges is attached to this Petition as

Exhibit G.


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      66.   The Notice stated that the Informal Resolution Process would be

decided without a hearing by Eardley herself based upon Lammers’s

Investigative Report, whereas the Formal Resolution Process would be

decided by a panel of three administrators who would conduct a formal

hearing in which Lammers, Rowles, and Breaux could all testify and ask to

present additional witnesses.

      67.   The Notice also listed a dozen possible sanctions that could be

imposed for violations of University policy, including a written warning,

probation, loss of privileges, restitution, work assignments, service to the

University, completion of educational or counseling programs, residence hall

suspension or expulsion, University suspension, withdrawal of recognition for

University organizations, and expulsion.

      68.   The Notice provided no information regarding what kinds of

violations are likely to result in written warnings as opposed to expulsion or

some intermediate sanction.

      69.   Amber Lammers had previously sent a separate email to Breaux

on December 9, asking whether she preferred the Informal or Formal

Resolution Process. A copy of Lammers’s email is attached as Exhibit H.

      70.   Unlike the Notice of Charges, which gave Rowles only three days

to choose between formal and informal resolution, the email to Breaux did



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not specify any time frame within which she had to decide, and she did not

inform Lammers of her decision until six days later.

      71.     Unlike the Notice of Charges, the email to Breaux stated in bold

letters that she could have an advisor of her choice help her chose between

resolution processes.

      72.     Rowles selected Informal Resolution without any understanding

that he could be expelled from the University by a single administrator

without a hearing.

      73.     Two months later, Ellen Eardley sent Rowles a Notice of Intent to

Render Findings via the Informal Resolution Process “regarding the charges

that you violated Section 200.010 of the Collected Rules and Regulations by

allegedly sexually harassing and stalking Annalise Breaux and three other

MizzouRec staff members.” A copy of the Notice of Intent to Render Findings

is attached as Exhibit I.

      74.     Confusingly, the Notice of Intent included both of the following

statements:

              You have selected informal resolution of this matter.

              This is your last opportunity to request that this
              matter be resolved through Formal Resolution before
              the Equity Resolution Hearing Panel.




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      75.   For the first time in any of the Title IX Office’s communications

with Rowles, the Notice of Intent to Render Findings quoted the following

provisions of section 200.025(G)(5) of the Collected Rules and Regulations:

            At any point during the Investigation and Informal
            Resolution process prior to the finding (i.e.: the
            conclusion of the Informal Resolution process), either
            party may request that the matter be referred to the
            Formal Resolution for presentation before The Equity
            Resolution Hearing Panel.

            At least three business days prior to rendering a
            finding on disputed violations, the Appropriate
            Administrative Officer will provide the parties with
            written notice of intent to render a finding using
            Informal Resolution…

            If, after at least three business days neither of the
            parties request in writing that the matter be referred
            to the Formal Resolution process, the Appropriate
            Administrative Officer will render a finding on the
            disputed violations. Once findings have been made,
            the right to the Formal Resolution process is waived
            and the Informal Resolution process is complete. The
            finding of the Informal Resolution process remains
            subject to appeal.

      76.   The Notice further provided, “You will receive the Investigative

Report soon.”

      77.   Rowles was not permitted to see or review the Title IX

Investigative Report detailing the allegations and evidence against him until

after his last opportunity to demand a formal hearing.




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F.    Rowles is “suspended” from all four campuses of the University
      System for four years.

      78.   On March 15, 2017, the Title IX Office issued the “Informal

Resolution Findings by the Administrative Officer,” which concluded that

Rowles had violated the University’s prohibitions against sexual harassment

and stalking on the basis of sex. A copy of the Informal Resolution Findings is

attached to this petition as Exhibit J.

      79.   On information and belief, Salama Gallimore played a

substantial role in drafting the Findings of the Administrative Officer even

though the document was signed by Ellen Eardley.

      80.   Finding a violation, Eardley and Gallimore next considered “the

nature of and circumstances surrounding the violation, [Rowles] disciplinary

history, and the need to prevent future recurrence of violations, as well as

any other information deemed relevant” to determine the appropriate

sanctions to impose.

      81.   Regarding his “disciplinary history,” Eardley and Gallimore

opined that “[Rowles] does not appear to set appropriate professional

boundaries with undergraduate students in workplace environments

throughout campus—whether in academic settings or at the Rec Center.”

      82.   Eardley and Gallimore observed that “[i]n September 2015, it

was alleged that [Rowles] invited an undergraduate student to office hours in


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the evening and insinuated that as her Teaching Assistant he would provide

questions or answers to an exam if she provided him sexual favors.”

      83.   While conceding that “Senior Associate Provost Ken Dean

determined in March 2016 that [Rowles] was not responsible for violating the

sexual harassment policy,” Eardley and Gallimore wrote that Rowles “failed

to learn from [his] previous warning regarding his conduct with an

undergraduate female student.”

      84.   Based on the “totality of circumstances”—which evidently

included both hearsay allegations about the three other Rec Center

instructors the Title IX investigator never interviewed, as well as

unsubstantiated allegations from the prior Title IX complaint which the

University ultimately dismissed—Eardley and Gallimore “suspended” Rowles

from all four campuses of the University of Missouri system for four years,

barred him from entering campus except to seek medical treatment for four

years, permanently expelled him from the Student Rec Center and all

University residential halls, and told Rowles he could seek reenrollment in

four years only if he satisfactorily completed all required steps of a

Remediation Plan. Ex. J at 4-6.

      85.   The severity of Rowles’s punishment took him completely by

surprise.



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      86.      Though suspension and expulsion were listed among the dozen

possible sanctions for any violation of University rules in the Notice of

Charges he received, Rowles had no idea either punishment was a remote

possibility.

      87.      Had he known he was facing any real possibility of expulsion,

Rowles would never have opted for an “Informal Resolution Process” in which

his culpability would be decided by the very administrators charged with

investigating the complaint against him.

      88.      He certainly wouldn’t have entrusted his future career to

Informal Resolution had he known that Salama Gallimore would have any

influence on the outcome.

      89.      No rational person would waive his right to a formal hearing

before a neutral fact finder if he believed expulsion was even remotely likely.

G.    The Vice Chancellor for Student Affairs upholds Rowles’s
      suspension but arbitrarily cuts it in half.

      90.      Rowles appealed Eardley and Gallimore’s Informal Resolution

and Sanctions timely to University Vice Chancellor for Student Affairs Cathy

Scroggs on the grounds that the sanctions imposed fell far outside the range

typically imposed for the offenses alleged. A copy of Rowles’s appeal is

attached as Exhibit K.




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      91.    Among other arguments, Rowles noted that because he is an

African-American male,

             he is the subject of stereotyping regarding his
             motives for taking dance classes. Also, in his previous
             Title IX investigation, he was told by an investigator
             that he “looked like someone who might commit
             sexual assault.” This type of stereotyping affected the
             severity of the sanctions issued in this case. Even
             though Mr. Rowles was found not to have violated the
             sexual harassment policy in the previous
             investigation, Ms. Eardley clearly focused on the
             facts from the previous investigation in issuing
             sanctions in this case.

      92.    He also argued that Eardley and Gallimore’s

             reference to the Principals of Professional
             Responsibility from the American Anthropological
             Association is inappropriate in this matter. Mr.
             Rowles is accused of behavior that occurred entirely
             in the course of his participation in the MizzouRec.
             These allegations do not relate to his role in the
             Anthropology Department and are unrelated to his
             comportment as a TA or teacher in Anthropology.
             Social interactions at a sports facility are not
             governed by miscellaneous codes of conduct related to
             work in the Anthropology Department.

      93.    On April 18, 2017, Scroggs issued a decision upholding Eardley

and Gallimore’s findings of conduct violations but modifying the sanctions

imposed. A copy of Scroggs’s appeal decision is attached to this Petition as

Exhibit L.




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      94.     While “acknowledg[ing] that [Rowles] do[es] not have a record of

previous discipline,” Scroggs cited a “distinct common thread” between

Breaux’s allegations and the prior unsubstantiated Title IX complaint.

      95.     Rejecting each of Rowles’s arguments on appeal, Scroggs

nonetheless found a “compelling justification to modify the sanction” imposed

from four years to two.

      96.     The “compelling justification” is never identified or explained in

her ruling.

      97.     A sanction so capriciously halved cannot have been reasonable to

begin with.

      98.     Regardless of whether the suspension from all four campuses

lasts for two-years or four, the sanctions imposed on Rowles effectively

terminated his participation in his doctoral program and ended his academic

career.

H.    Rowles’s suspension is part of a larger pattern and practice of
      race and gender discrimination at the University of Missouri in
      general and within the Title IX office in particular.

      99.     Since the student protests that resulted in the resignations of

System President Tim Wolfe and Chancellor Bowen Loftin during fall

semester 2015, the University of Missouri-Columbia has found itself at center

stage in the national debate about racial disparity and discrimination on

college campuses. See, e.g., Andy Thompson, What Is Going On at the

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University of Missouri, CHRONICLE OF HIGHER EDUCATION, November 6, 2015

(available at: https://www.chronicle.com/blogs/ticker/what-is-going-on-at-the-

university-of-missouri/106430); Scott Jaschik, Racial Tensions Escalate,

INSIDE HIGHER ED, November 9, 2015 (available at:

https://www.insidehighered.com/news/2015/11/09/racial-tensions-escalate-u-

missouri-and-yale); Katherine Mangan, After Missouri’s Leadership Exodus,

Hard Questions Loom on Race, Power, and Culture, CHRONICLE OF HIGHER

ED, November 11, 2015 (available at: https://www.chronicle.com/article/After-

Missouri-s-Leadership/234145?cid=cp15); Beth McMurtrie, ‘I Believe I Can

Leave This Place Better Than I Found It’: Black students describe racial

division, isolation, and prejudice at the U. of Missouri, CHRONICLE OF HIGHER

ED, January 3, 2016 (available at https://www.chronicle.com/article/What-Its-

Like-to-Be-Black-at/234771?cid=cp15).

      100. Informing this debate are the numerous studies finding that

African-Americans are far more likely than whites to be suspended or

expelled from primary and secondary schools, stopped by police, and

incarcerated in state and federal correctional facilities, to wit:

                a. According to the U.S. Department of Education, “Black

                   children represent 18% of preschool enrollment, but 48% of

                   preschool children receiving more than one out-of-school

                   suspension; in comparison, white students represent 43% of

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            preschool enrollment but 26% of preschool children

            receiving more than one out of school suspension.” U.S.

            DOE, Civil Rights Data Collection, Data Snapshot: School

            Discipline, Issue Brief No. 1 (March 2014), available at

            https://www2.ed.gov/about/offices/list/ocr/docs/crdc-

            discipline-snapshot.pdf (using 2011-2012 data).

         b. “Black students are suspended and expelled at a rate three

            times greater than white students. On average, 5% of white

            students are suspended, compared to 16% of black

            students.” Walter S. Gilliam et al., Do Early Educators’

            Implicit Biases Regarding Sex and Race Relate to Behavior

            Expectations and Recommendations of Preschool

            Expulsions and Suspensions? YALE CHILD STUDY CEN.

            (Sept. 28, 2016).

         c. “While black students represent 16% of student enrollment,

            they represent 27% of students referred to law enforcement

            and 31% of students subjected to a school-related arrest. In

            comparison, white students represent 51% of enrollment,

            41% of students referred to law enforcement, and 39% of

            those arrested.” Id.



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         d. The disparate treatment of black and white students is

            even greater when it comes to ill-defined conduct violations

            such as “disrespect” and “excessive noise” as compared with

            more clearly defined offenses such as smoking and

            vandalism. See Russell J. Skiba et al., The Color of

            Discipline: Sources of Racial and Gender Disproportionality

            in School Punishment, 34 URBAN REV. 317, 332 (2002)

            (finding black students are far more likely than white

            students to be sanctioned for “defiance” while the

            punishment rates for vandalism are similar).

         e. The Annual Vehicle Stops Reports issued by the Missouri

            Attorney General’s Office in each of the last ten years (2007

            through 2016) show that African-American drivers in

            Missouri are 60% more likely to be stopped by police than

            white drivers. Reports available at

            https://ago.mo.gov/home/vehicle-stops-report.

         f. Even though African Americans make up only 13% of the

            U.S. population, more than 35% of offenders incarcerated in

            state and federal correctional facilities are black. See U.S.

            Dep’t of Justice, Bureau of Justice Statistics, “Prisoners in

            2015” (NCJ 250229), p. 6, tbl. 3 (Dec. 2016).

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      101. Citing these and other data, University of Missouri-Columbia

Law Professor Ben Trachtenberg has suggested that “it would be a miracle if

university disciplinary procedures did not produce outcomes that excessively

punish black students, along with members of other disadvantaged minority

groups.” Ben Trachtenberg, How University Title IX Enforcement and Other

Discipline Processes (Probably) Discriminate Against Minority Students, 18

NEVADA LAW JOURNAL (forthcoming 2018).

      102. Professor Trachtenberg’s supposition is supported by the Justice

Department Office of Civil Rights’ report on implicit racial bias in Title IX

enforcement at Colgate University, which found, “In the 2013–14 academic

year, 4.2 percent of Colgate’s students were black. According to the

university’s records, in that year black male students were accused of 50

percent of the sexual violations reported to the university, and they made up

40 percent of the students formally adjudicated.” See Emily Yoffee, The

Question of Race in Campus Sexual-Assault Cases: Is the system biased

against men of color? THE ATLANTIC, September 11, 2017 (available at

https://www.theatlantic.com/education/archive/2017/09/the-question-of-race-

in-campus-sexual-assault-cases/539361/).

      103. Professor Trachtenberg has identified several aspects of

university discipline programs which increase the likelihood that Title IX

investigations lead to racially disparate outcomes, including minimal data

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collection on the racial impact of discipline systems; nondisclosure of what

data is collected; broad and vague definitions of offenses; proceedings

conducted in secret; informal and nonuniform procedures; limited access to

counsel; and collective American attitudes toward race and interracial sex.

Trachtenberg, NEVADA LAW JOURNAL, at 14.

      104. Many of Professor Trachtenberg’s risk factors for disparate

treatment are endemic to the University of Missouri’s Title IX Office.

      105. The University of Missouri does not disclose what percentage of

students and faculty accused of Title IX violations are African Americans, the

rate at which allegations against African Americans are substantiated, or the

frequency of specific sanctions imposed on African Americans.

      106. On information and belief, the University of Missouri has made a

deliberate choice not to collect demographic information about students and

faculty accused of or disciplined for violating Title IX in order to conceal the

disproportionate rate at which the University investigates and disciplines

male students and students of color.

      107. While serving as chair of the University of Missouri Faculty

Council from 2015 to 2017, Professor Trachtenberg was surprised to find he

“had no way of evaluating whether Mizzou’s student discipline system

produced racial bias at greater or lesser rates than peer institutions and

national averages” because the University did not collect the data necessary

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to determine whether the Title IX office produced racially disparate

outcomes. Id. at 40.

      108. Precise definitions within the University of Missouri’s collected

rules on sexual misconduct range from vague to nonexistent, giving immense

discretion to Title IX officials to decide which students to charge and

discipline.

      109. For example, the University of Missouri defines “Stalking on the

Basis of Sex” as “following or engaging in a course of conduct on the basis of

sex with no legitimate purpose that puts another person reasonably in fear

for his or her safety or would cause a reasonable person under the

circumstances to be frightened, intimidated or emotionally distressed,” Univ.

of Missouri, CRR 600.020(C)(4); however, neither “legitimate purpose” nor

“emotionally distressed” are defined.

      110. “As a result,” argues Professor Trachtenberg, “the practical

definition of ‘stalking’ on campus is largely at the discretion of university

staff.” 18 NEVADA LAW JOURNAL, at 24.

      111. Moreover, “because the records of prior campus cases are

confidential and in any event lack the sort of reasoned statutory analysis

useful in defining ambiguous terms, the accused would have no case law

available to resolve his confusion.” Id.



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         112. The secretive nature of Title IX proceedings at the University of

Missouri provides the accused with no means of anticipating what kind of

sanction is likely for a particular wrong and hinders his ability to appeal on

the theory that his punishment is outside the norm for similar behavior. Id.

at 28.

         113. Trachtenberg argues that discrimination by the University’s Title

IX office is particularly severe “when black male students are accused of

sexual misconduct toward white female students” because “investigators and

factfinders will bring to the table centuries of cultural baggage.”

Trachtenberg, 18 NEVADA LAW JOURNAL, at 37-38.

         114. “Given the history that this country has of treating the sexual

interest of black men as dangerous and the other implicit biases that people

have,” Professor Trachtenberg “find[s] it hard to believe that similar conduct

of black men might not be perceived as more threatening and more likely to

be called harassment than the same thing done by white people.” Nwadi Oko,

Minorities potentially discriminated against in Title IX processes, Columbia

Missourian, Sep 19, 2017 (available at

https://www.columbiamissourian.com/news/higher_education/minorities-

potentially-discriminated-against-in-title-ix-processes/article_931e9ba6-9cae-

11e7-b865-976abf9c1a53.html).



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      115. Professor Trachtenberg’s research suggests it is more likely than

not that the University of Missouri’s Title IX Office disproportionately

investigates, substantiates, and disciplines African-American men for alleged

violations of the University’s Code of Sexual Conduct.

      116. On information and belief, the University of Missouri

investigates Title IX complaints against male students at a far greater rate

than it investigates similar complaints against female students.

      117. On information and belief, the University of Missouri

investigates Title IX complaints against African-American students at a far

greater rate than it investigates similar complaints against white students.

      118. On information and belief, the University of Missouri

substantiates Title IX complaints against male students at far greater rate

than it substantiates similar complaints against female students.

      119. On information and belief, the University of Missouri

substantiates Title IX complaints against African-American students at a far

greater rate than it substantiates similar complaints against white students.

      120. On information and belief, the sanctions imposed on male

students by the University’s Title IX Office are substantially more severe

than those imposed by it on female students accused of similar conduct.




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      121. On information and belief, the sanctions imposed on African-

American students by the University’s Title IX Office are substantially more

severe than those imposes on white students accused of similar conduct.

      122. On information and belief, racial and gender stereotypes

significantly affect the results of Title IX investigations at the University of

Missouri.

      123. On information and belief, racial and gender stereotypes

significantly affect the sanctions imposed for Title IX violations at the

University of Missouri.

      124. The presence of Professor Trachtenberg’s risk factors within the

University of Missouri’s Title IX Office strongly suggests that its

investigation and discipline of Jeremy Rowles was discriminatory.

      125. Defendants Eardley, Gallimore, and Scroggs were substantially

influenced by racial and gender stereotypes in finding that Rowles’s non-

threatening communications with Breaux constituted sexual harassment and

stalking based on sex.

      126. Based on their racial and gender stereotypes about African-

American men, Eardley and Gallimore found it hard to believe that Rowles

had enrolled in dances classes at the Student Rec Center out of a genuine

interest in dance.



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      127. Based on their racial and gender stereotypes about African-

American men, Eardley and Gallimore assumed instead that Rowles enrolled

in dances classes at the Rec Center to get close to and initiate sexual

relationships with female dance instructors.

      128. Based on their racial and gender stereotypes about African-

American men, Eardley and Gallimore found it hard to believe that Rowles

continued to attend Breaux’s dance classes at the Rec Center after she

rejected his romantic overtures because he was genuinely interested in

becoming a better dancer.

      129. Based on their racial and gender stereotypes about African-

American men, Eardley and Gallimore assumed instead that Rowles

continued to attend Breaux’s dance classes at the Rec Center after she

rejected his romantic overtures because he was obsessed with her and was

stalking her on the basis of sex.

      130. Based on their racial and gender stereotypes about African-

American men, Eardley and Gallimore found it hard to believe that Rowles

took three or four dances classes every week out of a genuine interest in

dance.

      131. Based on their racial and gender stereotypes about African-

American men, Eardley and Gallimore assumed instead that Rowles took



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three or four dances classes every week to be close to Breaux and other

female instructors to whom he was sexually attracted.

      132. Based on their racial and gender stereotypes about African-

American men, Eardley and Gallimore found it hard to believe that Rowles

wanted to sign up for private dance classes due to his genuine interest in

dance.

      133. Based on their racial and gender stereotypes about African-

American men, Eardley and Gallimore assumed instead that Rowles wanted

to sign up for private dance classes with Breaux because he was obsessed

with her and was stalking her on the basis of sex.

      134. Salama Gallimore’s comment that Rowles “look[s] like someone

who might commit sexual assault” further demonstrates the existence of

implicit racial and gender bias within the University’s Title IX Office.




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                   COUNT I – FREEDOM OF SPEECH
                              42 U.S.C. § 1983
   (against Defendants Scroggs, Eardley, and Gallimore in their individual
           capacities and Defendant Hayes in her official capacity)

       135. Rowles restates and incorporates by reference all prior

allegations in this petition.

       136. Rowles was purportedly suspended from the University for

violating its policies against sexual harassment and stalking on the basis of

sex.

       137. At the time of his alleged conduct, University Rules defined

sexual harassment as:

             unwelcome verbal or physical conduct of a sexual
             nature by a person to another person, when: . . . Such
             conduct creates a hostile environment by being
             sufficiently severe or pervasive and objectively
             offensive that it interferes with, limits or denies the
             ability of an individual to participate in or benefit
             from educational programs or activities or
             employment access, benefits or opportunities.

CRR 200.010.

       138. At the time of his alleged conduct, University Rules define

stalking on the basis of sex as:

             following or engaging in a course of conduct on the
             basis of sex with no legitimate purpose that puts
             another person reasonably in fear for his or her
             safety or would cause a reasonable person under the
             circumstances to be frightened, intimidated or
             emotionally distressed.


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CRR 200.010.

      139. In their Findings by the Administrative Officer, Defendants

Eardley and Gallimore found the following facts by a preponderance of

evidence:

            In April 2016, [Breaux], an undergraduate student,
            directly informed [Rowles], a doctoral candidate, that
            his communications towards her were unwelcome,
            unprofessional and crossed the line. After learning
            that his behavior made [Breaux] uncomfortable,
            [Rowles] chose to attend [Breaux]’s TigerX classes
            multiple times each week, stare at her, make efforts
            to speak with her, and make efforts to be near her.
            He then requested to take private classes with her,
            left a token for her, and then wrote a three-page
            letter describing his very detailed romantic feelings.

      140. Based on their factual findings, Eardley and Gallimore

concluded, “From an objective standard, such conduct is unwelcome and

hostile. It is also pervasive in that it lasted over the course of several

months.”

      141. Eardley and Gallimore further concluded that Rowles’s “actions

from March 2016 through October 2016 constitute a course of conduct

towards [Breaux] that would cause a reasonable person under the

circumstances to be frightened, intimidated or emotionally distressed.

      142. Defendant Scroggs upheld Eardley and Gallimore’s findings and

sanctions, though she reduced Rowles’s suspension from four years to two.



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      143. Defendant Hayes is the University official charged with the

ongoing enforcement of the sanctions against Rowles.

      144. Other than attending Breaux’s classes, “staring” at her while she

was teaching such classes, and “making efforts to be near her” during class,

everything for which the Defendants suspended Rowles consists of speech.

      145. The speech for which Rowles was suspended contained no

threats, nor did Breaux report that she ever felt intimidated or unsafe

because of Rowles’s speech.

      146. Indeed, the speech for which Rowles was suspended was

conveyed to Breaux in writing when the two were not at the same location.

      147. At most, Rowles’s speech made Breaux “uncomfortable.”

      148. Speech on a public university campus, even speech that makes

the listener uncomfortable, is fully protected by the First Amendment.

      149. To the extent Rowles’s speech violates the University’s sexual

harassment and stalking policies, the offended policies are content-based

restrictions on speech.

      150. Content-based restrictions on speech violate the First

Amendment unless narrowly tailored to achieve a compelling governmental

interest.

      151. The state entity restricting speech based on its content bears the

burden of persuasion that such restrictions are narrowly tailored.

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      152. While prohibiting sexual harassment and stalking on the basis of

sex are certainly compelling governmental interests, suspending a graduate

student for two years simply for asking another student out on the date is not

narrowly tailored to achieve that interest.

      153. Defendants’ actions in suspending Rowles for two years for

engaging in protected speech on campus violated Rowles’s constitutionally

secured rights under the First Amendment and caused Rowles damage,

including but not limited to, loss of education and future earnings, damages

to his reputation, emotional distress, embarrassment, humiliation, and loss of

enjoyment of life.

      154. In all their conduct alleged herein, Defendants acted under color

of state law.

      155. Defendants’ actions were the direct and proximate cause of

Rowles’ injuries.

      156. Defendants’ actions were outrageous because of Defendants’ evil

motives or reckless indifference to the rights of Rowles, thereby entitling

Rowles to an award of punitive damages in an amount that will punish

Defendants and will deter Defendants and others from like conduct.

      157. Rowles is entitled to reasonable attorneys’ fees pursuant to 42

U.S.C. § 1988.



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              COUNT II – SUBSTANTIAL OVERBREADTH
                              42 U.S.C. § 1983
              (against Defendant Hayes in her official capacity)

      158. Rowles restates and incorporates by reference all prior

allegations in this petition.

      159. To the extent the University’s rules against sexual harassment

and stalking on the basis of sex contemplate the suspension of students based

solely on speech, the rules are overbroad in that a substantial number of

their applications are unconstitutional, judged in relation to their plainly

legitimate sweep.

      160. As enforced by the Title IX office, the University’s rules against

sexual harassment and stalking prohibit a student from asking another

student out on a date or otherwise expressing interest in a romantic

relationship—something that surely happens on the University’s campus

thousands of times every day—as long as a Title IX investigator deems the

comment or proposal to be “offensive.”

      161. The University’s rules against sexual harassment and stalking on

the basis of sex are substantially overbroad as defined in First Amendment

jurisprudence.

      162. Judicial construction cannot sufficiently limit the application of

the University’s rules against sexual harassment and stalking on the basis of



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sex so as to sever from its proscriptions speech protected by the First

Amendment.

      163. The University’s rules against sexual harassment and stalking on

the basis of sex necessarily chill speech that is protected by the First

Amendment, including compliments about someone’s appearance or asking

someone out on a date.

      164. Defendant Hayes is the University official charged with enforcing

the University’s rules against sexual harassment and stalking.

      165. When enforcing the University’s rules against sexual harassment

and stalking, Defendant Hayes is acting under color of state law.

      166. Hayes’ ongoing enforcement of Rowles’s sanctions for engaging in

protected speech on campus violates Rowles’s constitutionally secured rights

under the First Amendment and continues to cause Rowles injury, including

but not limited to, loss of education and future earnings, damages to his

reputation, emotional distress, embarrassment, humiliation, and loss of

enjoyment of life.

      167. Hayes’ ongoing enforcement of Rowles’s sanctions for engaging in

protected speech on campus is the direct and proximate cause of Rowles’

injuries.

      168. Rowles is entitled to reasonable attorneys’ fees pursuant to 42

U.S.C. § 1988.

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                   COUNT III – VOID FOR VAGUENESS
                               42 U.S.C. § 1983
               (against Defendant Hayes in her official capacity)

      169. Rowles restates and incorporates by reference all prior

allegations in this petition.

      170. To the extent CRR 200.010 provides a basis for suspending

students based solely on their speech toward other students, it is

unconstitutionally vague.

      171. A person of common intelligence could not reasonably know that

asking another student out on a date or giving her a nonthreatening letter

expressing romantic interest could constitute a violation of CRR 200.010 or

result in the speaker’s expulsion from the University.

      172. The vague language of CRR 200.010 grants the Title IX office

unbounded discretion to discipline some students while excusing others for a

broad range of otherwise protected speech.

      173. Defendant Hayes is the University official charged with enforcing

CRR 200.010.

      174. When enforcing the CRR 200.010, Defendant Hayes is acting

under color of state law.

      175. Hayes’ ongoing enforcement of CRR 200.010 against Rowles

continues to cause Rowles injury, including but not limited to, loss of



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education and future earnings, damages to his reputation, emotional distress,

embarrassment, humiliation, and loss of enjoyment of life.

      176. Hayes’ ongoing enforcement of CRR 200.010 against Rowles is

the direct and proximate cause of Rowles’ injuries.

      177. Rowles is entitled to reasonable attorneys’ fees pursuant to 42

U.S.C. § 1988.



              COUNT IV – PROCEDURAL DUE PROCESS
                              42 U.S.C. § 1983
   (against Defendants Scroggs, Eardley, and Gallimore in their individual
           capacities and Defendant Hayes in her official capacity)

      178. Rowles restates and incorporates by reference all prior

allegations in this petition.

      179. Upon his acceptance in to the Ph.D. program in Cultural

Anthropology at the University of Missouri, Rowles held a property

interested in his continued enrollment so long as he made sufficient progress

toward his degree.

      180. Rowles’s property interest is protected by the Due Process Clause

of the Fourteenth Amendment to the Constitution of the United States.

      181. Rowles was deprived of his protected property interest in

continued enrollment on March 15, 2017 when he was erroneously suspended




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from the University for allegedly violating University policies prohibiting

sexual harassment and stalking on the basis of sex.

         182. Rowles was entitled to procedural safeguards commensurate with

the seriousness of the allegations made and the severity of the sanctions he

faced.

         183. Public university students are generally entitled to adequate

notice, a definite charge, and a hearing with the opportunity to present their

own side of the case and with all necessary protective measures.

         184. Defendants Scroggs, Eardley, and Gallimore did not afford

Rowles adequate procedural rights before depriving him of his property

interest.

         185. While Rowles received notice that a Title IX complaint had been

filed against him, he was not given meaningful notice of his right to a formal

hearing.

         186. On the contrary, he was told on December 13 that he had to elect

between formal and informal resolution processes within three days.

         187. Rowles was not told that he could have an advisor assist him in

electing between formal and informal resolution.

         188. At the time he was forced to elect between the formal and

informal resolution processes, Rowles was not provided the Title IX Office’s

Investigative Report detailing the evidence against him.

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      189. Indeed, the Investigative Report had not yet been written at the

time he was forced to choose.

      190. At the time he was forced to elect between the formal and

informal resolution processes, Rowles was not told that hearsay allegations

about his conduct toward three women never interviewed by the Title IX

Office would be considered in determining his liability and imposing

sanctions.

      191. At the time he was forced to elect between the formal and

informal resolution processes, he was not told that allegations from a prior,

unsubstantiated Title IX claim would be considered in determining his

liability and imposing sanctions.

      192. Defendants Scroggs, Eardley, and Gallimore did not provide

Rowles with a hearing.

      193. Defendants Scroggs, Eardley, and Gallimore did not provide

Rowles with a meaningful opportunity to refute the hearsay allegations

submitted by a third party about three other women he had allegedly

harassed.

      194. Instead, Scroggs, Eardley, and Gallimore used an “Informal

Resolution” process that did not afford Rowles any opportunity to challenge

the witnesses against him, especially those who never spoke to the Title IX



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investigator but about whom hearsay allegations were considered

nonetheless.

      195. Rowles’s suspension was based in part on a report submitted by a

University Rec Center Assistant Director purporting to relay hearsay

allegations from three undergraduate Rec Center employees, none of whom

were ever interviewed by a Title IX investigator.

      196. More disconcertingly, Rowles’s suspension was also based in part

on allegations from a prior Title IX investigation in which Rowles was

exonerated of sexual harassment.

      197. Scroggs, Eardley, and Gallimore did not meet personally meet

with any of the witnesses against Rowles, relying instead on the written

investigative report from a different Title IX investigator when making

credibility determinations about witnesses.

      198. On information and belief, Eardley was influenced in her findings

by Salama Gallimore, who had investigated the prior unsubstantiated

allegations of harassment against Rowles.

      199. In their investigation and punishment of Rowles, Scroggs,

Eardley, and Gallimore acted under color of state law.

      200. As a direct and proximate result of Defendant Scroggs, Eardley,

and Gallimore’s failure to provide Rowles adequate notice and a meaningful

opportunity to be heard Rowles suffered damages including but not limited to

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his wrongful expulsion from the University, damage to his reputation, loss of

future earning potential, extreme emotional distress, and loss of his civil

rights.

      201. Defendants’ actions were outrageous because of Defendants’ evil

motives or reckless indifference to the rights of Rowles entitles Rowles to an

award of punitive damages in an amount that will punish Defendants and

deter them and others from like conduct.

      202. Defendant Hayes is the University Official charged with the

ongoing enforcement of the sanctions imposed on Rowles by Scroggs, Eardley,

and Gallimore.

      203. While enforcing the sanctions against Rowles, Defendant Hayes

is acting under color of state law.

      204. Rowles is entitled to reasonable attorneys’ fees pursuant to 42

U.S.C. § 1988.




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               COUNT V – SUBSTANTIVE DUE PROCESS
                              42 U.S.C. § 1983
   (against Defendants Scroggs, Eardley, and Gallimore in their individual
           capacities and Defendant Hayes in her official capacity)

      205. Rowles restates and incorporates by reference all prior

allegations in this petition.

      206. Rowles had a protected property interest in his continued

enrollment in the doctoral program at the University so long as he was

making sufficient progress in his program.

      207. Rowles had a protected liberty interest in being treated equally

under law to similarly situated white and female students.

      208. Rowles had a protected liberty interest in pursuing his chosen

profession of cultural anthropology.

      209. Rowles had a protected property and/or liberty interest in his

reputation.

      210. Rowles had a protected liberty interest in having the Title IX

complaint against him investigated, competently, fairly, and impartially.

      211. Prior to his suspension, Rowles was making sufficient progress

toward his Ph.D.

      212. Defendants Scroggs, Eardley, and Gallimore intentionally or

recklessly failed to fully investigate the complaints against Rowles.




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        213. Defendants Scroggs, Eardley, and Gallimore intentionally or

recklessly considered hearsay allegations submitted by a third-party without

actually speaking to the subjects of the hearsay.

        214. Defendants Scroggs, Eardley, and Gallimore intentionally or

recklessly considered a prior unsubstantiated complaint of sexual harassment

against Rowles in determining his culpability and sanctions for the complaint

at issue in this case.

        215. On information and belief, Salama Gallimore participated in the

investigation and drafted the findings in Rowles’ case even though he

specifically asked Title IX investigator Amber Lammers that Gallimore

recuse based on her comment during his prior investigation that he “looked

like someone who might commit sexual assault.”

        216. On information and belief, Salama Gallimore maliciously pushed

to sanction Rowles for sexual harassment and/or stalking based on sex

despite the lack of evidence supporting those charges in the current case

because she was disappointed her recommendation to sanction him for the

earlier Title IX complaint had been overruled by Senior Vice Provost Ken

Dean.

        217. Defendants Scroggs, Eardley, and Gallimore effectively expelled

Rowles from the University, ended his academic career, damaged his



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reputation, and treated him differently from similarly situated white male

students and black female students.

      218. In all the actions alleged herein, Defendants Scroggs, Eardley,

and Gallimore acted under color of state law.

      219. Defendants Scroggs, Eardley, and Gallimore’s actions were the

direct and proximate cause of Rowles’s injuries, including the deprivation of

his federal rights.

      220. Defendants Scroggs, Eardley, and Gallimore’s actions in

effectively expelling Rowles from the University for writing a letter

expressing his feelings in a nonthreatening manner is so outrageous that it

shocks the conscience, interferes with rights implicit in the concept of ordered

liberty, and offends judicial notions of fairness and human dignity.

      221. Defendant Hayes is the University official charged with enforcing

the ongoing sanctions Defendants Scroggs, Eardley, and Gallimore imposed

against Rowles.

      222. When enforcing the sanctions against Rowles, Defendant Hayes

is acting under color of state law.

      223. Rowles is entitled to reasonable attorneys’ fees pursuant to 42

U.S.C. § 1988.




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                   COUNT VI – RACE DISCRIMINATION
                  IN FEDERALLY ASSISTED PROGRAMS
                              42 U.S.C. § 2000d
                        (against Defendant Curators)

      224. Rowles restates and incorporates by reference all prior

allegations in this petition.

      225. As a recipient of federal funding, Defendant Curators are

prohibited under Title VI from discriminated on the basis of race.

      226. As an African-American, Rowles is a member of a class protected

under Title VI.

      227. Rowles successfully defended his master’s thesis in April 2016

and was making sufficient progress toward his Ph.D. in cultural

Anthropology when he was suspended from the University.

      228. Rowles was effectively expelled from the University after

expressing his feelings in a letter to a white undergraduate who taught

Rowles’s dance fitness classes.

      229. The formal complaint submitted to the Title IX office by the

undergraduate instructor did not allege that Rowles ever intimidated,

threatened, stalked, or touched her inappropriately—only that his “bizarre”

behavior made her feel “uncomfortable.”

      230. Rowles was investigated once before by the Title IX office for quid

pro quo sexual harassment of a white female student.


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      231. The prior Title IX complaint against Rowles was

unsubstantiated.

      232. During that prior investigation, Defendant Salama Gallimore

told Rowles that he “looked like someone who might commit sexual assault.”

      233. On information and belief, Defendant Gallimore’s statement that

Rowles looked like someone who might commit sexual assault was motivated

by his race and the race of the complainant.

      234. On information and belief, Salama Gallimore was instrumental

in drafting the Findings that Rowles had violated University policy at the

conclusion of the investigation into the current allegation.

      235. Though Lammers told Rowles that Gallimore would not be

involved in the current investigation, Rowles believes that Gallimore was

instrumental in drafting the document finding Rowles to have violated

University Policy.

      236. Rowles’s suspension occurred in circumstances giving rise to an

inference that the University discriminated against him on the basis of race.

      237. A law professor and former chair of the Faculty Council at the

University of Missouri-Columbia argues in a forthcoming law review article

that the University’s enforcement of Title IX likely discriminates against

African Americans.



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        238. Curators have exclusive possession and control of records

showing the disparate outcome of disciplinary proceedings involving similarly

situated black and white students, and they deliberately conceal such

information from the public.

        239. On information and belief, a statistical analysis of Title IX

sanctions imposed by the University over the last several years will show a

pattern and practice of selective enforcement against male students.

        240. Curators subjected Rowles to discrimination on the basis of his

race.

        241. Curators would not have treated a white Ph.D. student the same

way that they treated Rowles if the white student had pursued a romantic

relationship with a white fitness instructor.

        242. Rowles’s race motivated Curators’ decision to suspend him from

the University.

        243. As a direct and proximate result of Curators’ actions, Rowles has

suffered damages, including, but not limited to, emotional distress,

embarrassment, humiliation, and loss of enjoyment of life.

        244. Curators’ actions were outrageous because of their evil motives or

reckless indifference to the rights of Rowles, thereby entitling Rowles to an

award of punitive damages in an amount that will punish Curators and will

deter Curators and other from like conduct.

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      245. Rowles is also entitled to reasonable attorneys’ fees.



         COUNT VII – SEX DISCRIMINATION IN EDUCATION
                       Title IX, 20 U.S.C. § 1681
                     (against Defendant Curators)

      246. Rowles restates and incorporates by reference all prior

allegations in this petition.

      247. As a recipient of federal funding, Defendant Curators are

prohibited under Title IX from discriminating on the basis of sex.

      248. Defendant Curators have delegated their powers and duties to

enforce the non-discrimination provisions of Title IX to the University’s Title

IX Office.

      249. Rowles’s gender is a protected class under Title IX.

      250. Rowles successfully defended his master’s thesis in April 2016

and was making sufficient progress toward his Ph.D. in cultural

Anthropology when he was suspended from the University.

      251. Rowles was effectively expelled from the University after

expressing his feelings in a letter to a female undergraduate who taught

Rowles’s dance fitness classes.

      252. The formal complaint submitted to the Title IX office by the

undergraduate instructor did not allege that Rowles ever intimidated,



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threatened, stalked, or touched her inappropriately—only that his “bizarre”

behavior made her feel “uncomfortable.”

      253. Rowles was investigated once before by the Title IX office for quid

pro quo sexual harassment of one of his students.

      254. The prior Title IX complaint against Rowles was

unsubstantiated.

      255. During that prior investigation, Defendant Salama Gallimore

told Rowles that he “looked like someone who might commit sexual assault.”

      256. On information and belief, Salama Gallimore was instrumental

in drafting the Findings that Rowles had violated University policy at the

conclusion of the investigation into the current allegation.

      257. Though Lammers told Rowles that Gallimore would not be

involved in the current investigation, Rowles believes that Gallimore was

instrumental in drafting the document finding Rowles to have violated

University Policy.

      258.   The Title IX Office’s investigation, finding of culpability, and

imposition of a two-year suspension was motivated by Rowles’s gender.

      259. On information and belief, similarly situated female students

accused of substantially similar conduct have not been treated as harshly as

Rowles.



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      260. Curators have exclusive possession and control of records

showing the disparate outcome of disciplinary proceedings involving similarly

situated male and female students, and they deliberately conceal such

information from the public.

      261. On information and belief, a statistical analysis of Title IX

sanctions imposed by the University over the last several years will show a

pattern and practice of selective enforcement against male students.

      262. As a direct and proximate result of the Title IX Office’s actions,

Rowles has suffered damages, including, but not limited to, emotional

distress, embarrassment, humiliation, and loss of enjoyment of life.

      263. Rowles is also entitled to reasonable attorneys’ fees.



                 COUNT VIII – RACE DISCRIMINATION
                   IN PUBLIC ACCOMMODATIONS
                            § 213.065 RSMo
                        (against all defendants)

      264. Rowles restates and incorporates by reference all prior

allegations in this petition.

      265. Defendants subjected and continue to subject Rowles to

discrimination on the basis of his race.




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       266. Defendants would not have treated a white Ph.D. student the

same way that they treated Rowles if the white student had pursued a

romantic relationship with a white fitness instructor.

       267. This discrimination denied and continues to deny Rowles the

accommodations, advantages, facilities, services, or privileges made available

in a place of public accommodation, and/or discriminated against him in the

use thereof on the grounds of his race in violation of §213.065-213.070 RSMo.

       268. Rowles’s race was a contributing factor in the decision to expel

him from the University.

       269. The actions of Defendants subject the University to vicarious

liability.

       270. As a direct and proximate result of Defendants’ actions, Rowles

has suffered and continues to suffer damages, including, but not limited to,

emotional distress, embarrassment, humiliation, and loss of enjoyment of life,

all to Rowles’s damage and detriment.

       271. Defendants’ actions were outrageous because of Defendants’ evil

motives or reckless indifference to the rights of Rowles, thereby entitling

Rowles to an award of punitive damages in an amount that will punish

Defendants and will deter Defendants and other from like conduct.

       272. Rowles is also entitled to reasonable attorneys’ fees.



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                    COUNT IX – SEX DISCRIMINATION
                     IN PUBLIC ACCOMMODATIONS
                              § 213.065 RSMo
                          (against all defendants)

       273. Rowles restates and incorporates by reference all prior

allegations in this petition.

       274. Defendants subjected and continue to subject Rowles to

discrimination on the basis of his sex.

       275. Defendants would not have treated a female Ph.D. student the

same way that they treated Rowles if the female student had pursued a

romantic relationship with a male fitness instructor.

       276. This discrimination denied and continues to deny Rowles the

accommodations, advantages, facilities, services, or privileges made available

in a place of public accommodation, and/or discriminated against him in the

use thereof on the grounds of his sex in violation of §213.065-213.070 RSMo.

       277. Rowles’s sex was a contributing factor in the decision to expel

him from the University.

       278. The actions of Defendants subject the University to vicarious

liability.

       279. As a direct and proximate result of Defendants’ actions, Rowles

has suffered damages, including, but not limited to, emotional distress,




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embarrassment, humiliation, and loss of enjoyment of life, all to Rowles’s

damage and detriment.

      280. Defendants’ actions were outrageous because of Defendants’ evil

motives or reckless indifference to the rights of Rowles, thereby entitling

Rowles to an award of punitive damages in an amount that will punish

Defendants and will deter Defendants and other from like conduct.

      281. Rowles is also entitled to reasonable attorneys’ fees.

                            JURY TRIAL DEMAND

      282. Rowles demands a jury trial of all issues triable to a jury.



      WHEREFORE, Plaintiff Jeremy Rowles requests that the Court enter

judgment in his favor and against Defendants and award the following relief:

               a. compensatory damages in an amount to be determined at

                  trial;

               b. punitive damages in an amount sufficient to punish

                  defendants and deter future wrongdoing by defendants and

                  others;

               c. an injunction vacating the findings and sanctions imposed

                  against Rowles by the University’s Title IX Office;




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         d. an injunction ordering the University to reinstate Rowles

            as a full-time doctoral candidate in good standing with the

            Department of Cultural Anthropology;

         e. an injunction prohibiting enforcement of the University’s

            sexual harassment and stalking rules to the extent they are

            void for vagueness or substantially overbroad;

         f. and injunction prohibiting further discrimination on the

            basis of race or gender;

         g. costs and attorneys’ fees;

         h. post-judgment interest; and

         i. such other relief as this Court deems just and proper.



                                          Respectfully Submitted,

                                          J. Andrew Hirth
                                          J. Andrew Hirth, #57807
                                          TGH Litigation LLC
                                          913 E. Ash St.
                                          Columbia, MO 65201
                                          573-256-2850
                                          andy@tghlitigation.com

                                          Counsel for Plaintiff




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Exhibit 9

  From:	"Bach,	Emily	Ann"	<BachE@missouri.edu>
  Date:	Friday,	October	14,	2016	at	4:34	PM
  To:	Ellen	Eardley	<eardleye@missouri.edu>
  Subject:	PotenUal	Student	Conduct	ViolaUon

  Good	APernoon	Ellen-

  On	behalf	of	one	of	my	program	(TigerX/LHP)	coordinator’s,	Pangku	Cardona,	and	several	students,	we	would
  like	to	refer	the	conduct	of	Jeremy	Rowles	(Student	number	10204280)	as	a	potenUal	violaUon	of	the
  University’s	Sex	DiscriminaUon,	Sexual	Harassment	and	Sexual	Misconduct	in	EducaUon/Employment	Policy

  in	SecUon	600.020	of	the	Collected	Rules	and	RegulaUons.

  The	following	informaUon	was	collected	and	submimed	to	me	by	Pangku	–	her	personal	nota,ons	are

  included	in	some	of	the	statements	as	well:

 Rose Nash began receiving Facebook messages from Jeremy shortly after he took her classes in
 January of 2015. Two of the messages have been attached via screenshot. In addition to the
 messages, in class he would make her uncomfortable with his looks/staring as well as trying to give
 her high fives after class. In various Instagram posts, which have now been deleted, he also referred
 to her as “velvet lighting,” which made her very uncomfortable. Once she messaged him that she was




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not interested, he stopped messaging her. She has since blocked him from social media and he has
not made contact with her.

Similar to Rose, Annalise Breaux began receiving Facebook messages from Jeremy shortly after
he started taking classes from her. The messages are attached. The messages started making her
uncomfortable as they started to become intimate and as he also left a comment on one of her
pictures which made her uncomfortable. He asked her out on a date to which she declined, but he
had continue to push the subject of a date. She then made it clear through Facebook messaging she
was not interested in and wanted to keep their interactions professional. He then backed off (as
noted in the messages).

Recently, he has come back to her classes and continued to make her uncomfortable. She has
noticed him staring at her in the classes that she teaches (in a way that is out of the ordinary of
students and instructors). He also finds a way to stand near her to give her high fives and also clasps
his hands around hers after/during the high fives to keep the interaction going longer. Other
instructors have noticed his stares at her. He recently left her a note (pictured attached) with a song
and token/gift card attached to Kaldi’s coffee. We can assume the song is a request for the dance
class.
	
During fall of 2015 Ashlyn Balch had a few interactions with Jeremy. It started with him talking to
her during workouts at the Rec. She did not know him, but he came up to her to ask her about her
workouts. He then messaged her on Facebook and asked her out on a date. When she did not
respond to him on Facebook, he found her in person and asked her out. She then told him “no.” At
this time she was also working at Lucky’s Market and she noticed he would go to Lucky’s a great deal
while she was working. One day while she was working, he came into the store and asked her out
again to which she said no. He then walked around the store and then came back to her and asked
her out again in a very aggressive manner. After this interaction, she blocked him on social media
and had not interacted with him since. He has started attending her Wednesday Functional Fitness
classes this fall, but has not made her uncomfortable. She keeps her interaction with him very
professional and tries to not allow him the opportunity to ask further questions/extra time with her.
I have attached a picture of the message he sent her (asking her out the first time).

Hannah Turnbull also had a similar with Jeremy. During Fall of 2015 he started coming to her
cycling classes. He was very friendly and talkative with Hannah. As the weeks progressed, he started
bringing her snacks after classes and messaged her a great deal about the TigerX instructor position
(which he had enrolled in our Instructor Training Course and was applying for during the semester).
One week, Hannah deactivated her Facebook account due to finals/exams and he got upset about it
and thought she was blocking him. One day after a cycling class after Hannah had just broken up
with her boyfriend, Jeremy gave her the impression that he was interested in her (in the way of “now
that you’re broken up, we should go out.”) and she then distanced herself from him. He continued to
message her about not meaning to have given her that impression and still wanting to be in her life.
He continued to send messaged disclosing personal information about himself to her, which made
her uncomfortable and he would find things to comment/message on her profile to continue to talk
to her. After he thought she had blocked her on Facebook, he then shared that he did have feelings
for her and asked her out. She then was very clear that she no longer wanted him to message her.
Since then (around January 2016), he has not made contact with her. (Once I get the messages from
Hannah, I will pass those along.) On another note, in the message exchange with Hannah, Jeremy
makes references to the Wilson’s position. He shared that there was a trainer/instructor at that
location which he had been talking to who he claimed used their “relationship” to break up with her
fiancé. She apparently got him banned from her group fitness classes at Wilson’s and then there was
a huge blow up which resulted in the SWAT team going to his house to arrest him while they
searched his house. It’s clearer in the messages that were sent to why he said the SWAT team had
been called. - I’m not sure if this is true or not, but it may speak to a potential reaction he may have if
we are to ban him from our Fitness Programs (depending on where this goes).

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Thank	you	in	advance	for	considering	the	mamer	–	I	would	like	to	discuss	with	you	at	your	soonest
convenience	what	we	can	do	as	the	employer	to	ensure	our	staﬀ	feel	safe	and	secure	as	we	know	at	this
point	we	(MizzouRec/TigerX	program)	have	no	jusUﬁcaUon	to	remove	or	preclude	him	from	accessing	the
building	or	program.
	
Please	let	me	know	if	you	have	any	addiUonal	quesUons	or	need	more	informaUon	to	contact	our	staﬀ.
	
Emily McElwain
Associate Director
Team Mizzou – Marketing - Fitness Programs
MizzouRec Services & Facilities
573.882.5375 (oﬃce)
573.884.5404 (fax)
h4p://mizzourec.com/
	




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Exhibit 10
                                       FORMAL COMPLAINT

       October 21, 2016


       On this date, I am writing to state that I would like to file a complaint against Jeremy
       Rowles for events that occurred on or around March 2015-October 2016 which
       harassment on the basis of [my] sex.

       On March 2, 2015 the following incidents occurred on Facebook and at the MizzouRec.
       Jeremy began a private message thread that consisted of complimenting me on my dance
       choreography, dance skills, the way my body moved, and other inappropriately intimate
       comments about myself. On April 12, 2015, Jeremy cornered me at the MizzouRec while
       I was on my way to clock off after a class I taught that he attended and asked me on a
       date. This made me extremely uncomfortable and I declined saying I was “too busy this
       week”. He continued to message me on Facebook after that and the incessant messaging
       lasted until April 18, 2015 when I told him he needed to stop messaging me and keep our
       relationship strictly professional because he was making me uncomfortable. He
       apologized and did not attempt to message me after that but continued to attend the
       TigerX classes that I taught. This semester (Fall Semester 2016), he began attending all
       four of the TigerX classes that I teach and would do things such as linger after class to
       make sure he was able to say something to me, consistently high five and grab my hand
       intimately before, during, and after my classes, and stare me down the entirety of my
       class whether I was directly teaching or not. All of these things made me very
       uncomfortable. On September 27, 2016, Jeremy emailed me privately asking for tips on
       how to develop his skills for the contemporary dance class I teach. I replied with a short
       and professional response that included private lessons as an option. He then replied
       saying how adamant he was on taking those private lessons, especially with me. I did not
       respond. On October 3, he emailed me again complaining about how ZouLife would not
       allow him to sign up for private lessons and then confronted me after class about it. He
       told me again how much he wanted to take private lessons from me which I responded
       that I was not currently and would not offer private lessons. He was very peeved about
       this. On October 7, 2016, Jeremy stayed behind after class again but I dashed off to the
       bathroom before he could say anything to me. He waited around for me to come back, but
       my co-instructor Maddie made him leave and so he handed her a note and told her to give
       it me. The note contained a Kaldi’s Coffee free drink token and “The Scientist” by
       Coldplay written down. Jeremy knows I work at Kaldi’s Coffee and I was not sure what
       this note was supposed to mean but it was very bizarre. On October 14, 2016, Jeremy
       again lingered after class and approached me and handed me a three-page typed letter and
       said it was an apology note for the other week. I told him I would not accept it because
       his actions were making me uncomfortable and I promptly listed the reasons why and
       asked him what he thought was going on here because we did not have a personal
       relationship. I am the instructor and he is the member. That was the extent of our
       “relationship”. I told him I have taken this situation to my supervisor and that larger
       measures will be taken because of it. I did not specifically mention Title IX. I ended up
       taking the letter anyways to use as evidence in this investigation. It was a letter that




                               Rowles
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contained apologies and a confession for his “love” for me.

I am giving the Office for Civil Rights & Title IX permission to contact witnesses and
proceed with an investigation.

Below are some witnesses who might have information about this:
Maddie Dingman, who is my co-instructor who witnessed Jeremy hand me both notes
and has seen him staring at me during class.
Kasey Long, who is another co-instructor who witnessed him coming to my class last
spring semester when the incidents began to take place and also when he confronted me
about the private lessons after class.
Danielle Zoellner, who is a co-instructor who witnessed Jeremy staring me down and
lingering after my contemporary class to talk to me. She was also aware of the incidents
that happened last spring semester.


Sincerely,

Annalise Breaux




                        Rowles
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Exhibit 12                UNIVERSITY	of	MISSOURI	
                                      OFFICE	FOR	CIVIL	RIGHTS	&	TITLE	IX	

     November 7, 2016

     VIA ELECTRONIC MAIL AND HAND-DELIVERED
     Jeremy Rowles


     RE: Notice of Investigation of Potential Sex Discrimination

     Dear Mr. Rowles:

             As an Investigator in the Office for Civil Rights & Title IX, I write to inform you that our
     office has received a formal complaint and other allegations of potential discrimination naming
     you as the Respondent (or Accused). The University is initiating an investigation of the
     allegations made against you. Please understand that at this point these are only allegations,
     which I am tasked with investigating.

             I will investigate allegations that on or about March 2015-October 2016 you engaged in
     the following behaviors which impacted Annalise Breaux:

                •   Starting on March 2, 2015, you sent multiple Facebook messages in a private
                    thread to Breaux, including comments about her dance choreography and skills
                    and the way her body moved. In several messages, you call her “Silky,” in
                    reference to her body and movements.
                •   On April 12, 2015, Breaux reported that you waited after class and “cornered” her
                    to ask her out. After she declined to go on a date with you, you continued to
                    message her “incessantly” until April 18 when she told you that you needed to
                    stop messaging her, and she specifically expressed to you that she wanted to be
                    professional in her interactions with you.
                •   During the fall 2016 semester, you attended all four weekly TigerX classes that
                    Breaux teaches. She reported that you “lingered” after class to talk to her multiple
                    times. Additionally, she alleges that on various occasions this semester you gave
                    her many high fives; grabbed her hand in an “intimate” way before, during, and
                    after classes; and stared at her intensely for the “entirety” of classes.
                •   On October 3, 2016, you emailed Breaux insisting on taking private lessons with
                    her. You reportedly complained to her via email and “confronted” her after class,
                    stating that ZouLife would not allow you to sign up for private lessons with her.
                •   On October 7, 2016, you reportedly gave one of Breaux’s coworkers a note to
                    give her after you were unable to talk directly to Breaux after class. The note
                    contained song lyrics and a free drink token to Kaldi’s, which is where Breaux
                    works.
                •   On October 14, 2016, Breaux alleges that you stayed after class and handed her a
                    three-page typed apology letter, which she did not want. However, Breaux
                    eventually took the letter from you, which contained apologies and a “confession”
                    of your love for her.




                                 Rowles
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         145 Heinkel Bldg. Columbia, MO 65211 Phone: 573-882-3880 Email: civilrights-titleix@missouri.edu
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                        UNIVERSITY	of	MISSOURI	
                                     OFFICE	FOR	CIVIL	RIGHTS	&	TITLE	IX	

        Breaux stated that the accumulation of these incidents made her feel uncomfortable and
interfered with her ability to focus on work at the Rec Center. In addition, the Office for Civil
Rights & Title IX received reports about your interactions of a similar nature with multiple other
Rec Center employees, including frequent unwanted Facebook and text messages. Information
about those reports may be forthcoming, and you will have a chance to respond to all allegations
during the investigation.

       The University utilizes the Equity Resolution Process to respond to concerns of
discrimination and harassment. The Equity Resolution Process for students is set forth in the
University of Missouri Collected Rules and Regulations (CRR) Section 200.025. I will be
conducting an investigation pursuant to this Policy.

        The alleged conduct may violate CRR 200.010, which is the Standard of Conduct for
Students and Student Organizations. At this time, I am considering the allegations to fall under
the sexual harassment and stalking provisions, but as the investigation proceeds, I may have
reason to change my understanding of the complaint.
                                                           …
       200.010.C. Conduct for which students and student organizations, when applicable, are subject to
       sanctions falls into the following categories:
                                                           …
                7. Violation of the University’s Sex Discrimination, Sexual Harassment and Sexual
                     Misconduct in Education/Employment Policy in Section 600.020 of the Collected Rules
                     and Regulations. These violations include:
                                                           …
                          b. Sexual Harassment. Sexual harassment is defined as:
                                 1) Unwelcome sexual advances or requests for sexual activity by a person or
                                     persons in a position of power or authority to another person, or
                                 2) Other unwelcome verbal or physical conduct of a sexual nature by a person to
                                     another person, when:
                                              a) Submission to or rejection of such conduct is used explicitly or
                                              implicitly as a condition for academic or employment decisions; or
                                              b) Such conduct creates a hostile environment by being sufficiently
                                              severe or pervasive and objectively offensive that it interferes with,
                                              limits or denies the ability of an individual to participate in or benefit
                                              from educational programs or activities or employment access, benefits
                                              or opportunities.
                                                           …
                          d. Stalking on the Basis of Sex. Stalking on the basis of sex is following or engaging
                               in a course of conduct on the basis of sex with no legitimate purpose that puts
                               another person reasonably in fear for his or her safety or would cause a reasonable
                               person under the circumstances to be frightened, intimidated or emotionally
                               distressed.
                                                           …

       The policies referenced in this letter are also attached or enclosed.



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       Please refer to the attached list of your rights as I investigate and resolve the complaint.
Two in particular are relevant at this stage:

   •   You have the right to have an Advisor of your choice (attorney, parent, friend,
       professor etc.) accompany you to any meeting or proceedings. Having an Advisor is
       optional, at your discretion. The Advisor may not speak for you but you may consult with
       your Advisor.

   •   You have the right to provide evidence and to provide me with a list of potential
       witnesses who may have relevant information. Any relevant documentation may also be
       provided.
In addition to your rights, there are some responsibilities of which you should be aware:

   •   On November 7, 2016, you received a notice of interim remedies letter from Ellen
       Eardley which explained that you are prohibited from visiting the Rec Center for the
       duration of the investigation.

   •   I have also issued a No Contact Directive which prohibits further communication
       between you and Breaux.

   •   Also, please note that at no time should you engage in any type of retaliation against
       the complainant or anyone who participates in the investigation and/or resolution
       process. Retaliation is strictly prohibited and would constitute a separate policy violation.
       Retaliation is any adverse action taken against a person because of that person’s
       participation in protected activity (making a good faith report of discrimination,
       participating in the investigation, testifying, etc.).

        I also ask that you please keep this investigation private in order to protect the integrity
of the investigation, though you may speak with an advisor.

        The University is charged with completing a thorough, reliable, and impartial
investigation. I have been assigned as the investigator in this case and will be contacting you
shortly. Please feel free to contact me if you have any questions as this investigation proceeds.

                                               Sincerely,

                                                awn SerfmnArl'e(
                                               Amber Lammers, J.D.
                                               Investigator, Office for Civil Rights & Title IX

Enclosures

cc: Ellen Eardley, Asst. Vice Chancellor for Civil Rights & Title IX and Title IX Administrator

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University of Missouri
Office for Civil Rights & Title IX
Name of Investigator: Amber Lammers
Date of Report: February 27, 2017
	
                              INVESTIGATIVE REPORT

Parties:

Annalise Breaux: Complainant, MU undergraduate student, MizzouRec employee

Jeremy Rowles: Respondent, MU graduate student

Witnesses:

Bailey Baucum: MU undergraduate student, MizzouRec employee

Madeline Dingman: MU undergraduate student, MizzouRec employee

Kasey Long: MU undergraduate student, MizzouRec employee

Danielle Zoellner: MU undergraduate student, MizzouRec employee

Others:

Ashlyn Balch: MU undergraduate student, MizzouRec employee

Taeler De Haes: Former MU undergraduate (SP14) and graduate student (SP16)

Peyton Downs: Former MU undergraduate student (transferred to another school SP14)

Jacqueline Hermanson: Former MU undergraduate student (FS15) and former
                      MizzouRec employee

Rose Nash: MU undergraduate student, MizzouRec employee

Hannah Turnbull: MU undergraduate student, MizzouRec employee


Relevant Dates Alleged:

January 30, 2015
   • Rowles sent Rose Nash a message1 via Facebook
June 12, 2015
   • Rowles sent Rose a second message2 via Facebook


																																																								
1
    Exhibit 1 (JR message to Nash 1.30.15)
2
    Exhibit 2 (JR message to Nash 6.12.15)




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August 13, 2015
    • Rowles sent Ashley Balch a message3 via Facebook
Fall 2015
    • Rowles and Turnbull exchanged text messages4
March 2-April 18, 2016
    • Rowles and Breaux exchanged Facebook messages5
    • On or around April 18, Rowles commented6 on Breaux’s Instagram photograph,
       as referenced in their Facebook messages
October 3, 2016
    • Rowles sent an email7 to Breaux expressing frustration that he cannot take private
       dance lessons with her
October 14, 2016
    • Rowles gave Breaux a letter8 after class, containing apologies and expressions of
       his feelings for her
    • Emily Bach McElwaine, Assoc. Director for Team Mizzou, Marketing & Fitness
       Programs at MizzouRec, submitted a report9 via email to the Office for Civil
       Rights & Title IX alleging that Jeremy Rowles engaged in sexually harassing and
       stalking behaviors toward several student staff members, including Annalise
       Breaux
October 20, 2016
    • Meeting with Breaux to discuss the allegations
October 21, 2016
    • Breaux submitted a complaint to the Office for Civil Rights & Title IX10
November 7, 2016
    • Notice of Interim Suspension of MizzouRec Privileges11 emailed to Rowles
    • Notices of Investigation12 and No Contact Directives13 emailed to the parties
November 9 and 11, 2016
    • Meetings with Rowles to discuss the allegations
December 13, 2016
    • Ellen Eardley, Title IX Administrator and Asst. Vice Chancellor for Civil Rights
       & Title IX, emailed Notice of Charges14 to the parties, notifying them of her

																																																								
3
  Exhibit 3 (JR message to Balch 8.13.15)
4
  Exhibit 4 (Rowles and Turnbull text messages)
5
  Exhibit 5 (Rowles and Breaux Facebook messages). On April 5 at 10:03pm, Rowles allegedly sent
Breaux a Facebook message that appears as a photograph of a floor in the exhibit document. Rowles and
Breaux both explained to me that this was a video of Breaux dancing during class that was recorded and
sent by Rowles. They discuss the video in the messages that follow. During our meeting, Breaux explained
that the class had broken up into smaller groups, and Rowles was recording her instead of dancing.
6
  Exhibit 6 (JR Instagram comment)
7
  Exhibit 7 (JR emails re private dance lessons)
8
  Exhibit 8 (JR letter to Breaux 10.14.16)
9
  Exhibit 9 (Incident Report 10.14.16)
10
   Exhibit 10 (AB Formal Complaint)
11
   Exhibit 11 (JR Interim Suspension of MizzouRec Privileges)
12
   Exhibit 12 (JR Notice of Investigation)
13
   Exhibit 13 (JR No Contact Directive)
14
   Exhibit 14 (JR Notice of Charges)


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       determination that there was sufficient evidence to proceed to the resolution phase
       of the Equity Resolution Process.
December 15, 2016
   • Both parties selected Informal Resolution to resolve the allegations15
February 24, 2017
   • Notice of Intent to Render Findings16 sent to the parties


History of the Case:

On October 14, 2016, Emily Bach McElwaine, an Associate Director at MizzouRec,
submitted a report via email stating that Jeremy Rowles had engaged in sexually
harassing and stalking behaviors toward four female students employed by MizzouRec.
The report included documentary evidence of the respondent’s communications and the
names of the potential victims/complainants: Ashlyn Balch, Annalise Breaux, Rose Nash,
and Hannah Turnbull.

Upon receipt of the report, I attempted to contact each of them by telephone and email.
Breaux is the only student of the four who responded to me. We met on October 20 to
discuss the allegations, as well as, her rights and options in the Equity Resolution
Process. The next day, Breaux filed a formal complaint with the Office for Civil Rights &
Title IX accusing Rowles of violating University policy.

Hereinafter, Breaux is referred to as the “complainant” in this case. Information in the
report regarding the other three employees is also included below and may be considered
as evidence of a possible pattern of discriminatory behavior. However, Balch, Nash, and
Turnbull did not file complaints against Rowles. The three women spoke with their
supervisors at MizzouRec about their interactions with Rowles, but they did not speak to
me directly.

I met with Rowles on November 9 and 11 in my office, and we spoke again via telephone
on December 14. We discussed the allegations made against him, the Equity Resolution
Process, and his rights therein. His responses to the allegations are included in this report.


Potential Violations:

I sent a Notice of Investigation (NOI) to Rowles via email on November 7, 2016, and I
provided him with a hard copy of the NOI during our meeting on November 9, 2016.
Rowles acknowledged receipt of the NOI, which informed him that an investigation was
being conducted pursuant to the University of Missouri Collected Rules and Regulations
(CRR) Chapter 200.025(E).


																																																								
15
     Exhibit 15 (AB and JR Selected Informal Resolution)
16
     Exhibit 16 (JR Notice of Intent to Render Findings)


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On December 13, 2016, Ellen Eardley sent a Notice of Charges letter (NOC) to Rowles’
University email account. The NOC stated that Rowles was accused of violating
University policy, specifically CRR 600.020 (Sex Discrimination, Sexual Harassment
and Sexual Misconduct in Education/Employment Policy), by engaging in sexual
harassment and stalking on the basis of sex toward several student MizzouRec
employees. The NOC contained the following allegations:

    •   Starting on March 2, 2015, Rowles reportedly sent multiple Facebook messages
        in a private thread to Breaux, including comments about her dance choreography
        and skills and the way her body moved. In several messages, he called her
        “Silky,” in reference to her body and movements. Breaux stated that the
        increasing sexual/romantic nature of the messages was unwanted.
    •   On April 12, 2015, Breaux reported that Rowles waited after class and “cornered”
        her to ask her out. After she declined to go on a date with him, Rowles continued
        to message her “incessantly” until April 18 when she told him that he needed to
        stop messaging her, and she specifically expressed to him that she wanted to be
        professional in her interactions with him. Breaux reported that Rowles’ advances
        were unwelcome, and they interfered with her ability to feel safe and comfortable
        in the Rec Center, which is her workplace.
    •   During the Fall 2016 semester, Breaux reported that Rowles attended all four
        weekly TigerX classes she taught. She reported that Rowles “lingered” after class
        to talk to her multiple times. Breaux explained that she took extensive measures to
        avoid contact with Rowles after classes, such as leaving the room quickly and
        sometimes making up excuses such as going to the restroom in order to do so,
        standing on the other side of the room from the door as students left class, and
        asking her coworkers to step in and talk with Rowles instead.
    •   Additionally, Breaux alleged that on various occasions during the fall 2016
        semester Rowles gave her many high fives; grabbed her hand in an “intimate”
        way before, during, and after classes; and stared at her intensely for the “entirety”
        of classes. She characterized the way Rowles stared at her as more intense and
        personal than the way he looked at other instructors who led classes. Further, she
        reported that Rowles made a purposeful effort to stand in front of her during class,
        rather than in front of the other instructors, so that he could more easily look at
        her. Breaux reported that on at least a few occasions she asked the second
        instructor of a particular class to switch sides so that she could put more space
        between her and Rowles because she felt uncomfortable.
    •   On October 3, 2016, Rowles reportedly emailed Breaux insisting on taking
        private dance lessons with her. According to Breaux, Rowles complained to her
        via email and “confronted” her after class, stating that ZouLIFE would not allow
        him to sign up for private lessons with her. She interpreted his tone as frustrated,
        and she reported that she felt intimidated and confused by Rowles’ persistence.
    •   On October 7, 2016, Rowles reportedly gave one of Breaux’s coworkers a note to
        give her after he was unable to talk directly to Breaux after class. The note
        contained song lyrics and a free drink token for Kaldi’s, which is another location
        where Breaux works.



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      •      On October 14, 2016, Breaux alleged that Rowles stayed after class and handed
             her a three-page typed letter, which she did not want to take from him. However,
             Breaux eventually took the letter, which contained apologies and a “confession”
             of Rowles’ love for her. She reported that his romantic sentiments were unwanted
             and persistent even after she asked him to stop communicating with her in that
             way.

In addition, the Office for Civil Rights & Title IX received reports that Rowles engaged
in interactions of a similar nature with multiple other female MizzouRec employees,
including unwanted Facebook and text messages sent to Balch, Nash, and Turnbull.
Rowles and I discussed the allegations pertaining to all four individuals at our meetings
during the investigation, and I gave him the opportunity to respond.

These allegations are categorized as sexual harassment and stalking on the basis of sex,
as defined in CRR 600.020(C) and 200.010(C)(7). Relevant provisions state:
                                               …
        Sexual Harassment. Sexual harassment is defined as:
                a. Unwelcome sexual advances or requests for sexual activity by a person
                    or persons in a position of power or authority to another person, or
                b. Other unwelcome verbal or physical conduct of a sexual nature by a
                    person to another person, when:
                    1) Submission to or rejection of such conduct is used explicitly or
                    implicitly as a condition for academic or employment decisions; or
                    2) Such conduct creates a hostile environment by being sufficiently
                    severe or pervasive and objectively offensive that it interferes with,
                    limits or denies the ability of an individual to participate in or benefit
                    from educational programs or activities or employment access,
                    benefits or opportunities.
                                               …
        Stalking on the Basis of Sex. Stalking on the basis of sex is following or
        engaging in a course of conduct on the basis of sex with no legitimate purpose
        that puts another person reasonably in fear for his or her safety or would cause a
        reasonable person under the circumstances to be frightened, intimidated or
        emotionally distressed.


Jurisdiction:

For the duration of the fall 2015, spring 2016, and fall 2016 semesters, both Breaux and
Rowles were, and currently are, enrolled students17 at the University of Missouri.




																																																								
17
   Meeting the definition as set forth by CRR 200.025.B.7, “A person having once been admitted to the
University who has not completed a course of study and who intends to or does continue a course of study
in or through one of the campuses of the University…”


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Standard of Proof:

When this matter is reviewed by the decision maker [or panel] pursuant to the
University’s Equity Resolution Process, the standard of proof will be “preponderance of
the evidence,” defined as determining whether evidence shows it is more likely than not
that a policy violation occurred.18


Information from Complainant Annalise Breaux:

In her complaint dated October 21, 2016, Breaux described the following allegations
against Rowles:

             On March 2, 2016, the following incidents occurred on Facebook and at the
             MizzouRec. Jeremy began a private message thread that consisted of
             complimenting me on my dance choreography, dance skills, the way my body
             moved, and other inappropriately intimate comments about myself. On April 12,
             2016, Jeremy cornered me at the MizzouRec while I was on my way to clock off
             after a class I taught that he attended and asked me on a date. This made me
             extremely uncomfortable and I declined saying I was “too busy this week”.

             He continued to message me on Facebook after that and the incessant messaging
             lasted until April 18, 2016, when I told him he needed to stop messaging me and
             keep our relationship strictly professional because he was making me
             uncomfortable. He apologized and did not attempt to message me after that but
             continued to attend the TigerX classes that I taught. This semester (Fall Semester
             2016), he began attending all four of the TigerX classes that I teach and would do
             things such as linger after class to make sure he was able to say something to me,
             consistently high five and grab my hand intimately before, during, and after my
             classes, and stare me down the entirety of my class whether I was directly
             teaching or not. All of these things made me very uncomfortable.

             On September 27, 2016, Jeremy emailed me privately asking for tips on how to
             develop his skills for the contemporary dance class I teach. I replied with a short
             and professional response that included private lessons as an option. He then
             replied saying how adamant he was on taking those private lessons, especially
             with me. I did not respond.

             On October 3, he emailed me again complaining about how ZouLIFE would not
             allow him to sign up for private lessons and then confronted me after class about
             it. He told me again how much he wanted to take private lessons from me which I
             responded that I was not currently and would not offer private lessons. He was
             very peeved about this.


																																																								
18
     Per CRR 200.025.G.3(a)


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       On October 7, 2016, Jeremy stayed behind after class again but I dashed off to the
       bathroom before he could say anything to me. He waited around for me to come
       back, but my co-instructor Maddie made him leave and so he handed her a note
       and told her to give it me. The note contained a Kaldi’s Coffee free drink token
       and “The Scientist” by Coldplay written down. Jeremy knows I work at Kaldi’s
       Coffee and I was not sure what this note was supposed to mean but it was very
       bizarre.

       On October 14, 2016, Jeremy again lingered after class and approached me and
       handed me a three-page typed letter and said it was an apology note for the other
       week. I told him I would not accept it because his actions were making me
       uncomfortable and I promptly listed the reasons why and asked him what he
       thought was going on here because we did not have a personal relationship. I am
       the instructor and he is the member. That was the extent of our “relationship”. I
       told him I have taken this situation to my supervisor and that larger measures will
       be taken because of it. I did not specifically mention Title IX. I ended up taking
       the letter anyways to use as evidence in this investigation. It was a letter that
       contained apologies and a confession for his “love” for me.

I met with Breaux on October 20, 2016, in my office. She recalled that she met Rowles
while working at Kaldi’s about a year ago; she explained that Rowles was a “regular”
there. She said, “I would see him in the evenings at Kaldi’s, and I would talk to him
casually.” Breaux stated that she was hired to be a TigerX instructor at the end of the fall
2015 semester, and then she started working in spring 2016.

Breaux explained that Rowles started taking her classes “right away” when she started
working as an instructor. She said she recognized him from Kaldi’s, and he recognized
her too. Breaux recalled that their interactions became more “personal,” such that Rowles
would speak to her more often, even about things unrelated to the classes. She said he
seemed friendly.

Breaux also told me that, at first, she did not interpret Rowles’ behavior or comments as
flirting or uncomfortable because she thought he was gay, and thus, he would not pursue
a romantic relationship with her. She added, “During one conversation at Kaldi’s, he was
talking about a relationship with a ‘partner,’ and not a lot of older straight men come to
our classes. That’s why I was not cautious in the beginning. That’s why I accepted his
compliments for a while.”

When asked, Breaux stated she was not aware that other female instructors had concerns
about Rowles until more recently. She said she is aware that Rose Nash had similar
experiences with him, but she was not aware of incidents involving other staff members.

Breaux expressed that she appreciated Rowles’ Facebook messages at first, but then they
overwhelmed her as they became more frequent and increasingly romantic in nature. She
also recalled when Rowles “crossed the line” in person:




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           He cornered me after class one day. I was going downstairs to clock out. He
           stopped me and asked me to go on a date. He refers to that in the Facebook
           messages. He was standing very close to me and made me uncomfortable. He
           crossed that line and told me that he thinks something is going on, but it’s not.

I asked Breaux which classes Rowles attended at the beginning of the fall 2016 semester.
She replied,

           All the dance classes. Dance Fitness, Tiger Tease, Life Works…he took all of
           them. He came to Tiger Tease on Tuesdays and Fridays. Something came up for
           him on Tuesdays, but he kept coming on Fridays. Last semester, in the spring, he
           took one at a time, but then he started taking all them at the same time this
           semester. He kept coming to my classes and staring me down in the mirror. He
           would linger after class to have the last word. He would do anything he could do
           to still be around me in the professional environment.

Breaux referenced the emails19 Rowles sent her in which he inquired about taking private
dance lessons with her. After exchanging those emails, Breaux recalled that Rowles
stayed after class to ask the instructors about taking private dance lessons, and he seemed
“very irritated.” Breaux reported that Rowles’ persistence made her feel uncomfortable.
She told me that she felt this was his attempt to spend more time with her in a
professional setting since he could not spend time with her outside of classes.

I asked Breaux to describe Rowles’ activity on her Instagram account. Breaux said that
she posted a photograph that she had taken of herself to her Instagram account, and then
she was surprised and embarrassed to see Rowles’ comment, which she felt was
flirtatious, inappropriate, and inconsistent with the relationship they had. Breaux
reiterated at several points during our conversation that she never had romantic feelings
for Rowles, and she never intended to suggest otherwise during their interactions. Rather,
she said her goal was to maintain a strictly professional relationship.

Regarding the letter Rowles gave to Breaux, she explained,

           He was shaky and nervous on Friday when he was holding the letter. He couldn’t
           make words. I was telling him why it was inappropriate, and he couldn’t respond.
           He said he was sorry, and he’s not that that kind of guy. I told him that I told my
           supervisor [about his inappropriate interactions with me]. I said it was a pattern of
           behavior that had been done to previous instructors, and it was not right. He said,
           “Do you want me to stop coming?” I said, “Yes, that’s what I want, but it still
           might go further than that.”

I asked Breaux when she found out that Rowles was behaving similarly toward other
female staff members. She said, “This summer or just before. At one of our staff
meetings, it was brought up. Rose said that Rowles sent her messages too.” Breaux
described Rowles as “delusional,” and stated that he ignored “obvious social cues” that
																																																								
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     Exhibit 7 (JR emails re private dance lessons)


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she did not want a romantic relationship with him. Breaux explained that other male
customers have flirted with her and fellow instructors in the past, but she thought Rowles
was different—more inappropriate—because he was significantly older and his
communications were more personal and frequent. Breaux stated, “[Rowles] has an
inability to read social cues. It’s not necessarily malicious, but he does pick up on some
cues in other instances. It’s not universal. He didn’t understand that things were over, and
that we couldn’t be friends.”

Breaux described various instances of physical contact and interactions with Rowles
during class, such as staring at her. She said,

       He would high five me before class. It was just the feelings I got from these
       interactions…little things like him trying to grab my hand. He would come up
       during class, and I would reach out to hit his hand when he wanted me to. I would
       try to barely touch him, but he would grab my hand. Other instructors would
       notice too. There are two of us teaching each class. When I was teaching, he
       would stare at me. When I would get down to do floor work, he would stay
       standing and watch me. All of this started happening last semester, but it was
       more intense this semester.

I asked Breaux why Rowles called her “Silky” in his messages. She told me that he made
up that nickname, and she thinks it is meant to describe the way her body moves—
“smooth like silk.” Breaux explained that Rowles called Nash “Velvet,” and he said
similar things to Nash, such as, “Your body is like velvet.”

Breaux informed me that she first told her supervisor, Pangku Cardona, about Rowles’
inappropriate interactions with her shortly before she sent Rowles a message via
Facebook alerting him that his messages were becoming excessive and asking to keep
their relationship professional. Breaux stated that this conversation with Cardona
occurred before the staff meeting at which she found out about Nash’s experiences with
Rowles. She recalled that she deleted and blocked Rowles on all of her social media
accounts, and she has not received any further communication from him since the report
was made to our Office.


Information from Respondent Jeremy Rowles:

I met with Rowles on November 9, 2016, in my office. He explained that he first met
Breaux in late 2015 or early 2016 at Kaldi’s. He stated that he was sick and stressed out
at the end of December and around New Years, so he went to Kaldi’s several times to get
hot tea. He said that he became a “regular,” and the employees got to know him,
including a woman named Abagael. Rowles explained that he frequently talked to her
when she was working. He said that he also met Breaux who often worked at Kaldi’s in
the evening, and he started to get to know her through multiple conversations. Rowles
recalled one occasion where he did not receive the correct order:




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       Annalise came to the side of the counter that was closest to my table and
       apologized from her side of the counter. I got up, approached the counter, and told
       her that it was not a big deal. Annalise apologized again and gave me a token for a
       free drink. It was Annalise who gave me the free token. She also asked me for my
       name, and after I gave it to her, I asked for hers.

Rowles continued,

       A couple days later, I went back to Kaldi’s again. Annalise was working, and I
       was drinking my tea. She came to my table as she was cleaning the floor and
       started talking to me. We talked about more details. She said she was from Dallas,
       and that she was a student at MU studying accounting. There was another time
       when she initiated a conversation with me at Kaldi’s; she told me something
       about relationships. At that point, I was thinking she was attractive, and she was
       talking to me about personal things. She said she was talking to this guy in St.
       Louis. I gave her advice about that. I used to be in a long-distance relationship.

       A couple weeks later, around MLK Day, I asked about the St. Louis guy, and she
       hinted that it wasn’t working out. I didn’t make a move on her because I was
       going through other relationship troubles at the time. I was stressed out.
       Something happened that really bothered me and put me in a funk. I wasn’t
       looking for anybody at that point.

Next, Rowles explained,

       The semester started. I went to the Rec Center a lot to work out. Since January
       2015, I have routinely lifted weights almost every weekday morning, and
       Saturdays when it’s open. Also, since Fall of 2014, I have gone to a lot of the
       TigerX fitness classes, usually about seven per week. During fall 2015, I went to
       eight or nine per week. I was doing double on some days —one in the morning
       and one at night. I routinely attended the Insanity, Functional Fitness, Dance
       Fitness, and Tiger Tease classes. I have also attended many other classes several
       times, including Endurance Cycling, Intermediate Cycling, Pump (a strength
       conditioning class), and HIIT (high intensity interval training).

       At the beginning of the semester, they have a TigerX kickoff event where they do
       free demos of the classes. I went to the kickoff for winter 2016. While I was there,
       I talked to the instructors because they know me. I trained last fall (fall 2015) to
       be a TigerX instructor. I wasn’t hired, but I know a lot of people in my training
       group who were.

       At the kickoff, an instructor named Drea came up to me. She asked if I was going
       to come to her Dance Fitness class that semester. I had started going to Dance
       Fitness in fall 2015. In the fall of 2015, Dance Fitness was taught only by Drea
       and Kasey. I loved that class. It reminded me of a type of class taught at Wilson’s
       Fitness that I loved so much that I thought about getting certified as an instructor


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       so that I could teach it. I confirmed to Drea that I would be attending her class.
       She told me that Kasey would no longer be teaching Dance Fitness; instead, she
       would be training two new instructors, Bailey and Natalie. She told me Kasey
       would be teaching Tiger Tease with her that semester. Then, Drea began trying to
       convince me to come to their Tiger Tease class. At that time, I had never gone to
       Tiger Tease. I told Drea that I thought it was intended to be a “girls only” type of
       class, and that it would awkward for guys to attend the class. Drea told me that,
       actually, of all the classes she teaches, Tiger Tease has the highest male
       attendance.

       Right after that, Annalise came up and said, “Hey.” She had a TigerX uniform on.
       I said, “What are you doing here? I didn’t know you were a TigerX instructor.”
       She told me she was just hired and it was her first semester. Soon after that, a
       class demo began. I believe it was Zumba. Me, Drea, and Annalise danced near
       each other through the whole demo. Afterwards, Annalise told me “goodbye” and
       left. Drea said to me, “You’re coming to Tiger Tease, right?” I told her that I
       would give it a try. Through the whole interaction with both Annalise and Drea,
       neither one of them told me that Annalise would be the third instructor for Tiger
       Tease that semester, along with Drea and Kasey. I only began attending Tiger
       Tease because Drea pitched it so hard to me.

Rowles continued,

       I started going to classes. I was going to Insanity, Dance Fitness, and Functional
       Finesses classes. I also went to Tiger Tease classes taught by Annalise and two
       other instructors: Kasey [Long] and Drea. The first class was the first time I
       realized that Annalise was an instructor for Tiger Tease. Right before the class,
       she came up to me and asked if I was doing Tiger Tease. I said “yes,” and then
       asked if she was teaching. She said yes. We both seemed excited at our respective
       affirmative answers.

       I really enjoyed the class. It’s sexy, and we have fun with it. Tiger Tease is a class
       where you learn dance routines in the style called “jazz burlesque.” It has a lot of
       sexual movements in that style. It was awkward for us to do sexy movements
       taught by the instructors in front of strangers, so the entire class would joke
       around a lot to ease the awkwardness. Each instructor had their favorite moves:
       Drea would always swivel her hips, Kasey would break it down and slowly bring
       it up, and Annalise’s favorite move was the booty drop. I have stiff knees, and I
       would joke with Annalise about how I can only do it about eight times. After that,
       I wouldn’t be able to get my booty back up from dropping. When she taught the
       classes, I immediately saw that she was a trained dancer. Her technique was so
       good.

       After the first time [Breaux] was the lead instructor for the Tiger Tease class, in
       February 2016, she kept apologizing to the class. She couldn’t remember the
       steps. She was out of it. After that class, I went up to her and said, “Is it possible



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       that I can give you advice? I’m not trying to take control or tell you how to run
       the class. I used to be an instructor.” She said, “Sure.”

       I told her again that I wasn’t trying to take over the class. It’s annoying when a
       guy tries to do that; I know that. I said, “It has been my experience that it’s best
       not to apologize to the class when you mess up. If you mess up, just play if off
       and keep going. We don’t know when you do something wrong unless you draw
       attention to it. There are always going to be people in the class who doubt you,
       and when you apologize, they may start to disrespect or suspect you don’t know
       what you are doing. Just play it off and keep going.” She said, “Thank you so
       much.”

Rowles explained to me that he used to be a certified instructor at Wilson’s Fitness
Center. Rowles told me about another interaction with Breaux in early February:

       It was before class. We were outside the studios. Annalise ran up and gave me a
       booty bump from the back. It was before the class where I told her not to
       apologize for messing up. I was filling up my water bottle at the fountain. She
       came up from the side and bumped me with her hips. She asked if I was coming
       to class. I said, “Yes,” and she said, “Sweet!”

Rowles explained that Breaux is not the only instructor he complimented. He also said,
“One time when Kasey was teaching, she instructed us to get from our knees in a difficult
movement. Annalise got up from her knees effortlessly and pointed her toe while doing
so. It was impressive. I could tell she was really good, and I told her so. She said she
really appreciated me telling her that.”

Next, Rowles and I reviewed his Facebook conversation with Breaux. He recalled that
when they were exchanging messages, in March and April 2016, he only saw Breaux
once per week at the Rec Center because she was not teaching many of the classes he
attended at that time. He emphasized that every interaction he had with Breaux outside of
class was the result of Breaux approaching him, rather than the other way around, “except
when [he] ordered a burrito from her at Kaldi’s and when [he] gave her advice.”

On March 2, 2016, Rowles sent Breaux a message saying,




Rowles explained to me,

       I was having a rough day. The Title IX case was dragging on. I didn’t know what
       was going on. I was stressing out, and I was having trouble functioning. It was


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       about the time that a decision was going to be made. Annalise taught a good
       dance, and it relieved my stress.

The rest of the conversation on March 2 went as follows:




At 3:25pm, Rowles replied,




Breaux sent the final message on March 2:




Their conversation resumed on April 2 at 11:32am when Rowles said, “Hey, Silky! Are
you having a good spring break?” Breaux replied that evening at 6:21pm, “I am! I just
got home actually!” I asked Rowles why he referred to Breaux as “Silky” or “Silkiness”
in several messages. He said,



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       In one of the classes, she did a move. I can’t remember what it was. She did it,
       and I didn’t know how she did it so smoothly. We would joke around a lot in
       class. It’s awkward all around because some of the moves are sexual, I guess. I
       told Annalise that I was going to start calling her Silky because she moves so
       smoothly and her technique is done so effortlessly. She laughed. I didn’t think it
       was inappropriate. It was intended to be a compliment to her dancing skills. She
       never said, “Don’t call me that,” or otherwise indicated that she didn’t like it.

On April 3 at 11:40am, Breaux asked Rowles, “Did you have any song suggestions for
your bday [sic] dance??” Rowles replied at 12:42pm:




The conversation continued,




At 7:40pm, Rowles replied,




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Breaux sent the final message on April 3:




Rowles replied the next morning:




Rowles told me,

       My birthday is April 4th. At the class before spring break, I asked Annalise, “Are
       you teaching the class on April 5th?” She said, “Yeah.” I asked, “Is there any
       way, because my birthday is that Monday, I could request a birthday song, and
       you could choreograph the dance routine to that song?” She said, “Sure. Do you
       have a song in mind?” I couldn’t really think of any good songs at that moment.
       She said, “You could message me the songs over spring break when you think of
       them” I asked, “What’s the latest I can message you?” and “How long does it take
       to choreograph a song?” She said it would take a couple hours. She said she was
       going to Chicago for spring break, but she should be back the weekend before
       spring break ends. I asked if it would be okay If I messaged her when she gets
       back, and she said, “Sure.”

       I started following her on Instagram a couple weeks before that, and she had
       started following me. There were a couple pictures I posted that she liked. I liked
       some of hers. There was a picture of her standing in front of the “Bean” sculpture
       in Chicago. I said it was a really beautiful picture in the Facebook message I sent
       at 12:42pm on April 3rd.

       On April 3rd and March 31st, she liked my pictures. She also liked a picture on
       April 4th, which was the day of my birthday.



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Breaux replied to Rowles at 9:31am, “Thank you so much, you rock! Also, HAPPY
BIRTHDAY!!” Rowles ended the conversation by saying, “Thank you, Silky!” and
sending a smiling emoji.

On April 5, 2016, Rowles told me that he recorded a video of Breaux doing his birthday
routine in class. He sent this video to Breaux via Facebook message, saying,




Six minutes later, in response to the video, Breaux said,




The next morning, Rowles replied,




The conversation continued through the evening of April 6:




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At 10:41pm, Breaux said, “I think you have a big heart!! Ugh thanks for such this
seriously makes my day.” Rowles said,




At 11:39am, Breaux replied, “It’s just been stressful because I have a big test tonight that
I’ve been studying for!” At 2:53pm, Rowles responded, “Good luck on your test! I’d love


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to hear how it went afterwards, to hear the good news of you acing it! If there is a
moment of doubt in answering a question, just believe in yourself and your intuition!
Why? Cuz [sic] you is [sic] awesome, that’s why!”

At 2:59pm, Rowles said that he sent Breaux a “first pump” sticker, and she replied with a
disco ball sticker at 3:16pm. Next, Rowles sent Breaux the following messages:




Breaux did not respond to these messages. At this point in the meeting, I asked Rowles
whether his goal in taking fitness glasses was to meet women and to try to start romantic
relationships with them, including the instructors. He said,

       No. It helps me maintain my weight. Several years ago, I was morbidly obese. I
       was also diagnosed with sleep apnea. The doctor said I had the body of a 78-year-
       old, and I was 30. I had lost the weight in part by attending group fitness classes.
       From that, group fitness has become a critical component of my lifestyle. One, it
       helps me to avoid gaining my weight back because I gain weight very easily when
       I do not exercise. Two, group fitness is a major component of me coping from the
       stress of my personal life and academic workload.

       I wasn’t going to ‘holler’ at people. I didn’t go to all four classes. Why is that part
       of the complaint? They assume I was there to pick up people. That is an issue I
       have had with the Rec Center, something I actually complained about in an
       anonymous survey I filled out last spring (spring 2016). There is a culture there,
       something that it practiced by a lot of TigerX instructors and other Rec Center
       personnel, where it is automatically assumed that if a guy attends a TigerX class,
       it is because he “likes” one of the instructors. And it is so wrong for them to
       assume that.

Going back to the messages he sent to Breaux on April 7 and April 9, I asked Rowles
why she was not responding. He said, “I didn’t know what was going on.” He continued,

       At that point, I thought maybe it was developing into something more. I thought it
       was all green light signals. I thought it might develop into something. The lack of
       response was the first yellow light. I’m not the smoothest person. I hate asking
       people out. I usually avoid it because I don’t know how. I err on the side of


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       caution. I’m really bad. Definitely not cocky. At the first sign that someone isn’t
       into it, I back off.

Next, Rowles explained his interactions with Breaux on April 10, 2016:

       I went to work out. I didn’t go to any classes. I didn’t realize it at the time, but
       Annalise taught a class called Ballet Boot Camp on Sundays. I did a couple laps
       on the track on the same level as the class studios. Afterwards, I went downstairs
       to check in my towel. I walked to the lower level. As I turned to go downstairs,
       Annalise was coming up. I wasn’t sure if she wasn’t feeling me. I didn’t say
       anything to her.

       I’m not sure if we made eye contact. I think we did. When I got to my car in the
       garage, I thought if there was a chance, I blew it by walking past her without
       saying anything.

Thereafter, Breaux and Rowles exchanged the following messages:




Breaux responded, “No don’t worry! I figured you were just out of it.” Rowles said,




Breaux said, “Will do.” She also sent Rowles a smiley face. Referring back to the start of
their Facebook conversation, Rowles wanted to provide more background information.
He said,

       After the March 2nd message, at the end of the next class, I said “thank you” and
       “goodbye” to Annalise and another instructor as I was leaving. I told them they
       did a good job. I do that for everyone. Annalise said, “I want to thank you.” I said,
       “For what?” She said, “I want to thank you. That meant a lot to me. I appreciate
       you enjoying my class and the things you said. That makes my day.” I thought
       that was really cool. That was around March 9th.

       Maybe a week later, there was an interaction where I had just finished a class and
       Annalise was there. I was checking in my towel, and she was there clocking in.
       She said “Hi,” and we started walking in the same direction. The stairs go up two


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       levels. I was going to get off on the second floor, but it looked like she was going
       to the third. We both stopped on the second-floor landing, and we were talking to
       each other. I said, “You’re a good dancer.” I asked, “What kind of dancing do you
       do?” She said, “Ballet.” I asked if she was thinking of going professional, and she
       said, “No.” She told me about her dancing experience in Dallas, including being a
       part of a dance club at her high school and taking ballet lessons as a child. We
       kept talking until she had to leave because the class she was teaching that day was
       about to start. I said, “Good to talk to you.” And then we parted ways.

Rowles described another interaction with Breaux on April 11:

       Around morning or lunchtime, she approached me. I was in the basement of the
       Student Center, lying on the couch in front of the Women’s Center entrance. I was
       exhausted and decided to take a nap. I was dozing off when I heard, “Jeremy!”
       Annalise was laughing at me and waving from about six or seven feet away. I
       started to get up to talk to her, but she said, “No, no. Go back to sleep.” I saw her
       go into the Women’s Center. She waved at me, and I waved back. I didn’t go
       back to sleep. I decided to open my laptop and start studying. About ten minutes
       later, she exited the Women’s Center. She waved and smiled at me as she did so,
       and I waved and smiled back.

That evening, Rowles and Breaux exchanged the following text messages:




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Breaux replied at 11:43pm, “Can’t wait!” The next morning at 6:54am, Rowles said to
Breaux, “Honestly? ….I can’t hardly wait either!” Later, Rowles said,




I asked Rowles if he was trying to flirt with Breaux by sending the proceeding messages
on April 11-12. He said, “Yes, I thought [her approaching me at the Student Center] was
a green light.” Rowles added that Breaux’s message saying, “Can’t wait!” was a “big
flashing green light.” He added, “She was literally telling me that she couldn’t wait to see
me.” Regarding his comment about the Women’s Center and a “long story,” Rowles told
me, “I used to be married. My ex-wife got her PhD at Mizzou and worked at the
Women’s Center while doing so. I got to know several of the programs at the Women’s
Center, along with people who used to work there.”

Next, Rowles explained what happened when he asked Breaux to go on a date with him:

       I was feeling pretty good. I didn’t go to the Tiger Tease class planning to ask her
       out. We had a class the night of April 12th. Usually, I briefly talk to the
       instructors before I leave. After that class, Annalise was like, “How are you
       doing, Jeremy?” I hadn’t even gotten to the point of saying “good job” and “thank
       you” to them yet, like I usually do.

       I was near the cubby holes where people store their personal belongings during
       class. She leaned over the trash canister and addressed me, from about 15 feet
       away. I walked over to her, and I asked how her test went. She gave me this look
       like she didn’t do well. She said that she didn’t want to talk about it. At that point,
       I realized that might be the reason she didn’t respond to the messages on April 7th
       and 9th, as those messages were about how she did, and she didn’t want to talk
       about it. We started talking about other things, like how I was a teaching assistant.
       She began asking me questions about that.

       Drea was at my side, and she began talking to me. Drea asked me “Aren’t you
       glad I talked you into coming to Tiger Tease?” I turned to Drea to say “yes,” and
       when I turned back to look at Annalise, I remember Annalise had this look, kind



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       of like…I don’t know how to describe it. It was an intense look. It wasn’t
       negative.

I asked Rowles what Breaux was trying to communicate with this “intense look.” He
replied,

       I don’t know. I don’t know if I should try to say she was trying to communicate
       anything, considering the accusations she is now making against me. I don’t feel
       comfortable doing that. I don’t want to say sultry…I need to look at a thesaurus. I
       can’t find the right word. It seemed passionate and seductive, but like I said, I
       don’t want to speak for her. She was leaning into me, though, over the trash
       canister. I’m sure it was not negative.

Rowles continued,

       I left and went to the Brewer Station desk. I checked in my towel and went to the
       locker room. As I came out, I was getting ready to leave. The main floor of the
       Rec Center is shaped like a street. As I came out, Annalise was walking down the
       street to go to Brewer Station to clock out. We saw each other and it was a brief
       recognition. It seemed like we both felt something, and we both briefly stopped
       walking. I got anxious. I’m just not good with girls. Both of us decided to start
       walking toward each other. I reached out my hand and she took it. I gently held
       onto it and pulled her in my direction. We had been walking in opposite directions
       before. There were no corners. I did not corner her. It was in the middle of a
       heavily trafficked walkway that is probably 20 feet wide. There are literally no
       corners. I hold on and gently pulled her toward me. I did not yank.

       I was really excited. I said, “Would you be interested in us hanging out
       sometime?” I remember she got this big smile. It was almost like the room lit up. I
       remember she was smiling. She said, “Maybe. When are you thinking about
       hanging out?” I said, “Friday?” She said she couldn’t do that. She said she was
       going on a retreat at the Lake of the Ozarks with her coed business major
       fraternity that weekend. I said, “What about Sunday?” She said, “I don’t know
       what time I’ll be back then. I assume we’ll be back late.”

       I said, “How about this, I’m defending my master’s thesis next Friday. How about
       you and I celebrate defending my thesis together on that Friday?” She was like,
       “Sure. Do you have anything in mind that we are going to do?” At this point, I
       couldn’t believe it. She was smiling and not backing away. Like an idiot, I
       answered her question by saying “I have no idea.” I didn’t anticipate that this was
       actually working. I’m really bad at asking people out. She said, “How about this,
       when I get back we’ll talk about what we are going to do?” I said, “Sure,” and she
       said, “Okay, we’ll talk next week about what we’re doing.”

       We didn’t have each other’s phone numbers. All of our communications were on
       Facebook. Later, in a Facebook message, I gave her my phone number. She went



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       to clock out, and I left the Rec. She didn’t say “no” at all. When I got to my car, I
       called my best friend, Amber, and said, “I think I’m going to go on a date.”

The Facebook messages continued,




Rowles told me, “I sent the message on April 18th to start the conversation so we could
figure out details of the date.” Breaux replied to Rowles,




Regarding the Instagram comment, Rowles explained to me,



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             A lot of people were commenting. It was a good picture, a portrait picture. Guys
             and girls were commenting on how beautiful she looked. I thought, “I’m about to
             go on a date with this woman. I think I can comment on how beautiful she looks.”
             I said something like, “If this picture is the last thing I see at the final closing of
             my eyes, then I will float to Heaven a happy man. #beautiful”

Regarding Breaux’s response, he told me, “That was the first time she indicated that we
should be professional.” Their Facebook conversation continued,




At 7:18pm, Breaux replied, “Thank you for understanding.” One minute later, Rowles
said, “No, seriously, thank you for telling me. I never want to make a woman feel
uncomfortable, especially you. I am really sorry.” At 7:24pm, Breaux said, “I accept your
apology.” Rowles responded at 7:49pm, saying,

             I deleted that Insta [sic] comment, and I tried to undo the “love” reactions on your
             FB pic, but it will only let me change it to just a “like.” Thank you for accepting
             my apology. I…I won’t ever do anything to make you feel that way again, I feel
             so bad for making you upset. I’ll see you in class tomorrow, and I’ll be the best
             and most professional class member, I promise.

Rowles stated that he only interacted with Breaux at her places of work after April 18,
and he did not message her after that. He said, “I was more reserved than usual in her
classes because she said she was uncomfortable, and I promised her that I would be
professional. I stopped calling her Silky.”20




																																																								
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     Upon reviewing this summary, Rowles requested to add the following information on February 6, 2017:

             She did appear to be comfortable with me in class afterwards for the remainder of the semester. In
             one class, near the end of the semester, she was teaching a routine with her back to the class, going
             through steps. Before the last step of the movement, she paused and looked over her shoulder in
             my direction, and said, “Are you ready for my patented move?” and then did a booty drop. I felt
             that her reference to our inside joke was a sign that she was at the very least comfortable again
             with me being a class participant in her classes.



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Rowles continued,

           That summer (summer 2016), I went to Kaldi’s hoping to drink tea and see
           Abagael. I had a very difficult summer, where I experienced a very severe
           financial crisis followed by a very severe family crisis. I was depressed, and I was
           hoping that Abagael and tea could help me recover, similarly to how it helped me
           during the previous winter. Annalise was working.

           When Annalise saw me, she said, “Hi, Jeremy!” She sounded excited to see me,
           but I just said, “Hey,” in a low tone, as I was in a very bad depressed mood. She
           scowled at me; I believe that she interpreted my tone as being directed at her.
           Annalise was cleaning a coffee machine when I ordered my drink. I asked the
           barista who took my order whether Abagael still worked there. Annalise scowled
           at me again and said, “No, she quit in May.”

           I brought my tea back up to the counter and asked Annalise to re-steep it. At
           Kaldi’s, when they steep your tea, they bring it to your table. When you finish
           your tea, you can bring it back to the counter and ask them to re-steep the tea
           leaves. After the re-steep, they’re supposed to bring the tea back to your table
           again. She didn’t bring it out to me when it was finished. She put it on the counter
           and yelled my name. I drink a lot of tea. Over winter break, I would get five or six
           re-steeps. I asked for another re-steep again later, and she avoided it and had
           someone else do it. I brought it up to the counter again later, and she was talking
           to who I think was Abagael’s ex-boyfriend, and they were looking at me and
           talking. I’m not sure what they were saying.

           About a week later, I went to Kaldi’s and Annalise was there studying. I wanted
           to say “hi” in a friendlier manner. I thought maybe she thought I was rude the last
           time I saw her at Kaldi’s. She had her head down. I gently knocked on the table so
           she would look up at me. I said “hey,” and she said “hey” in a way that made it
           seem like she didn’t want to talk to me. I could not understand why. She said she
           wanted to maintain our friendship at her places of work in her Facebook message.
           It was at her workplace no less. We were at Kaldi’s. Thereafter, I didn’t approach
           her at Kaldi’s.21

              When the fall 2016 semester started, I decided to go to Dance Fitness and Tiger
              Tease classes, as well as others. I was planning out my schedule of group fitness
              classes I would attend for the semester. This semester was when she started
              teaching Dance Fitness. I didn’t know she was going to teach it. I thought it was
																																																								
21
     Upon reviewing this summary, Rowles requested to add the following information on February 6, 2017:

           I didn’t want to risk making her upset again, so I started avoiding Kaldi’s altogether. My best
           friend, Amber, and I typically go to have coffee together on Sundays, and we would typically have
           coffee at one of the 9th Street coffeehouses downtown (Kaldi’s, Lakota, The Coffee Zone). After
           my summer interactions with Annalise at Kaldi’s, I told Amber that I didn’t want to go to Kaldi’s
           because of what happened with Annalise, and so we took Kaldi’s out of the coffee meeting place
           rotation. I have not been to Kaldi’s since, I believe, July 2016.


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       going to be taught by just Natalie and Bailey, as they were the ones who were
       trained to teach it by Drea the previous winter semester. Annalise didn’t teach
       Dance Fitness that winter. They don’t post the instructors online so it’s hard to
       know who will teach each course. I figured she was teaching Tiger Tease on
       Tuesdays because that’s the one she taught last year, and she had said she wanted
       me to keep coming to her Tiger Tease class in her last Facebook message she sent
       me.

On February 6, 2017, upon reviewing this summary, Rowles requested to add,

       The following is a clarification of my schedule of Tiger X classes that I planned
       on attending for Fall 2016. At the beginning of semester, I planned on attending:
       Monday night Dance Fitness; Tuesday night Functional Fitness; followed by
       Tuesday night Tiger Tease. I was looking for a high intensity aerobics class as
       TigerX sharply reduced the number of Insanity classes that semester, and the only
       ones were scheduled during the time of the class that I was a teaching assistant
       for. I couldn’t find one, so I believe that first week I settled on attending Thursday
       night Tiger Tease, as well (which was taught by Kasey, Maddie, and Bailey).

       After the meeting time for my graduate seminar was set for Tuesday night, the
       Lifeworks Dance classes started, and my off-campus job work schedule was
       changed, my fitness class schedule was thus: Monday night Dance Fitness,
       Wednesday morning Functional Fitness (which was the class taught by Ashlyn
       Balch), Friday afternoon Tiger Tease, Sunday Lifeworks Dance Hip-hop,
       followed by Sunday Lifeworks Dance Contemporary, and occasionally Monday
       and Friday morning HIIT.

       It should be clearly noted that at no time that semester did I attend all four of
       Annalise’s classes in a week. Also, Annalise’s classes were never the only classes
       I planned on attending that semester.

       And finally, it should be clarified that attending TigerX classes are not a privilege.
       You can’t just “show up” to a class; you have to pay to attend TigerX classes. I
       bought the semester long TigerX pass, which cost me $59. In addition, I paid for
       the Lifeworks Dance membership add-on to my TigerX pass, which cost an
       additional $19. There is nothing in the purchase agreements that says you would
       be judged negatively if you attended too many classes. In fact, TigerX would
       often celebrate participants who attend many classes. An example of this is an
       Instagram post the TigerX account made in the Spring of 2016, where a picture of
       a participant was posted and the caption explained how the participant regularly
       attended many of the dance classes. Annalise commented on the post, giving the
       participant a positive compliment. https://instagram.com/p/BEtQ8yRuYiI/




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Next, at our meeting, Rowles explained,

             I went to Tiger Tease first this semester. It was fine. Annalise said she had a
             birthday a couple days before. So, she taught us a dance routine to a song called
             “Birthday Sex.” Afterwards, I told her “happy birthday” and that was it. I left.
             That Sunday, I went to the TigerX Kickoff for fall 2016 demos for the different
             classes at the Rec Center, like they do every semester. I participated in almost all
             the demos except yoga. At that kickoff, they did a demonstration of Lifeworks
             Hip-Hop and Lifeworks Dance.

             I went to Dance Fitness class the following Monday. That was when I found out
             that Annalise was now a Dance Fitness instructor. Everything seemed fine.22

Regarding physical contact with Breaux during class, Rowles stated:

             I never grabbed Annalise’s hand during class. The only thing was a high five or
             high grasp. The only time we touched was in a way where I would offer my hand
             and she had the choice of touching it, like in a high five or shaking hands. I
             definitely never grabbed her hand in an intimate way. When I did training to be a
             TigerX instructor, we were encouraged as instructors to give high fives to
             participants.

Next, I asked Rowles when he first noticed that Breaux seemed uncomfortable:

             During the second or third week of classes, I started noticing when Annalise
             would see me, there was something wrong. I’m really hyper aware. I’m a war
             veteran, and I had a traumatic childhood. I’m really aware of people’s
             movements. I have gotten better. I used to monitor how many times people would
             come into and out of a room. I’m really aware of people’s movements, and I
             notice things out of the ordinary. I was starting to notice that several times when
             she saw me, she would tense up. We would be 50 feet apart.

             One time, I was at the bottom of the three floors in the Rec Center. She was at the
             top of the stairwell. We saw each other. There were 15-20 people on the stairs.
             She stiffened her back straight up. Like she was wondering whether she should
             come down. I was nervous because she seemed nervous. We passed each other on
             the second level landing at the same time. I turned off onto the second floor, and
             she kept going. I said, “See you Monday?” She gave a quick nod to me to answer
             yes, but she kept going. That happened on a Sunday.



																																																								
22
     Upon reviewing this summary, Rowles requested to add the following information on February 6, 2017:

             My interactions with Annalise in her classes were going so well that I talked to my counselor
             about it. I remarked how glad I was that we could be comfortable around each other during class,
             especially given how my poorly my interactions with Annalise went at Kaldi’s over the summer.


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       I didn’t know what that was about. As I would leave classes, I said, “Thank you.
       Goodbye.” The instructors stand by the door after classes finish, to be available
       for questions and comments from participants after class. I think that’s what
       they’re trained to do. I remember when I said “goodbye,” I noticed a weirdness
       about it from Annalise.

Rowles continued,

       At the beginning of the semester, I was going to her Monday and Tuesday classes.
       I was not going to her Friday class. I was enrolled in a graduate level seminar,
       Anthropology 8187. Anthropology seminars like Anthropology 8187 are often
       listed in the course catalog as having meeting times of “Arranged.” This means
       that the participants of the seminar, students, and the instructor, decide together
       when the seminar should meet. It was decided that the best time we could all meet
       for Anthropology 8187 was Tuesday nights from 6:00 to 9:00pm.

       In the beginning, I went to the Tiger Tease classes on Tuesdays, until the seminar
       started. After Dance Fitness on the Monday night before the seminar started, I
       asked Annalise if she taught Tiger Tease on Friday afternoons. She said she did,
       and asked why was I asking. I told her that I couldn’t come to her Tuesday night
       Tiger Tease anymore because I had a seminar that is meeting at that time. She
       then asked, “You can or you can’t come?” and I said, “I can’t.” She seemed
       annoyed at my answer. She rolled her eyes and looked away from me. She then
       said there was also a Tiger Tease class on Thursdays, and I should think of going
       to that one. Somebody else got her attention, and she started talking to them.

       At the beginning of the semester, I went to just two of her classes each week.
       Then I went to the Life Works demo free day to see if I liked it. You can buy a
       pass to the Lifeworks dance classes. This is another time she said I lingered. I
       stayed after her Tiger Tease Friday class on, I believe September 9, 2016, because
       she was telling the class about the Lifeworks Dance Free Day event on Sunday,
       September 11th. She was pitching this to the entire class. It was a day where all
       students could attend all of the Lifeworks Dance classes for free to see if they
       liked them.

       Lifeworks Dance is a “subprogram” of TigerX, where each class teaches a
       different genre of dance, and you have to buy an extra pass to be able to attend.
       That semester, there were 5 Lifeworks Dance classes: Ballet, Contemporary, Hip-
       Hop, As Seen On Screen (which taught dances seen in music videos), and Jazz. I
       went to a temporary demo of Lifeworks Contemporary and Hip-Hop during the
       TigerX Kickoff event at the beginning of the semester, and enjoyed it. I thought I
       was interested but wanted to ask Annalise about it. She was talking to someone
       else for five minutes. So, I wanted to ask Maddie, the other instructor, but she was
       talking to another participant, too.




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Rowles continued,

           Finally, I talked to Annalise… She told me that each Lifeworks class begins by
           teaching a skill for that type of dance, and then spends the rest of the class
           teaching a dance routine, similar to how Tiger Tease teaches a dance routine each
           class. So, it was “like Tiger Tease, but more advanced.” I told her that I was
           concerned because I wasn’t an experienced dancer. She said that classes were
           designed for all levels of experience, except for ballet. She said ballet would be
           teaching difficult techniques… She told me that I should definitely do it. I gave
           her a hand clasp. I said, “Thank you,” and she said, “You’re welcome.”

           I went to try it. They didn’t post who the instructors were, but I assumed it would
           be Danielle because she was the instructor who taught the demo of Contemporary
           at the TigerX Kickoff event… I didn’t know Annalise was teaching
           Contemporary too until I saw her there. So, that’s when I started going to three of
           Annalise’s classes. I really enjoyed the Contemporary class. I never did four
           classes at a time.23

I asked Rowles to respond to the allegation that he stared “intensely” at Breaux during
classes. He explained,

           I don’t know where that comes from. She’s an instructor so I have to look at her.
           There are three instructors for Dance Fitness, and I don’t always look at her. The
           Dance Fitness instructors rotate who leads the class; one instructor leads the first
           third of the class, then another leads the middle third, and then the last instructor
           leads the final third of the class. They line up in front with the lead instructor in
           the middle and then one at each side. They would rotate positions throughout the
           class. When one instructor would assume the role of lead instructor, she would
           move from the side position into the middle, and the instructor who was
           previously in the middle would move to a side position. I look at the primary
           instructor the whole time. If you want to slow down, you can follow the ones on
           the sides as they would be doing the “low option,” which is an easier version of
           the movements that the lead instructor was doing, but I never did the low options.

              In Tiger Tease and Contemporary, each class had one instructor who
              choreographed the routine for that class and led the entire class. They alternated
              classes as to who would be the lead instructor. Again, I would look at the lead
              instructor the whole time in those classes. There would be no way I could
              participate in those classes if I was staring at Annalise the “entirety” of the time,
              especially when Annalise was not functioning as the lead instructor in the class.
																																																								
23
     Upon reviewing this summary, Rowles requested to add the following clarification on February 6, 2017:

           After reading this now, I realize now that I had informed Annalise that I intended to come her
           Contemporary class, even while I had no clue that Annalise was teaching it. She had encouraged
           me to come and give it a try, and I feel like if she was averse to me coming to her class, she would
           have not encouraged me. I was really hesitant in doing the Lifeworks dances, and her
           encouragement was what really won me over and convinced me to give it a try.


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       The only time I really looked closely at Annalise, specifically, was when I asked
       her to do a move slowly because I learn visually, and I couldn’t tell what she did.
       For example, she did a move in Tiger Tease where she squatted down and then
       rotated her whole body. I couldn’t figure out how she rotated. I asked, “How did
       you do that? Could you slow it down?” That was the only thing. I explained to her
       that’s why I was doing looking closely.

I asked Rowles to respond to allegations relating to his requests for private dance lessons
with Breaux. He stated,

       First, I want to make it clear that I did not approach her asking for private dance
       lessons. It was she who recommended that I take private dance lessons. My email
       to her was asking for links to YouTube videos, not dance lessons.

       Things started getting weird. Things were getting more tense. I was only saying
       “hi” and “bye” to Annalise. As I would leave, she would abandon her post,
       sometimes quickly or frantically. I thought something was going on. At this point,
       I was talking to my counselor about it. I said, “I don’t know what I’m doing. I’m
       acting professional.” I don’t know what was going on. She was having this
       strange reaction to me.

       All I was doing was asking Annalise professional questions—about Life Works
       and whether she teaches certain classes. Otherwise, just “thank you” and
       “goodbye” or asking how to do a particular dance move. There was nothing
       personal going on at this point between me and her.

Regarding the emails he exchanged with Breaux, Rowles said,

       I struggled with some of the more formal moves. I tried to do a leap in the
       Contemporary class on September 25, 2016, and it was really bad. I was going to
       ask Annalise after Dance Fitness on Monday, September 26th, about what I put in
       the email, asking if there were resources I could find—like YouTube channels or
       books—that could teach me basic dance skills that I could practice alone at home.
       I picked up my stuff and was heading to the door. She saw me and frantically
       moved to the other side of the studio. I ended up talking to another instructor,
       Bailey, who doesn’t teach Contemporary.

       Annalise had sent an email to whole Contemporary class asking if anyone had
       questions. I replied to Annalise on Tuesday, September 27th and asked for
       YouTube channels or books that I could find to use to practice dancing by myself
       at home. She replied to my email on Wednesday, September 28th. The very first
       sentence of her reply was her recommending that I should sign up for private
       dance instructions with a Lifeworks dance instructor. After that, she gave very
       basic advice on how to find dance resources on the Internet and how to practice at
       home.



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             I did not know that Lifeworks Dance offered private dance instruction. I looked at
             the Rec Center website and found the pricing and description of the private dance
             lessons. I was very intrigued by doing the lessons, but I wasn’t sure if I could fit
             the price in my budget. I replied back to Annalise on Thursday, September 29th,
             stating that I was very interested in doing private lessons, but I wasn’t sure how
             many lessons I could afford until I paid my monthly bills that weekend. I said that
             I would want to do them. It was a question of whether I could afford just one
             lesson, or several lessons.24

Rowles continued,

             On the morning of Monday, October 3rd, I decided that I was going to purchase
             four private dance lessons. I followed Annalise’s advice in her email and went to
             the ZouLIFE office to book dance lessons, with Annalise as my preferred
             instructor. Originally, the person working at the zouLIFE desk said that the Rec
             Center does not do private dance lessons. I said “insisted” in the email because of
             that. That was the only time I “insisted” because I had to argue with the ZouLIFE
             worker and insist that the Rec Center does do private lessons as it was on the
             website that the Rec Center does do that.

             Eventually, the person at zouLIFE admitted that she didn’t know how to book
             reservations for private lessons. She told me to go back and ask the instructor who
             told me about the private dance lessons if she knows how they’re supposed to do
             it. I went home and sent Annalise an email explaining the situation with ZouLIFE
             and asked her if she could tell me if there was another way I could buy private
             dance lessons, with her being my preferred choice of instructor.

             Every October, you get a prize if you go to enough classes. You have to fill up
             your card with enough hole punches. You then turn in your card once it’s full.
             After Dance Fitness on the night of Monday, October 3rd, I went up to Annalise
             to get my card hole punched, and while she was doing so, I asked if she got my
             email. She said, “Which one?” I said, “The one I sent this morning.” She said,
             “No, I haven’t read it.” I told her that zouLIFE couldn’t book me for private
             dance lessons because they don’t know how, and they told me to come to her to
             ask how to do the booking. Annalise said, “I don’t have anything to do with
             private dance lessons.” She said it in a normal tone of voice. I said, “Oh. I didn’t

																																																								
24
     Upon reviewing this summary, Rowles requested to add the following information on February 6, 2017:

             After I sent that email on Sep 29th, I attended three classes of Annalise’s: Tiger Tease on Friday,
             September 30th, Contemporary on Sunday, October 2nd, and Dance Fitness on Monday, October
             3rd. In all three of those classes, Annalise showed no discomfort with me. In fact, those three
             classes were the best classes I had with her the entire semester. I did not expect her to have a bad
             reaction to me discussing private dance lessons with her because my interactions with her were
             going so well after that I had sent that email saying I was eventually going to be following up on
             her recommendation of getting private dance lessons.


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       know that. I thought you did private lessons because you suggested them to me.”
       She repeated that she didn’t have anything to do with private dance lessons.

       At that class, Annalise was being evaluated. They do peer review evaluations, and
       Kasey Long was the peer evaluator for that class. Kasey saw that I looked very
       confused and asked me what I was asking Annalise about. I turned to face her,
       and I told her that I was asking about private dance lessons. Kasey replied, “Oh,
       that is something that Lifeworks Dance offers. You can sign up to take lessons
       with a Lifeworks Dance instructor.” I replied back, “Yes, I’m trying to figure out
       how I can do that.” Suddenly, Annalise interrupted and said, very forcefully, “I
       don’t have anything to do with that.” I said, “Okay.”

       The other Dance Fitness instructor that day, Bailey Baucum, then approached me
       and asked what was going on. I turned to her and told her that I was asking about
       how to sign up for private Lifeworks Dance instruction. Bailey told me that all I
       had to do was fill out a form on the Rec Center website requesting private dance
       instruction, and the form would be sent to their supervisor who would arrange the
       dance instruction based on instructors’ availability. I said, “I’m not okay with that
       because I want a choice of who my instructor is.”

Rowles explained further,

       I get the feeling their supervisor, Pangku, doesn’t like me. Because I wasn’t hired.
       I had paid $90 for a TigerX Instructor Training Course in the fall of 2015. I was
       told throughout the course that if we passed the exam at the end of the training
       course and gave a good audition in front of Pangku, we were virtually guaranteed
       to be hired. I had passed the course, and I had a good audition and got good
       feedback, but I wasn’t hired.

       The email saying that I wasn’t hired was just a generic email stating that they had
       received an overwhelming number of applicants and could not hire me because of
       the high demand for a limited number of positions. I felt that was not fair because,
       “Why did they take my money for the training course if they knew enrollment
       exceeded the supply of positions available? Why did they not cap enrollment?” I
       emailed Pangku, and she wouldn’t explain to me why I wasn’t hired. I assumed
       that if I let Pangku assign my private dance instructor, she would just take my
       money and then send an email saying something like “due to overwhelming
       demand for private dance instruction, we are unable to assign you a private dance
       instructor. Thank you for your interest in private dance, and good luck in your
       future endeavors.”

       When I told Bailey that I wanted to be able to choose my instructor, she said,
       “There is a box in the website form where you can state who you want your
       instructor to be.” Then, suddenly and very loudly, Annalise said, “I’m not doing
       private dance instruction!” At that point, I wasn’t thinking of her. I was thinking




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       of maybe asking Megan. It was so loud. She was angry. I quickly turned around to
       her and said “Okay!” Then I left.

       I didn’t end up signing up for private lessons because I don’t trust Pangku. Also, I
       was still confused on which of the Lifeworks Dance instructors did have
       something to do with private lessons. I did not want to risk another instructor
       being mad at me just because I asked her about dance lessons. I didn’t want to be
       yelled at again. Like I said, through this whole semester, it was this weird
       emotional thing happening. It seemed like Annalise’s reaction to that conversation
       was disproportionate. We weren’t even talking to her, and she was still angry and
       insisting. I had a weird feeling. I left. That was intense, and I didn’t know why.
       That whole night and the next day, I felt like something bad happened. I had
       checked Instagram to see if she blocked me. I had gotten into the habit of
       checking whether someone blocks or unfriends me as an indicator of whether they
       were angry at me or not. I discovered that indeed Annalise had blocked me on
       Instagram sometime during that night.

Rowles continued,

       Four days later, I decided to give Annalise the token. I wanted to figure out what
       was going on. I had triggered something in her. The idea was to go to her Tiger
       Tease class on Friday, October 7th, and hopefully talk to her about what’s going
       on after class. I happened to find the Kaldi’s token that she gave me for the
       breakfast burrito order error when we first met. I had found it in the front pocket
       of my book bag a month earlier. I wrapped it in paper, and on the paper, I wrote,
       “‘The Scientist’ by Coldplay.”

       I did not write lyrics; I just wrote the song title and band name. The song goes,
       “Take me back to the start…” I wanted to talk to Annalise and address it. The
       token and song were supposed to be a symbolic ice breaker of me possibly being
       able to talk to Annalise about how we could take our friendship back to the start. I
       wanted to go back to the start when she felt comfortable booty bumping me from
       behind, and we could have fun conversations about dance and other things.

       What happened was, she was still upset with me. The lead instructor who teaches
       the Tiger Tease classes is usually on the right. That day, Maddie was the lead
       instructor and was on the right side of the class. Annalise was originally on the
       left. I always take a position on the far-left side in Tiger Tease, so Annalise was
       originally almost directly in front of me.

       After Annalise finished her warm up, she got up and moved way over to the right
       side of class. Maddie went over to the left instead. I thought she was moving
       away from me. She announced to the class that she was moving. I thought, “This
       isn’t the time to talk to her because she’s still mad.” I decided that I would just
       focus on Maddie for the rest of class and not react at all to Annalise and not talk
       to her because I did not want to risk making her angrier.



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       After class, Annalise was punching the participation cards at the door. As I
       approached the door to exit, Annalise quickly gave Maddie the hole punch and
       said, “I have to go to bathroom.” She then ran away, down the walkway outside
       the class studio. She was sprinting. She ran so fast. Maddie punched my card. I
       didn’t know what to do. I figured that there would not be an opportunity to talk to
       Annalise if she was literally running away from me.

       I was confused on what to do. I gave Maddie the token wrapped in paper and
       asked her to give it to Annalise. Maddie asked me what it was. I told her that it
       was just a song recommendation for a dance routine for the Contemporary
       Lifeworks class. That was Friday’s class. When I saw Annalise on the following
       Sunday, in her class, I didn’t bring up the song recommendation. I acted normal
       when I saw her again. On Sunday, after class, she smiled at me.

Regarding the letter that he gave to Breaux, Rowles explained,

       I really cared about her. I was starting to realize I still had feelings for her. The
       day after the argument about private dance lessons, I talked to my close friend,
       Dana, about my situation with Annalise. She said Annalise’s behavior sounded
       ridiculous, but then asked me why did care so much about an instructor who acted
       that way toward me. That was when I realized my feelings for Annalise were still
       there. That was problematic because I had promised Annalise I would be
       professional around her, and it would be difficult honoring that promise while
       knowing I had feelings for her.

       The point of the letter was that something bad was happening between us. I didn’t
       know what it was that was causing her not to be happy. I felt that I couldn’t talk to
       her about it, because she ran away from me the previous Friday. So, I decided to
       write everything I wanted to say in a letter. The letter was a request to her to
       communicate to me what she would want me to do to stop making her unhappy. I
       decided to also communicate that I had feelings for her in the letter so that she
       would know that information in making her decision about what she wanted to do
       to prevent the unhappiness between us. I decided to give the letter to Annalise
       after the Tiger Tease class on Friday, October 14th.

I asked Rowles whether it seemed like Breaux wanted to take the letter from him, or if
she was reluctant to do so. He said,

       When she asked what it was, I said it was an apology and explanation. She did
       back away so I lowered it closer to my side. I said, “Look, I’m just trying to find
       out…there is something I’m doing that is causing you to be upset. I just don’t
       know what it is. I’m trying to keep the promise I made to you after the Instagram
       comment.” She asked, “Jeremy, what was it that you gave Maddie on Friday?”
       She was referring to the token I had given Maddie the previous Friday. I said it




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       was just an apology. At that point, she took the letter out of my hands. She hadn’t
       read it yet.

       She said, “Jeremy, this needs to stop.” I said, “What needs to stop?” She said,
       “You’ve done this to other instructors, and now you’re doing it to me.” I said,
       “What other instructors? What have I done to other instructors?” I was confused.
       She said, “First, you do this to Rose and now you’re doing it to me.” I said, “Did
       what to Rose?” She said, “You sent inappropriate messages to Rose.” I said, “No,
       I didn’t. I haven’t sent any messages to her in a year, and it’s nothing sexually
       inappropriate.” She was like, “It’s not just Rose, it’s all the instructors.” I said,
       “All the instructors?” She said, “Yes, you ‘oogle’ at us during class. There are
       consequences to your actions.” I said, “I don’t know what you’re talking about. I
       don’t ‘oogle’ at anybody during class.” She said, “You tried to reach out to me
       and request private lessons.” I said, “I reached out for YouTube videos though.”
       She said, “And you come to all my classes. This needs to stop.” I said, “That is
       not true. I do not come to all of your classes.” She said, “You need to learn there
       are consequences to your actions.”

       She said that Pangku had already told her about all the things that I had done to
       other instructors and that they reported me to Pangku. She also said that she
       already reported me to Pangku too. I told her that I had no idea what she was
       talking about, that nobody had ever told me that I was being reported. She kept
       saying that “I need to learn the consequences to my actions,” and I kept telling her
       I did not know what actions she was talking about. Finally, I said, “Look, in the
       letter, I ask you if it would be better if I just stop coming to your classes.” She
       said, “Yes.” I then said, “Okay, I’ll stop coming to your classes then. If that is
       what you want, I’m willing to do that.” She then said, “No! You need to learn,
       Jeremy! There are going to be consequences to your actions!” She backed up and
       slammed the door in my face.

Rowles explained,

       I sent one flirty message to Rose nearly two years ago and that was it. I thought
       Rose was flirting with me. Rose approached me over the summer of 2016, and she
       never gave me an indication that she was upset with me or had reported me.

       I have not gone to any classes since I gave Annalise the letter on October 14th. I
       voluntarily avoided Annalise after that. I stopped going to Dance Fitness and
       Lifeworks Contemporary classes. Also, I stopped going to the Friday Tiger Tease
       class, and I started attending the Thursday night Tiger Tease, as that was the only
       Tiger Tease class not taught by Annalise.

       For her to say I’m stalking her when I have gone out of my way to avoid her is
       not fair. I have stopped going to Kaldi’s, a “safe place” for me to recover from life
       stresses, since July 2016. And it had been nearly a whole month of me avoiding
       her fitness and dance classes, classes that were a critical part of my fitness and



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       stress coping strategies, before she reported me for stalking to the Title IX Office.
       There are classes I want to go to, and I’m not going.

On November 11, 2016, Rowles and I resumed our meeting to discuss three other
potential complainants in this matter: Ashlyn Balch, Hannah Turnbull, and Rose Nash.
First, Rowles stated,

       I’m concerned about how Ashlyn Balch is on this list. One, when I had messaged
       Ashlyn, she was not an employee of the Rec Center at that time. Why is the Rec
       Center keeping track of messages I send to people who do not work at the Rec
       Center? Two, I’m confident that the message I sent Ashlyn was not sexually
       inappropriate because another person on this list, Hannah Turnbull, actually read
       that message and confirmed to me that there was nothing inappropriate about that
       message.

       I believe another woman who used to be an instructor at the Rec, Taeler De Haes,
       spread false information about me. She was waging a false campaign against me.
       I have a history with her. She is connected to Ashlyn, Hannah, and Rose.

Rowles explained,

       I met Ashlyn in the summer of 2015. At that time, she did not work at the Rec
       Center. She worked at Lucky’s Market. I believe Ashlyn just started working as a
       Rec Center employee in the fall of 2016. Throughout the summer of 2015, I saw
       Ashlyn because we lifted weights in the Pump Room weight room at the Rec at
       approximately the same time daily. I introduced myself to her last year because
       we worked out at the same time. When I approached Ashlyn, it was before she
       was a Rec Center employee. I was attracted to her. She looked like a character
       from a movie, Some Kind of Wonderful. She reminded me of Watts from that
       movie. The top of her hair is pale blond and then darker everywhere else. When I
       was a kid, I wanted to date someone like Watts.

       I was really cautious though. After two or three months of seeing her around the
       Rec Center, I saw her at Lucky’s. I shop at Lucky's all the time, and I found out
       she works there. I was developing a friendship with someone else who worked
       there at the same time, Hannah Turnbull. I asked another employee who Ashlyn
       she was and whether she was single. I was going to approach Ashlyn at the Rec
       Center after that.

       I introduced myself and tried to get to know her. She told me that she’s a
       Nutrition major but wants to go into Dietetics. I asked her about workouts. She
       does really intense workouts. That’s when Ashlyn told me that she knew Hannah
       and Taeler. I asked her if it was okay if I added her as a Facebook friend so I
       could get to know her, and she said, “Sure.” She also gave me her Instagram
       handle. I was nervous. I didn’t ask her out or anything.




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Rowles continued,

       Taeler had been at an internship in Washington DC during the summer of 2015
       with CBS News. The next time I saw Ashlyn, she was working out with Taeler
       after she returned to Columbia. I told Taeler “good job” because I had read her
       news articles. I said “hey” to Ashlyn. She is really reserved, especially when she’s
       around Taeler who is boisterous and calls herself an “alpha female.”

       Here in town, Taeler worked at GNC off of Grindstone. I would see her there
       when buying products. At the Rec, I asked Taeler when she worked at GNC
       because I needed to buy workout supplements. She told me that she worked that
       afternoon and invited to come by.

       That afternoon, I went to GNC. I talked to Taeler for some time. Eventually, I
       asked Taeler how she knew Ashlyn. She said, “Why?” I said, “I’m thinking about
       asking her out.” She said, “No.” I asked, “Why?” She just said, “Don’t ask her
       out.” She wasn’t saying that Ashlyn didn’t want me to ask her out; it was Taeler
       who had the problem with it. She said, “You shouldn’t do it.”

       I asked Taeler, “Could you just not talk about me to her?” Taeler said, “Okay. It’s
       between you and her.” She also said, “Don’t be creepy and send her a Facebook
       message.” I said, “What do you mean?” She said, “Don’t just appear out of the
       blue and send her a message.” I said, “But I already know her and introduced
       myself in person.” Then she said, “That’s okay, since you met her in real life.”

       A couple days later, I was going to ask Ashlyn out in person. I don’t know why I
       didn’t. I ended up asking her out via Facebook in a very gentlemanly way—not
       anything sexually suggestive. I asked her out to dinner. I said, “I’d really like to
       get to know you better. You’re attractive and appear to be a smart woman with an
       outstanding set of moral values, and I admire your determination. You appear to
       be a woman I want to get to know better. Would you be interested in having
       dinner with me?” She didn’t respond. I took that as, “I guess not.”

       That’s the thing, you ask people out, and they don’t respond. It’s like, “Okay.”
       The next day I was working out, and Taeler called me over. She and Ashlyn were
       working out together. After I finished talking to Taeler, I asked Ashlyn if she
       received my message. She told me that she hadn’t received it. I said, “I was
       asking if you’d be interested in going to dinner with me.” She said, “I don’t think
       I have time for going out with anyone right now. I have a very busy schedule
       between school, cheerleading, and work. I just don’t think I have time to do
       dinner. I’ll have to check my schedule, but I don’t think I have time for dinner.” I
       took that as a rejection. That was a clear decline. I said, “Okay,” and I moved to
       the other side of the room to do my workout.

Rowles described another conversation with De Haes at GNC after she invited him to
visit during her shift:



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       We briefly talked about Ashlyn, and I expressed my disappointment that she had
       declined my date invitation. Taeler did not say anything about that, and she
       changed the subject. That was a Friday. Sometime that weekend, I noticed Ashlyn
       blocked me on Instagram. I found out she blocked me because a post of hers I was
       viewing in my Instagram feed literally disappeared while I was looking at it. I
       thought that was odd. Later, she blocked me on Facebook. I thought, “Okay, she’s
       really rejecting me,” but I didn’t take it personally.

       Later that week, by the end of the following Wednesday, I was working out on a
       weight machine that has four sides. I was sitting on one side. Suddenly, Ashlyn
       and Taeler came over and started working out in front of me on the other sides of
       the machine. It was like they “bum rushed” me, they both ran over to the machine
       in an aggressive way. Also at that time, I was starting to suspect, based on
       previous interactions I had with Taeler, that she had broken her promise and told
       Ashlyn not to go out with me. I thought Taeler was involved in Ashlyn blocking
       me.

       Taylor was staring at me. My gut was telling me that Taeler was doing something.
       I turned away, and Ashlyn was working out on the right side of the machine. I
       was looking to the right and down. I didn’t want to look at Taeler. It was this
       weird interaction.

       A couple days later, I approached Ashlyn soon thereafter at Lucky's. I said, “I
       noticed you blocked me. I’m not complaining about that. I’m just wondering why
       you did that? What did I do wrong so I don’t make the same mistake in the
       future?” Ashlyn said, “Yeah, when you asked me out, the message had too many
       compliments. If you knew me, you’d know that I don’t like compliments.” I said,
       “Okay, I’m sorry about that. Anything else?” She said, “Yeah, when we were
       working out the other day, Taeler told me you were looking at me in a creepy
       way.” I said, “I wasn’t looking at you. I was trying to look away.” She said,
       “That’s not what Taeler said. It creeps me out.” I said, “I didn’t mean to do that. I
       was looking away from Taeler. Wait, you blocked me before that day when we
       were working out.” When I said that, she said, “Taeler said you’re a creep. I have
       to get back to work.”

Rowles explained,

       I went to GNC. Usually when Taeler is there, she works by herself. She often
       invites people to come in and talk to her. She was in the back, and she invited me
       to come back there. I said, “I’m not trying to cause an argument, but I want to talk
       to you. You told me you weren’t going to get involved, and Ashlyn just said you
       called me a creep.” Taeler said, “Jeremy, you’re too old for her! You shouldn’t
       have asked her out.”




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             At the time, I was 39. I’m 40 now. I asked, “Did Ashlyn say that?” Taeler
             wouldn’t answer that question. She just kept saying I was too old. I said, “That is
             not your decision to make. That’s Ashlyn’s decision. She didn’t say anything to
             me about me being too old.” She said, “You don’t look 20.” I said, “I wasn’t
             trying to look 20.” She said, “You come off as a creep.” I said, “What do you
             mean? That’s a loaded term.” She said, “The messages you send to people, they
             come off as creepy. They’re way too long. Nobody wants to read that.”

             I asked Taeler, “Did you read the message I sent to Ashlyn? That was like five
             sentences.” She wouldn’t say. I asked, “Did you get involved in Ashlyn’s decision
             when I asked her out?” Taeler wouldn’t answer. She said that other friends of hers
             had told her I sent them messages that were way too long, and that I was a creep
             for doing so. I asked her who those people were, but she wouldn’t tell me. She
             kept calling me a creep, and I said, “Look, I’m starting to get offended.” I was
             starting to feel harassed at that point.

             I had just taken the Title IX training. If someone says something offensive based
             on sexual behavior, protected class, or whatever, it is best to tell the person that
             their behavior is offensive. I told her that I find “creep” to be a very derogatory
             term and that it tends to have the similar effect for men that slut shaming does for
             a woman. That has such a load to it. I said, “I’m warning you, I find you calling
             me a creep offensive.” She said, “How dare you warn me. I’m about to call the
             cops. I’m going to call my manager. You’re threatening me.” I said, “I’m not
             threatening you.” At that point, even though I felt I was in the right, I was worried
             that the cops would take her side if she called.

             Taeler said, “Ashlyn contacted me and asked me about you.” Taeler told me that
             she said, “I know him.” I asked her whether she said anything else. She said,
             “No.” I thought she was lying, but I can’t prove it. She said, “Yeah, I got involved
             because Ashlyn contacted me and asked if I knew you.” I said, “Whatever, just
             stop calling me a creep.” She said, “Just stop sending long messages to people.”

I asked Rowles whether he has been in contact with Balch since then. He said,

             Yeah. Not about dating. I didn’t talk to her for almost an entire year, but we work
             out at the same time a lot. Later in the semester, Taeler and Ashlyn were working
             out together and they came over to me. I would talk to Taeler, and Ashlyn would
             be there. It’s complicated.25

About his interactions with Balch this semester, Rowles explained,

             One of my favorite classes is Functional Fitness. I started going to the Wednesday
             morning Functional Fitness class, and that happened to be the one Ashlyn teaches.
																																																								
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  Upon reviewing this summary, Rowles requested to add the following clarification on February 6, 2017:
“The only message I ever sent Ashlyn was the one asking her out to dinner. I have not sent her any
messages since then.”


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       I didn’t know that. I didn’t even know she was hired by the Rec Center. I went to
       the class. I thought me and Ashlyn had a good working relationship. We
       interacted in the class. She hasn’t given me any indication that she’s
       uncomfortable with me.

       One time, I asked for food advice: “Is there anything I can eat that would help me
       sleep through the night?” She gave me advice, and I followed it. I said “thanks”
       the next week, and she gave me more advice. She wanted to know if what she was
       telling me was helping my sleeping problems. I really enjoy her classes. It has
       been great to see her come out of her reserved shell and become such a great
       instructor. I have a lot of respect for Ashlyn as a fitness professional. She is really
       good. Our interactions since the Facebook message have been purely professional.
       Ashlyn told me, “There wasn’t anything inappropriate about the message. It was
       just too many compliments.”

Next, Rowles focused on his interactions with Turnbull. He stated,

       When this situation happened with Taeler and Ashlyn, I went to Hannah. We had
       a friendship at the time. Hannah also worked at Lucky’s. I contacted her and
       asked for advice. I said, “I feel like Taeler is interfering in my relationships.” I felt
       like it had happened before with Peyton Downs, who used to go to school here.
       She dropped out. We had an “on again, off again” relationship.

       I had met Peyton in 2014 when I hired her as my personal trainer at Wilson’s
       Fitness. We developed a good relationship. You know, we had a lot of
       similarities. I called her “the little white girl version of me,” and she agreed with
       me when I said that. We have had similar life events. Our personalities are
       similar. We are both confident and funny on the outside but insecure and reserved
       and fighting a lot on the inside. We both lost parents when we were young; she
       lost her dad, and I lost my mom.

       Peyton moved to Florida to start a nutritional supplement company after she
       dropped out of school in the fall of 2014. It seemed like I was her only customer.
       She asked me to keep in contact with her. She wanted me to give her updates. I
       was sending long messages to Peyton, and she replied back from time to time. In
       the spring of 2015, Peyton seemed kind of erratic, and I think she was lying about
       things—like where she was living. She shut down her business. That’s how I got
       to know Taeler. They were friends. I met Taeler at the gym. She apologized for
       Peyton. I became friends with Taeler then. Something happened between me and
       Peyton at the beginning of summer 2015, as I was concerned about Peyton’s
       erratic behavior, but Peyton took my concern as me being too nagging, and I think
       Taeler told Peyton to stop contacting me and to block me on Facebook and
       Instagram. Hannah knows Taeler and Peyton too.




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Rowles continued,

       I went to Hannah and asked if I could message her for advice. I went to Hannah
       because she was the only person who knew Ashlyn, Taeler, and Peyton very well;
       she was friends with all of them. I was developing a good relationship with
       Hannah. She said, “Sure.” I sent her a Facebook message explaining my concern
       about Taeler getting involved in my relationships, particularly with Peyton and
       Ashlyn, and convincing them to stop talking to me and blocking me.

       In the message, I also sent a copy of the message I sent Ashlyn—the one asking
       her out to dinner—for Hannah to review for appropriateness, to see if it was
       “creepy” like Taeler said it was. She replied back that it would be better if we talk
       about it in person, and said we should meet at the café in Hy-Vee on Nifong.
       When we met, Hannah said there was nothing wrong with what I had done to
       either Peyton or Ashlyn, and that the message I sent Ashlyn was appropriate. She
       said there was nothing creepy about it.

       She said she didn’t consider Taeler a friend anymore. She said Taeler is mean and
       can’t be trusted. She said I should just avoid Taeler, and don’t let her bother me.
       Hannah and I would talk about other stuff, too, like her boyfriend, my ex-wife,
       our respective majors, and our hometowns. She said I was a really good guy and
       that I was “awesome.”

I asked Rowles when his relationship with Turnbull started to deteriorate. He explained,

       Through the summer, we developed a friendship. She is really happy to talk to,
       like sunshine. I would see her at Lucky's. She would give me motivational advice.
       She asked me to check out in her lane, or she would shut down her lane if she saw
       me in another lane so that she could come over and bag my groceries in the lane I
       was in. She would help me with nutrition advice. She helped convince me to try
       out for TigerX instructor. She thought I would be good at it. I asked her to not tell
       Taeler that I was trying out for TigerX, and she promised me that she would never
       tell Taeler anything about me, and that I need not worry about Taeler affecting my
       hiring for TigerX.

       I felt so grateful for Hannah. I thought she helped me out a lot. I started taking
       two of her cycling classes. At her morning classes, she would complain that she
       forgot to eat. I started to bring fruit for her to eat. I bought her a couple candy bars
       at Lucky's. She would say “thank you” and tell me that she really appreciated it. I
       made it a habit to bring her food to eat. I brought food for the other cycling
       instructor in Hannah’s Wednesday class too. I didn’t want to be rude to her.

       I guess Hannah’s boyfriend saw us interacting on Instagram. Before I asked
       Hannah for advice, I told her boyfriend that I was asking Hannah for advice. I told
       him that it was something personal, but it was something that did not involve me
       trying to start a romantic relationship with Hannah. I told him as a man talking to



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       another man. His name is Ethan. I said, “I’m not trying to take her away.” As time
       progressed, though, I thought Ethan was becoming jealous.

       Hannah never said I was doing anything wrong. In October of 2015, Taeler was
       sitting outside of Hannah’s class. I came out, and Taeler called me over. She was
       looking pitiful. I talked to her, and it seemed like she was trying to be friends with
       me again. Later that night, Taeler started liking my posts on Instagram. I made
       black bean chocolate brownies the week before, and I shared some of them with
       Hannah and her co-instructor in her cycling class. Hannah said I should share the
       recipe because they were so good. That night, I posted a picture of the brownies
       on Instagram. I tagged Hannah in the caption and said that I had shared some with
       her, and she wanted me to give the recipe.

       Taylor liked that post and commented. She said, “Those look really good.” I
       commented back. She had a nickname for Ashlyn: “pumpkin muffins.” I joked
       back and said, “We should trade: I deliver black bean brownies, and you help me
       with pumpkin muffins.” She responded back, saying, “Deal.” We arranged that I
       would make a pan of black bean brownies, and I would deliver them to her at
       GNC. Even though I had proposed the trade as a joke, I understood that by her
       saying “deal” and actually agreeing to brownie delivery, she would in turn keep
       her side of the deal by at least correcting the damage she had done by calling me a
       creep to Ashlyn. However, when I made the delivery, Taeler said that she
       wouldn’t get involved with Ashlyn for me.

Rowles continued,

       Taeler said, “I guess I’ll be single for forever. I thought you made [the brownies]
       for me.” I said, “No, I was hoping you’d help me with Ashlyn.” Even still, Taeler
       and I continued talking. I felt that Taeler was trying to bury the hatchet and
       wanted us to be friendly again. I left the brownies at GNC. Taeler invited Hannah
       to come to GNC. She told me to leave so she could do her homework, but she
       invited Hannah over. Hannah started acting weird around me then.

       The next week, I was in Hannah’s class. I was the only one who showed up for
       class that day so it was cancelled; cycling class needs at least two participants, or
       else the class is cancelled. We were waiting outside for someone else to come.
       Taeler and Ashlyn walked downstairs about that time. Hannah waved, and they
       waved back. She said, “Me and Taeler are friends again.” I told Hannah that I
       trust her, so if she trusts Taeler, then I was going to start trusting Taeler too.

       I told Hannah that I had delivered brownies to Taeler the weekend before, and
       Hannah said, “I know. I ate some of them.” Afterwards, I asked if she and Ethan
       were doing okay. She said, “I dumped him, but I’m not looking to date anybody.”
       I wasn’t going to go there, but she kept telling me that she didn’t want to date
       anybody. It was like she was anticipating me asking her out. She said she was
       tired of Ethan being “all up under her.”



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       Hannah said again, “I’m not dating anybody.” We left. We both went to work out.
       Then things started going downhill. Hannah started acting negative toward me.
       Later that week, she stopped following me on Instagram. The week after that, she
       defriended me on Facebook. I texted her and asked if I did something wrong. She
       said, “Yeah, I didn’t appreciate you thinking that just because me and Ethan broke
       up that we could be more. You think that just because someone is nice, they want
       to be with you.” I didn’t know where that was coming from. I replied back, telling
       her that I didn’t say that we could be more. I said, “I was asking because I was
       concerned. I was asking to see if you were okay. I didn’t give that inclination at
       all.” She replied back that she could no longer “defend me” from what people
       were saying about me and that I had let her down. I replied that I didn’t let her
       down and that I wasn’t trying to get with her. I also asked who were the people
       that she had to defend me from. She didn’t reply back.

Rowles stated,

       The next week, I saw Hannah, Rose, and Taeler. We were at opposite ends of the
       walkway at the Rec Center. They all huddled together and decided to ignore me.
       It was like a bullying tactic. They refused to look in my direction or acknowledge
       my presence. They walked past and ignored me. I asked Hannah to talk to me, and
       she refused to acknowledge me. It really hurt. Also, in her cycling classes,
       Hannah would not acknowledge me. She would not look at me or talk to me. I
       stopped going to her classes soon afterwards.

       A month later, I bought groceries from Lucky’s and went through Hannah’s
       checkout lane. She barely spoke to me and got really upset when I asked her to
       put my bottle of iced tea in a bag. Later that afternoon, I was completing my
       application paperwork to audition to be a TigerX instructor. I got really emotional
       because I thought about how I wouldn’t be auditioning at all if it wasn’t for
       Hannah, and how our relationship had deteriorated to the point where she couldn’t
       bag my groceries without getting upset with me.

       I reached out to Hannah via text. I said, “I feel bad about the bad blood between
       us. I don’t know how it got that way. I want to understand.” She said, “There’s
       nothing bad between us.” She said, "Everything is cool, we’re okay, but you need
       to watch what you say to people, especially other TigerX instructors.” I didn’t
       know what she was talking about.

       Around that time, Taeler posted things on social media that were offensive—
       Things about men being fuck boys. I called her out. We had an argument on
       Instagram. I assume Taeler was the “other TigerX instructor” who Hannah was
       saying that I need to watch what I say to, as she was the only instructor that I was
       interacting with like that. I started going to Hannah’s classes again and bringing
       Hannah food. About the last week of class in December, Hannah defriended me
       again. I had a panic attack. I emotionally vomited all over her in a text. I



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       apologized to her in a follow-up text, and Hannah replied back that she was not
       upset about it, and she accepted my apology.

       I was at the gym the next day. I was really embarrassed about the text. Hannah
       saw me and smiled, and she signaled to me that she wanted me to come to her
       class. I went to class. It seemed like everything was okay. It was awkward.
       Christmas break started. I think she went out of town. Around Christmas, I started
       talking to another girl. Apparently, that girl and Hannah are also close. She is a
       triathlete, and Hannah was thinking about doing that. It seemed like Hannah was
       monitoring my interactions with her friend. I also asked an employee Lucky’s to
       do an informal interview for my dissertation research, where I would be asking
       the employee personal questions about her family. I also felt like Hannah was
       monitoring my interactions with the employee, leading the employee to start
       questioning my motives in asking her personal questions.

       In January 2016, I texted Hannah asking if I could briefly talk to her in person so
       that I could discuss with her my concerns about her monitoring my interactions
       with women she knows. She replied back asking me to not speak to her anymore.
       I replied back that I would agree to not speak to her, and that she should not
       gossip about me to anymore.

       I have not spoken to Hannah since then, either online or in person, except for one
       time in September 2016 when she approached me in the weight room to ask me if
       she could use the weight that I was lifting with.

Regarding his interactions with Nash, Rowles explained,

       I met her in the fall of 2014. I was fired from Wilson’s. I started working out at
       the Rec. I wasn’t sure about group fitness at the Rec. They classes are different
       there than at Wilson’s. I went to Insanity. She taught that, along with another
       instructor named Jackie Hermanson

       I became a regular in the classes. Rose was really motivating. She said, “You did
       a good job.” I was out of shape. Maybe a week or so later, I was walking through
       white campus toward the Rec. I was near the archway between Waters Hall and
       Whitten Hall, the one that leads to the parking lot behind Memorial Union. Rose
       was near the patio of Memorial Union. She said, “Hey!” from really far away. I
       didn’t know who she was calling to at first because she was so far away.
       Eventually, I realized she was calling at me. I walked over to her, and we started
       talking We talked for half an hour. It was a really personal conversation. In that
       conversation, I was telling her that I used to be an instructor. She said I should try
       being an instructor at the Rec. I said, “I need to get back in shape.” She looked
       me up and down and said, “You’re looking pretty good to me.” I wondered, “Did
       she just flirt with me?”




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       She gave me a couple other compliments, but that’s the one I remember the most.
       She had called at me from half a football field away. I asked if I could be her
       Facebook friend to keep in touch. She said, “Yeah,” and gave me her last name.
       The Facebook message I sent in January 2015 was after this in-person
       conversation. She didn’t respond back so I guessed she was just being friendly
       when we talked before. I was just testing the waters.

       I interacted with Rose after that. I contacted her in May 2015. She also worked
       part-time at 9 Round. I sent another message then about 9 Round. She told me to
       give it a try, so I did. I started at the beginning of May or June. She wasn’t there;
       she was in Chicago. She came back the first or second week of July. About the
       June 2015 message, she posted this interesting article on Facebook. It really got
       me thinking. I can’t remember what the article was about. It was related to my
       anthropology studies. There was nothing romantic or sexual at all in that message;
       it was just to respond to the article she posted on Facebook because it was
       interesting. She didn’t respond.

Upon reviewing this summary, Rowles requested to add the following clarification on
February 6, 2017:

       I have not messaged Rose since the summer of 2015. I also did not interact with
       her in person outside of her fitness classes at all until she approached me at
       Lakota Coffee in July 2016 to ask me how I was doing.

       I do believe that Rose is involved with Taeler for several reasons. One, Rose
       constantly referred to Taeler as her “role model.” She idolized Taeler. Two, when
       Taeler said to me at GNC that I was a creep for sending her friends long Facebook
       messages, Rose was one of the two friends of Taeler that I had messaged at that
       time (Peyton Downs was the other one). Three, Rose participated in the bullying
       tactic of ignoring me with Hannah and Taeler. And finally, about the time when
       Hannah said she could no longer defend me from people talking about me (and I
       assume that person was Taeler), Rose blocked me on Facebook, even though it
       had been almost a year since I had last interacted with Rose on Facebook.

On December 14, 2016, I spoke with Rowles again via telephone. Regarding the
allegation that he positioned himself on the same side of the room as Breaux during
classes, so that he could be in front of her instead of other instructors, he stated,

       That’s absolutely false. I’ll explain. There are three class that I attended with her
       as an instructor: Tiger Tease, Dance Fitness, and Contemporary Life Works. With
       Tiger Tease and Dance Fitness, I treated them like all the other fitness classes I go
       to. One of the things that I have a habit of doing, even when I was at Wilson’s, is
       that I select a side of the room for that class, and then that’s where I position
       myself every time. I am always in the front, no matter which class.




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             For Dance Fitness, I was always center right, and I’ve been in that position since
             fall 2015. Not extreme right but halfway between center and right, facing the front
             mirror. On my right, as I face forward toward the instructors.

             For Tiger Tease, I would set up pretty much to the front left of the class. I was
             usually the one farthest to the left. I would put my water bottle and towel in front
             of me at the mirror. I was far left, still in the front. Regardless of where the
             instructors were at, those were my positions. Even if Annalise was or wasn’t
             there, I was in that position. People get kind of territorial of their positions. I
             would have to…not physically nudge people…but take up space so people know
             it’s my spot. Other people do that too.

             In Contemporary, it was different because we moved around a lot in that class.
             It’s not a traditional workout class, but when we would go through dances, we
             would do other exercises and go around the room. The second half of
             Contemporary class was taught like a traditional class, and we would be lined up
             in our spots. It was hard to have a certain spot, but I will say I remember that at all
             the Contemporary classes, I was not in front of Annalise. It just happened that
             way.

             For the kickoff class, I was to the far left, and she was at the far to the right—so
             far that I didn’t recognize that she was the backup instructor. Then, in the
             Lifeworks free day class, I was in the back right because it was so packed that I
             couldn’t get a front spot; she was to the left. The next class, I was to the left in the
             front, and she was to the right. In the class after that, I was front right, and she
             was left. In the class after that, I was right, and she was left. Then, in the next
             class, I was far left, and she was to the right. She was left, I was right. Then I
             started noticing things were getting weird. In the next class, I made sure I went to
             the other side, and that was the last class I went to with her (Contemporary class).
             I was going to go to the right, but we had the conversation about asking for
             private dance instructions. She was to the right so I moved to the other side.26


																																																								
26
     Upon reviewing this summary, Rowles requested to add the following clarification on February 6, 2017:

             I’m able to remember the positioning of the Contemporary dance classes because there were so
             few of them, and in each one, something happened that makes me able to visually remember
             where we were in each class. For example, in the first Contemporary class after the Lifeworks
             Free Day, I remember Annalise was the lead instructor that day, and she taught a dance routine to
             “Trouble” by Coldplay. It was such an emotional dance that it affected me deeply and almost had
             me crying. I can clearly remember the emotions that day, and it helps me visualize where we were
             all positioned in the class.

             The next class was the class where I injured myself trying to do a leap. I can remember where I
             turned to for help when I messed up trying that leap, and that helps me remember our positioning.
             And so on. Again, it just so happened, by random chance, that Annalise’s and my positioning were
             opposite of each other for each class for all the classes except the last one I attended. The last one I
             intentionally moved to the opposite side.


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I asked Rowles if it was possible that Breaux was deliberately avoiding him because I
thought it seemed unusual that so often they would not be on the same side of the room.
He responded,

       No, she wasn’t avoiding me. There were times in other classes where she was in
       front of me the whole time. I made a concerted effort to honor that promise I
       made to her. I asked her out, and she did not want to do it, so I promised to be
       professional. I made sure that I did not do things like that—leer at her and act in a
       way that was unprofessional. I was very aware in Tiger Tease especially because
       the moves are very sexual. I monitored my positioning to make sure there was
       nothing unprofessional going on.

       There was one class where I was to the left, and Annalise started on the right.
       Usually the instructor who teaches choreography is on the right because that’s
       where the music controls are. Annalise stepped in front of me to continue teaching
       the moves. She came to the left. She was just a couple feet from the other
       instructor.

       She was bent over in front of me with her rear facing me. It was a very sexual
       move. I stepped to the right so I didn’t look directly at her rear end while she was
       bent over. I tried to make an effort to avoid that situation.

       She never gave me a suggestion that this was inappropriate or she was
       uncomfortable. There were five or six times in Tiger Tease where I stepped aside
       when she was directly in front of me. All of this was this happened this semester.

Moments after our phone call ended, Rowles called back. He said,

       Another quick thought. I want to be honest. You asked if there was a time she
       moved away from me based on where I was at. I think I mentioned this before.
       The same class period where she ran to the bathroom, she did switch with the
       instructor. Now that I’m thinking about it, when I intentionally moved away from
       her was the next class after that. There was one time she switched, that was after
       the private dance lesson discussion. When she switched, I didn’t move my
       position at all. I focused on the other instructor, Madeline Dingman, instead.


Summary of Information from Witnesses and Others:

Bailey Baucum

I spoke with Baucum, a MizzouRec instructor, via telephone on November 17, 2016.
Regarding her interactions with Rowles, she explained,

       He has come to my classes. I teach three of them, and he comes consistently to all
       three of them. I have only heard stories of others feeling uncomfortable around



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       him; I have not felt uncomfortable myself, and I haven’t witnessed any incidents
       with others.

       He is very friendly and conversational. It never made me feel uncomfortable. He
       was one of our more talkative and engaged members. He made an effort to talk to
       us before and after classes.

I asked Baucum to describe concerns expressed by other staff members. She replied,

       I know they were having problems with him sending direct messages on
       Facebook. For one of our classes, we send an email to the class members. Jeremy
       has responded to that email before with suggestions for the class. The only reason
       I eventually started to feel uncomfortable was because I had heard stories from
       others. Otherwise, it was professional and looked fine to me.

       He had given Annalise notes with a coupon to the place she works. He reached
       out to her on social media, but she asked him to stop. I heard that there is another
       instructor who has had problems. Her name is Rose Nash, but I don’t know the
       details.

When asked about her observances of Rowles’ behavior during class, Baucum said,
“Annalise felt uncomfortable that he was watching her inappropriately. I tried to watch
for that after she mentioned it, but I didn’t see it. He comes to Tiger Tease, which
involves more sexual movements than other classes. To be honest, I haven’t seen it.”

Baucum explained that she has worked as an instructor since November 2015. I asked
when she first met Rowles. She explained,

       I remember taking classes with him before I started working there. He was very
       loud and outspoken in class. Now, he comes to my Life Works class which is a
       smaller group of people, so I’ve gotten to talk to him. He comments about the
       choreography. He hasn’t asked any personal questions or said anything
       inappropriate.

       He wanted to work as an instructor. He was disappointed when he didn’t get it.
       He said that he doesn’t know why he didn’t get an interview. Otherwise, he only
       talks about what we do in class. Annalise has mentioned him lingering after class.
       I have seen him do that with her. She’ll walk away and try to avoid him. She will
       walk away, and the other instructors will wait and let people out. He eventually
       leaves.

I asked Baucum if she knows why Rowles seems to takes a special interest in the
instructors, especially Breaux. She replied,

       I don’t know. I would be uncomfortable if he did that to me—if he waited for me
       and always wanted to talk outside of class. His intentions haven’t seemed to be in



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       a bad place to me though. I can only base this on what I have heard. I like talking
       to people and I’m comfortable talking to people I don’t know. But with the stories
       of things I’ve heard, I would be concerned if it went farther than our interactions
       have gone.

I asked Baucum if she spoke with Rowles about private dance lessons. She said,

       He did stop after class and ask about that. He asked if he could recommend an
       instructor. He didn’t say anything about who he would ask for, but Annalise later
       approached me and said that he asked for her specifically. We told him that he
       could request someone if he wanted to, but it’s mostly randomized. It depends on
       the instructor who responds when the requests are sent out. This happened around
       the time that there were stories going around about Rowles’ creepy interactions
       with the instructors.


Madeline Dingman

I met with Dingman, a MizzouRec instructor, on November 16, 2016, in my office. She
explained, “I was hired last November. In order to be hired, there is an eight-week
training course. It doesn’t guarantee that you’ll be hired. Then there is an exam and you
can apply to be interviewed for the open positions.” Dingman continued,

       Jeremy did the training course. He is a lot older than the rest of us. I didn’t have
       any problems with him personally. He didn’t get the job. I found out later that part
       of the reason why he didn’t get the job was that he made people feel
       uncomfortable, and he had advanced toward someone who has already graduated.

I asked Dingman to describe her observations of interactions between Rowles and
Breaux. She said,

       He has come to some classes this semester. I teach Tiger Tease, one section with
       Annalise and one without. He comes to both, but he misses some Thursday
       sessions. There were some times when we were teaching together, and he would
       not do the moves when she did them. Instead, he would watch her. He would wait
       around after class, and he would see her at work at Kaldi’s.

       There were times where he tried to hand her letters after class. It was to the point
       where he would wait, and she would run to the bathroom to avoid a confrontation.
       I knew she was uncomfortable, so I would be on his side of the room so she didn’t
       have to be.

Dingman stated that she teaches six classes per week. She told me that she has talked to
Breaux about her concerns related to Rowles and her desire to avoid him whenever
possible. I asked Dingman if Breaux seemed to feel threatened by Rowles. She said, “She




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was more frustrated [than threatened] because he wasn’t comprehending what she was
saying to him. He wasn’t registering that what he was doing was wrong.”

I asked Dingman if she felt uncomfortable around Rowles herself. She said,

       There were no separate issues with me. I was most uncomfortable with him
       watching Annalise. He is really enthusiastic with the choreography. They are sexy
       and sassy moves. Some people do half of it, but he does all the moves and doesn’t
       hold back.

       I heard Rose had issues with him too. I know she has felt awkward, but I haven’t
       talked to her about it. When we were going through the training sessions, Hannah
       [Turnbull] said he made her feel uncomfortable.

Regarding Rowles’ behaviors during class, Dingman added, “He would stare intensely at
Annalise. He would try to get in the middle of the room, but we would make people
spread out. He was usually positioned toward the front of the room.” Dingman explained
that there were usually between four and twelve people who attended each class. She said
the first classes she taught with Breaux were this semester, and the incidents she
described above all occurred during Tiger Tease classes in the fall 2016 semester.


Kasey Long

I met with Long, a MizzouRec instructor, on November 17, 2016, in my office. She
explained that she has worked at the Rec for two years, and she teaches a lot of classes
with Breaux. Long also stated that she knew Rowles before she was hired to be an
instructor. She described,

       He was friendly and didn’t say anything strange. When I started teaching Tiger
       Tease with Annalise, he would come to those classes. Annalise told me they were
       messaging each other on Facebook, which she thought was fine because she
       thought he was gay.

       Jeremy started calling Annalise by the nickname “Silky.” He is also in his upper
       30’s. He’s not young. He would come to Tiger Tease and stare at her. That
       happened to another instructor two semesters before; it was Rose Nash.
       Apparently, he backed off when she told him she wasn’t interested.

       About three or four weeks ago, we did evaluations. I haven’t taught classes with
       Annalise this semester, but I was evaluating her. He came up to her at the end of
       class, and he asked if she got his email. She said, “I did get it, but that’s not up to
       me. It’s up to my boss.” He asked if he could suggest instructors to work with
       during private lessons. He had emailed Annalise about taking private lessons with
       her. He told her that she could “take him to where he needs to be, physically and




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       emotionally.” He sent her a long letter. It was more of the same things, over and
       over again. I remember being disturbed when I read it.

       Not many guys come to the dance classes. He was very enthusiastic, which we
       like. I didn’t know about Rose until recently.

Regarding Rowles’ request for private dance lessons, Long recalled that Breaux “was
trying to be professional in her response to him and not say that she didn’t want to teach
him because he was creeping her out.” She added, “He wasn’t upset about not being able
to do the classes, but he was put off by it. Clearly, he only wanted to do it if Annalise was
the instructor.”

I asked Long to further describe the interactions between Rowles and Breaux that she
personally observed. She said,

       When I was evaluating Annalise, he said afterwards, “All A’s, right? One hundred
       percent because she is great, right?” In classes that I was teaching with Annalise,
       he would say, “Oh yeah!” or other things when we did sexual moves. A lot of
       people in class do that, but after I knew this was going on with Annalise outside
       of class, I thought it was strange. I was wondering if he was like that in all of the
       classes, but I don’t know.

       Last semester, in the spring of 2016, I co-taught with Annalise when Jeremy was
       in class. It’s hard because Annalise is leading the dance so everyone is looking at
       her, not just him.

I asked Long to describe the concerns Breaux expressed to her about Rowles. She replied,

       She said, “It makes me really uncomfortable.” She told me that he stares at her
       and stuff. It was obvious that it was unwanted. The way the letter seemed…was
       that he was delusional to think that something more was going on between them.
       He thought she wanted him, and he was pushing her away and he was apologizing
       for that. But clearly, she didn’t want anything to do with him.

Long stated that she was not aware of problems between Rowles and anyone else. When
asked at the end of the meeting if there was any additional information she wanted to add
to her statement, Long said,

       I’m upset, and I think it needs to stop. It can be uncomfortable to be up there in
       front of everyone, but it’s not fun when he makes advances and calls someone
       “Silky” all the time. I’m very hostile toward him now. He doesn’t say “hi” to me
       anymore, and I don’t look at him. Rose was not very happy when she found out
       that he was bothering Annalise. She has zero tolerance.

I asked Long if she remembered Rowles complimenting her and then thanking him for
doing so, as reported by Rowles. She said, “No, I don’t remember that, but I have a bad



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memory. When I taught Dance Fitness, he would say “that’s fun” or ask me how to do
something. That’s all I remember.”


Danielle Zoellner

I met with Zoellner, a MizzouRec instructor, on November 17, 2016, in my office. She
explained,

       I have known of Rowles since last fall [2015]. He took our instructor training
       course and wanted to be an instructor, but he wasn’t hired. I know he started
       messaging another instructor, Rose Nash, on Facebook, and he went to her
       classes. We are usually friendly with the regulars, but his interactions went farther
       than normal. Rose reached out to me and told our boss. By the end of it, I don’t
       think he would have gotten the job anyway, but Rose told Pangku that she
       wouldn’t be comfortable with him working there.

I asked Zoellner to describe interactions she observed between Rowles and Breaux.
Zoellner responded,

       He comes to the Life Works Contemporary class that I teach with Annalise. Last
       semester, it was brought up to me that he went to a lot of her classes. She saw him
       at Kaldi’s too. He reached out to her in a way that was showing some romantic
       interest. I never saw these interactions, but at the beginning of the semester,
       Annalise told me that he was coming to all of her classes. He told her that one of
       her Zumba classes, he couldn’t go to. She started to talk to me more about it, so I
       was keeping an eye on him.

       I’ve worked at the Rec for three years. We have people who come to multiple
       classes, but never someone who makes a point to go to all the classes taught by a
       particular person. When we teach together, Annalise would be on the left and I
       would be on the right. He would always go in front of her. He would look at her
       in a different way, and he would linger after class to see if he could talk to her. He
       left notes for her. I think because I knew of it, it made me notice it more. I think I
       would have noticed eventually. Annalise didn’t feel comfortable teaching. After
       he gave her that letter, he stopped coming to class.

Zoellner explained,

       We want to build consistency in Life Works with the people who attend so we
       send an email to the members. We want people to keep coming back. Once things
       with Jeremy started, I took over the emails because I didn’t want to give him a
       chance to communicate with Annalise [by replying to her emails].

       Our boss, Pangku, is copied on all emails we send to the classes. One week,
       Jeremy took Pangku off of the email thread and responded to something I said via



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       email, and he said something to Annalise, specifically, about a song for the next
       week. She told him she was uncomfortable. He purposefully took out our
       Coordinator, and he obviously didn’t get it.

       I don’t think he understands when people say, “No.” I think he needs help. It’s not
       friendly anymore. It’s more than that. It’s intimidating. I don’t think he gets that.
       He gave her a coupon from Kaldi’s. He might see that as nothing, but to her and
       me, it looks like a reminder that he knows where she works. I don’t think he’s
       malicious about it, but multiple instructors have been uncomfortable.

Zoellner explained further,

       I co-taught with Annalise this semester and last semester. He came to some
       classes last semester. At some point during that semester, she made it clear to him
       that she was the instructor, and he was in the class. He backed off and then came
       back in full force.

I asked Zoellner if she observed Rowles staring at Breaux. She said,

       He always knew where she was. He would try to stand closer to her. There was a
       different intensity with the way he observed me, but I don’t really pay attention to
       how he looks at me. He would linger for more time than other members do after
       class. He was consistently the last person to leave. He would stand around and, if
       there was an opportunity, he would go up and see Annalise. He would include me
       sometimes, but his goal was her.

       When she told me that she was uncomfortable, I started teaching on the other side
       of the classroom. One time, he went and got a drink of water and then shifted
       toward the middle and closer to her when he came back in the room.

I asked Zoellner if she witnessed Breaux avoiding Rowles after class. She replied,

       She especially did that with the classes she taught with Maddie. She would leave
       right after class. She would go outside or down the hall, saying she had to go to
       the bathroom or something. One time, she pretended to clean something away
       from the door. He waited, and I said, “Thanks.” Then he walked out. A lot of
       people would pick up on those cues, but I don’t think he was.

When asked to describe Rowles’ interactions with other people in class, she said,

       He would talk to other members, and he was super friendly. I feel like he’s
       someone who looks for people and maybe misunderstands boundaries. When I
       talked to Pangku on Tuesday, we talked about the idea of friend zones. He thinks,
       “Maybe if I persuade her enough and stick around, then she’ll realize she’s into
       me.” She gave me the impression that someone else was uncomfortable with him
       too, but she didn’t give me the details.



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I asked Zoellner to clarify what she meant when she described Rowles as “friendly.” She
stated,

       He is very receptive to giving feedback. He’ll high five members, and he is
       actively giving feedback to instructors. We encourage that in Zumba and dance
       classes, but not as much in Life Works. He would stop me at the Rec and ask how
       my knee was doing. I didn’t think it was weird. I think when he likes someone,
       it’s amplified to the point that he might not realize he’s being too much.

Regarding Rowles’ interactions with Nash, Zoellner stated, “He communicated with her
on Facebook and went to her classes. Rose is sweet. She tried to be nice to him, but she
had to say something about it crossing the line.” I asked if she was aware of anyone else
who had concerns about Rowles. Zoellner responded, “It sounded like there might have
been others, based on what I have been hearing. I just don’t know who. In our programs,
it has been the dance and Zumba instructors because he consistently does to those
classes.”


Ashlyn Balch

I attempted to interview Balch as a potential complainant in this matter, but she did not
respond to my attempts to contact her. I called and left voicemails on October 21 and
November 17; I emailed her on October 17, October 26, and November 22. To date,
Balch has not expressed an interest in participating in this investigation.

Rose Nash

I attempted to interview Nash as a potential complainant in this matter, but she did not
respond to my attempts to contact her. I called and left voicemails on October 21 and
November 17; I emailed her on October 17, October 26, and November 22. To date, Nash
has not expressed an interest in participating in this investigation.

Hannah Turnbull

I attempted to interview Turnbull but was unable to do so. I spoke to her briefly via
telephone on October 21. However, at that time, she was heading into work and
unavailable to speak with me at length. She stated that she would be available for an
interview on October 24 at 4:15pm. When I called at the scheduled time, she did not
answer. I left a voicemail, requesting that she return my call. I left another voicemail on
November 17. I emailed Turnbull on October 17, October 21, October 24, and November
22. She did not respond to any of these attempts to contact her after our initial
conversation.




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Taeler De Haes

 I attempted to interview De Haes but was unable to do so. I emailed her on November
14, and she responded the same day. We planned a phone interview for November 15, but
she did not answer when I called at the scheduled time. Thereafter, I sent her three emails
(on November 16, November 22, and January 13). In the last email, I notified her that the
investigation would be closing soon, and I provided January 17 as the deadline for
submitting any statements to be considered. She did not respond to any of these attempts
to contact her after our initial email exchange.

Peyton Downs

I attempted to interview Downs, but she did not respond to my attempts to contact her. I
emailed on November 14 and November 22. To date, she has not expressed an interest in
participating in this investigation.

Jacqueline Hermanson

I attempted to interview Hermanson as a witness who was proposed by Rowles, but she
did not respond to my attempts to contact her. I called and left a voicemail on January 17,
and I emailed her on November 14 and January 13. To date, Hermanson has not
expressed an interest in participating in this investigation.


Credibility Assessment:

The information provided in the interview summaries was obtained by an interview with
the stated person that was free of prompting, coaching or behavior that could, in any way,
compromise the validity of the statements made. At all times, the parties and witnesses
were interviewed in a manner free of any coercion or undue intimidation. All parties and
witnesses were interviewed in-person in my office or via telephone. The statements
offered by all parties and witnesses during interviews were in their own words and of
their own accord. Each party and witness in this investigation reviewed their interview
summary presented within this report, and these individuals affirmed that the details
contained within their summary was accurate to the best of their knowledge.


Conclusion:

At all times, this investigation was conducted in accordance with the relevant University
of Missouri System Collected Rules and Regulations, specifically Chapter 200.025.

Report prepared by:


Amber Lammers
Equity Consultant and Investigator, Office for Civil Rights & Title IX


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Exhibit 14
                             UNIVERSITY	of	MISSOURI
                                       OFFICE FOR CIVIL RIGHTS & TITLE IX


     December 13, 2016

     VIA ELECTRONIC MAIL1
     Jeremy Rowles


     RE: NOTICE OF CHARGES

     Dear Mr. Rowles:

           This letter is to notify you of the status of the investigation regarding Annalise Breaux’s
     complaint alleging that you violated the University’s Student Standard of Conduct.

            Ms. Breaux alleges that, on or about March 2015 to October 2016, you engaged in the
     following behaviors which impacted her:

         •    Starting on March 2, 2015, you sent multiple Facebook messages in a private thread to
              Ms. Breaux, including comments about her dance choreography and skills and the way
              her body moved. In several messages, you call her “Silky,” in reference to her body and
              movements. Ms. Breaux stated that the increasing sexual/romantic nature of the messages
              was unwanted.
         •    On April 12, 2015, Ms. Breaux reported that you waited after class and “cornered” her to
              ask her out. After she declined to go on a date with you, you continued to message her
              “incessantly” until April 18 when she told you that you needed to stop messaging her,
              and she specifically expressed to you that she wanted to be professional in her
              interactions with you. Ms. Breaux reported that your advances were unwelcome, and they
              interfered with her ability to feel safe and comfortable in the Rec Center, which is her
              workplace.
         •    During the Fall 2016 semester, Ms. Breaux reported that you attended all four weekly
              TigerX classes she teaches. She reported that you “lingered” after class to talk to her
              multiple times. Ms. Breaux explained that she took extensive measures to avoid contact
              with you after classes, such as leaving the room quickly and sometimes making up
              excuses such as going to the restroom in order to do so, standing on the other side of the
              room from the door as students left class, and asking her coworkers to step in and talk
              with you instead.
         •    Additionally, Ms. Breaux alleges that on various occasions this semester you gave her
              many high fives; grabbed her hand in an “intimate” way before, during, and after classes;
              and stared at her intensely for the “entirety” of classes. She characterized the way you
              stared at her as more intense and personal than the way you looked at other instructors

     1
      On November 11, 2016, you signed an agreement stating that all correspondence from the Office for Civil Rights
     & Title IX, which are typically required to be physically mailed, would be delivered to your University email
     address, including the Notice of Charges. Therefore, this document will only be sent via email.


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             Case   Jesse Hall Columbia, MORowles
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        who led classes. Further, she reported that you made a purposeful effort to stand in front
        of her during class, rather than in front of the other instructors, so that you could more
        easily look at her. Ms. Breaux reported that on at least a few occasions she asked the
        second instructor of a particular class to switch sides so that she could put more space
        between you and her because she felt uncomfortable.
   •    On October 3, 2016, you emailed Ms. Breaux insisting on taking private lessons with her.
        You reportedly complained to her via email and “confronted” her after class, stating that
        ZouLife would not allow you to sign up for private lessons with her. She interpreted your
        tone as frustrated, and she reported that she felt intimidated and confused by your
        persistence.
   •    On October 7, 2016, you reportedly gave one of Ms. Breaux’s coworkers a note to give
        her after you were unable to talk directly to Ms. Breaux after class. The note contained
        song lyrics and a free drink token to Kaldi’s, which is another location where Ms. Breaux
        works.
   •    On October 14, 2016, Ms. Breaux alleges that you stayed after class and handed her a
        three-page typed letter, which she did not want to take from you. However, Ms. Breaux
        eventually took the letter, which contained apologies and a “confession” of your love for
        her. She reported that your romantic sentiments were unwanted and persistent even after
        she asked you to stop communicating with her in that way.

        Ms. Breaux stated that the accumulation of these incidents made her feel uncomfortable
and interfered with her ability to focus on work at the Rec Center. In addition, the Office for
Civil Rights & Title IX received reports about your interactions of a similar nature with multiple
other female Rec Center employees, including frequent, unwanted Facebook and text messages
sent to AB, RN, and HT. You discussed these reports during your meeting with Amber Lammers
as well.

       You are being charged with potentially violating the University’s Student Standard of
Conduct as set forth below. This letter describes the process for resolving these charges (either
Informal or Formal Resolution) and informs you of the range of sanctions that are possible if you
are found responsible for violating University policy.

       The investigation to date suggests that such behavior may constitute violations of the
following subsections of Chapter 200.010(C) of the Collected Rules and Regulations (CRR) of
the University of Missouri:
                                                         …
        7.   Violation of the University’s Sex Discrimination, Sexual Harassment and Sexual Misconduct in
             Education/Employment Policy in Section 600.020 of the Collected Rules and Regulations. These
             violations include:
                                                         …
                  b. Sexual Harassment. Sexual harassment is defined as:
                           1) Unwelcome sexual advances or requests for sexual activity by a person or persons in a
                           position of power or authority to another person, or
                           2) Other unwelcome verbal or physical conduct of a sexual nature by a person to another
                           person, when:




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                                  a) Submission to or rejection of such conduct is used explicitly or implicitly as a
                                  condition for academic or employment decisions; or
                                  b) Such conduct creates a hostile environment by being sufficiently severe or
                                  pervasive and objectively offensive that it interferes with, limits or denies the
                                  ability of an individual to participate in or benefit from educational programs or
                                  activities or employment access, benefits or opportunities.
                                                          …
                d.   Stalking on the Basis of Sex. Stalking on the basis of sex is following or engaging in a
                     course of conduct on the basis of sex with no legitimate purpose that puts another person
                     reasonably in fear for his or her safety or would cause a reasonable person under the
                     circumstances to be frightened, intimidated or emotionally distressed.
                                                          …

       The following is a brief description of the Equity Resolution Process, which is the
procedure that will be followed by the University to address these charges.2 The Equity
Resolution Process sets forth two primary methods of resolving charges against students—the
Informal Resolution Process or the Formal Resolution Process. Conflict Resolution is utilized in
some instances, but not this case.

        The Informal Resolution Process will be used if, and only if, both parties (you and Ms.
Breaux) agree to this form of resolution. In the Informal Process, I would decide whether you are
responsible for violating the University’s policies after reading a full report written by the
Investigator (Amber Lammers) detailing the facts learned during an impartial investigation. After
a determination of responsibility has been made, I would inform the parties of the decision.

        Another option is the Formal Resolution Process. In the Formal Resolution Process, an
Equity Resolution Hearing Panel (composed of three staff /administrators) would assemble at a
formal hearing. During this hearing, the Investigator would serve as the main witness and the
panel would hear a report of the investigation from the Investigator. Both you and Ms. Breaux
may serve as witnesses and may also call people to serve as witnesses at the discretion of the
Hearing Panel Chair. The Hearing Panel Chair may ask questions of all the witnesses and both
complainant and respondent can question each other by directing their questions through the
Hearing Panel Chair. The Hearing Panelists would make a finding of responsibility for the
charged policy violation and prepare a written report detailing the findings, how each member
voted, and information cited by the panel in support of its determination.
	
        If a student is found responsible for violating the Student Standard of Conduct, sanctions
can range from a written warning; probation; loss of privileges; restitution; discretionary
sanctions such as work assignments, service to the university, or completion of educational
programs or counseling; resident hall suspension or expulsion; campus suspension; University
dismissal; University suspension; withdrawal of recognition for University organizations; or
University expulsion.



2
 For a complete description of the Equity Resolution Process, go to:
http://www.umsystem.edu/ums/rules/collected_rules/programs/ch200/200.025_equity_resolution_process_for_resol
ving_complaints_of_harassment. CRR 200.025: Equity Resolution Process for Resolving Complaints of
Harassment, Sexual Misconduct, and other Forms of Discrimination against a Student or Student Organization.


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                                                                                                       4   	
       Please inform me and Investigator Amber Lammers of your choice of resolution process
(Informal or Formal Resolution) within three (3) business days of receipt of this letter
(December 16).

       A copy of the Standard of Conduct (CRR 200.010) and procedures governing the Equity
Resolution Process (CRR 200.025) are enclosed for your convenience. You may have an advisor
or counselor present during all meetings with the Office for Civil Rights & Title IX and at any
hearings. If you choose to have an advisor, it is your responsibility to ensure that he/she attends
such proceedings.

        Retaliation against a person for making a report or for filing, testifying, assisting, or
participating in any investigation is strictly prohibited. This includes, but is not limited to, any
hostile actions such as verbal or visible threats to the wellbeing of an individual, any threat to
spread false information about a person, or any such action that would deter reasonable people
from pursuing their rights. Retaliation is a separate violation of the University’s policies.

       Should you have any questions about this letter or the ongoing investigation, please
contact me or Ms. Lammers.


                                       Sincerely,




                                       Ellen Eardley
                                       Assistant Vice Chancellor for Civil Rights & Title IX
                                       Title IX Administrator

Enclosures




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Exhibit 15                                       Friday,	December	16,	2016	at	8:55:04	AM	Central	Standard	Time

   Subject: Re:	Inves)ga)on	Submi2ed	for	Review
   Date: Friday,	December	16,	2016	at	8:54:49	AM	Central	Standard	Time
   From: Lammers,	Amber	M.
   To:      Breaux,	Annalise	R.	(MU-Student)

  Dear Annalise,

  Thanks for your message. Jeremy also selected Informal Resolution, so we will proceed with
  that process. The next step for me will be to draft the Investigative Report for Ms. Eardley to
  review. I will send you a summary of our interview to approve before the report is ﬁnalized.

  In the meantime, best of luck ﬁnishing this week and safe travels if you’re leaving town over
  the break. Thanks again!

  Sincerely,
  Amber

  Amber	Lammers
  Investigator

  Of,ice	for	Civil	Rights	&	Title	IX
  University	of	Missouri
  civilrights.missouri.edu
  145	Heinkel	Building
  LammersA@missouri.edu
  Phone:	(573)	882-0943


  From:	"Breaux,	Annalise	R.	(MU-Student)"	
  Date:	Thursday,	December	15,	2016	at	9:22	PM
  To:	"Lammers,	Amber	M."	<LammersA@missouri.edu>
  Subject:	Re:	Inves)ga)on	Submi2ed	for	Review

  Amber,

  AXer	much	considera)on,	I	have	decided	I	would	prefer	to	go	with	the	Informal	Equity	Resolu)on
  Process.	I	have	emailed	Ms.	Eardley	about	this	decision	as	well.	I	really	appreciate	the	help	you've
  provided	through	this	inves)ga)on.

  Thanks,
  Annalise	Breaux


  Annalise Breaux
  150-Hour Accountancy Program | Undergraduate Student
  College of Business | University of Missouri | Columbia



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From:	Lammers,	Amber	M.	<LammersA@missouri.edu>
Sent:	Friday,	December	9,	2016	10:48:28	AM
To:	Breaux,	Annalise	R.	(MU-Student)
Subject:	Update:	Inves)ga)on	Submi2ed	for	Review

Dear Ms. Breaux:

This email is to update you on the status of my investigation regarding allegations against
Jeremy Rowles. Earlier this week, I submiJed the information gathered during the
investigation to Ellen Eardley, the Assistant Vice Chancellor for Civil Rights and Title IX, to
review. Shortly, you will be notiﬁed of Ms. Eardley’s determination as to whether this case
will move forward to the resolution phase.

If Ms. Eardley determines that the maJer should not move to the resolution phase, the
investigation and Equity Resolution Process will end. However, if the case does move to the
resolution phase, you will be asked to choose how you would like to resolve the case—
through informal resolution or formal resolution.

Below are brief descriptions of these two processes which we discussed at our meeting. Here
is a link to more information:
hJps://www.umsystem.edu/ums/rules/collected_rules/programs/ch200/200.025_equity_resol
ution_process_for_resolving_complaints_of_harassment.

The Informal Resolution will be used if, and only if, both parties (Complainant and
Respondent) agree to this form of resolution. In the informal process, the Assistant Vice
Provost for Civil Rights and Title IX Administrator will make a decision of responsibility after
reading a report wriJen by the Investigator (me) detailing the facts learned during an
impartial investigation. After a determination of responsibility has been made, parties will be
informed of the decision.

In the Formal Resolution Process, an Equity Resolution Hearing Panel (composed of three
staﬀ members/administrators) will assemble at a Formal Hearing. During this hearing, the
Investigator will serve as the main witness and the panel will hear a report of the
investigation from the Investigator. Both complainant and respondent may serve as witnesses
and may also call people to serve as witnesses at the discretion of the Hearing Panel Chair.
 The Hearing Panel Chair may ask questions of all the witnesses and both complainant and
respondent can question each other by directing their questions through the Hearing Panel
Chair. The Hearing Panelists will make a ﬁnding of responsibility for the charged policy
violation and prepare a wriJen report detailing the ﬁndings, how each member voted, and
information cited by the panel in support of its determination.

Note that you can have an advisor of your choice help you make this decision and

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accompany you to any meetings, interviews, or hearings.

As always, let me know if you have any questions or concerns. Thank you for your
cooperation and patience. I will update you again soon.

Sincerely,
Amber

Amber	Lammers
Investigator

Of,ice	for	Civil	Rights	&	Title	IX
University	of	Missouri
civilrights.missouri.edu
145	Heinkel	Building
LammersA@missouri.edu
Phone:	(573)	882-0943




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                     UNIVERSITY	  of	  MISSOURI	  
                               OFFICE	  FOR	  CIVIL	  RIGHTS	  &	  TITLE	  IX	  
	  
February 24, 2017

VIA ELECTRONIC MAIL ONLY
Jeremy Rowles


RE:    NOTICE OF INTENT TO RENDER FINDINGS VIA
       THE INFORMAL RESOLUTION PROCESS

Dear Mr. Rowles:

       This letter serves to notify you that a finding will be made soon regarding the charges that
you violated Section 200.010 of the Collected Rules and Regulations (Student Standard of
Conduct) by allegedly sexually harassing and stalking Annalise Breaux and three other
MizzouRec staff members: AB, RN, and HT. You have selected informal resolution of this
matter. You will receive the Investigative Report soon.

       This is your last opportunity to request that this matter be resolved through Formal
Resolution before the Equity Resolution Hearing Panel. Section 200.025(G)(5) of the
Collected Rules and Regulations states:

       At any point during the Investigation and Informal Resolution process prior to the finding
       (i.e.: the conclusion of the Informal Resolution process), either party may request that the
       matter be referred to the Formal Resolution for presentation before The Equity
       Resolution Hearing Panel.

       At least three business days prior to rendering a finding on disputed violations, the
       Appropriate Administrative Officer will provide the parties with written notice of intent to
       render a finding using Informal Resolution…

       If, after at least three business days neither of the parties request in writing that the
       matter be referred to the Formal Resolution process, the Appropriate Administrative
       Officer will render a finding on the disputed violations. Once findings have been made,
       the right to the Formal Resolution process is waived and the Informal Resolution process
       is complete. The finding of the Informal Resolution process remains subject to appeal.

        If I do not hear from you on or before March 1, 2017, this matter will be resolved by
Informal Resolution, and I will render a final determination or finding. I will inform you of the
final determination in writing via email to your University of Missouri email account as you
have agreed to receive communications via email.

       You have the opportunity to meet with me to review the charges and the investigation. If
you wish to meet with me, you must contact Executive Assistant Liz Zufall at
zufalle@missouri.edu or (573) 882-2824 on or before March 1, 2017 to schedule a meeting.


                                                       Ei)
          202 Jesse Hall Columbia, MO 65211 Phone: 573-882-2824 Email: eardley@missouri.edu
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Mr. Rowles
February 24, 2017
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       If you have any questions, please do not hesitate to contact me.

                                     Sincerely,




                                     Ellen Eardley
                                     Assistant Vice Chancellor for Civil Rights & Title IX
                                     Title IX Administrator


cc:    Amber Lammers, Equity Consultant & Investigator




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                                                                                                                                                       INFORMAL RESOLUTION
                                                                                                                                              FINDINGS BY THE ADMINISTRATIVE OFFICER

Complainant:                                                                                                                                                                                                        AB, undergraduate student
Respondent:                                                                                                                                                                                                         JR, graduate doctoral student
Administrative Officer:                                                                                                                                                                                             Ellen Eardley, Title IX Administrator & Assistant Vice Chancellor
Date:                                                                                                                                                                                                               March 15, 2017


        JR, graduate doctoral student, is responsible for violating the Student Standard of
Conduct1 for his actions towards undergraduate student AB from March 2016 to October 2016 as
set forth below. JR was 39-years-old when the alleged conduct began. This decision is rendered
pursuant to the University’s Equity Resolution Process2 and describes the policies that were
violated and sets forth appropriate sanctions.

                                                                                                                                                                           PROCEDURAL HISTORY AND FACTUAL RECORD

       The procedural history and factual record of this matter are set forth in the Investigative
Report that was prepared by Equity Consultant and Investigator Amber Lammers. This decision
assumes familiarity with the evidence collected and summarized in the Investigative Report.

                                                                                                                                         UNIVERSITY OF MISSOURI STUDENT CONDUCT CHARGES

       JR was charged with potentially violating the sexual harassment and sex-based stalking
prohibitions in the Standard of Conduct. These charges are analyzed below utilizing the
preponderance of the evidence standard. The “preponderance of the evidence” means that the
evidence shows it is more likely than not that a policy violation occurred.

                                                     The applicable policy defines sexual harassment as:

                          1)   Unwelcome sexual advances or requests for sexual activity by a person or persons in a
                               position of power or authority to another person, or
                          2)   Other unwelcome verbal or physical conduct of a sexual nature by a person to another
                               person, when:
                                       a)   Submission to or rejection of such conduct is used explicitly or implicitly as a
                                            condition for academic or employment decisions; or
                                       b)   Such conduct creates a hostile environment by being sufficiently severe or
                                            pervasive and objectively offensive that it interferes with, limits or denies the
                                            ability of an individual to participate in or benefit from educational programs
                                            or activities or employment access, benefits or opportunities.3

Stalking on the basis of sex is:

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1
  Collected Rules and Regulations, Section 200.010.
2
  Collected Rules and Regulations, Section 200.025.
3
  Collected Rules and Regulations, Section 200.010.


	  
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                                                     following or engaging in a course of conduct on the basis of sex with no
                                                     legitimate purpose that puts another person reasonably in fear for his or her safety
                                                     or would cause a reasonable person under the circumstances to be frightened,
                                                     intimidated or emotionally distressed.4

                                                                                                                                                                                                                           ANALYSIS

         To assess this case, I carefully reviewed the Investigative Report and focused on the key
facts, a number of which were not substantially disputed and for which there was written
evidence.

       In 2015, AB, an undergraduate student, worked at Kaldi’s Coffee off-campus. JR, a
graduate doctoral student, was a customer at Kaldi’s during that time. During the Spring 2016
Semester, AB became an instructor for TigerX classes at the University of Missouri Recreation
Center. JR began taking her TigerX classes.

        The record shows that JR sent about 30 Facebook messages to AB between 3/2/16 and
4/18/16 with increasing frequency. In a number of messages, JR addressed AB as “Silky”
instead of her name. (During the investigation, a Rec Center supervisor noted that JR had called
another undergraduate female instructor “velvet lightening” in an Instagram post in 2015.) JR
does not deny calling AB “Silky” in his messages.

        AB responded to a number of his Facebook messages, but she initiated only one
interaction. During the investigation, AB stated that when she first met JR, she thought he was
gay and this influenced her initial perceptions of his comments towards her. She thought it was
platonic. She also stated, during my meeting with her, that the Rec Center encouraged her to be
polite and friendly when customers engaged in conversations about the classes and she was
trying to do so.

       On April 15, 2016, JR stated in a Facebook message, “…THANK YOU for blessing the
world with the pic you posted Instagram last night! Simply beautiful [AB]. I might have said too
much in my comment on the pic…You are so beautiful to me, in pictures AND in real life…I’m
looking forward to when I get to see you again, and I’m definitely looking forward to us
continuing our conversation about us going out somewhere together next weekend…”

        On April 18, 2016, AB made clear that JR’s comments were unwelcome. In a Facebook
message, she stated, “…I really appreciate your feedback about my class and choreography, but
these messages are getting excessive. I think our friendship needs to remain in the professional
setting. Many of the things you say, like that Instagram comment for example, is over the top and
I wouldn’t be comfortable hanging out outside of my place of work. I still want you to come to
[the class] and enjoy your time there, but I need my space outside of class and I think a line has
been crossed here.”

      After an apology, JR temporarily honored AB’s request. He did continue to attend her
TigerX class, but did not contact her outside of class. Then, during the Fall 2016 Semester, JR

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
4
        Collected Rules and Regulations, Section 200.010.


	  
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enrolled in several of AB’s TigerX classes – sometimes attending three per week, if not more.
According to AB, he would stare at her, try to stand in front of her during instruction, grab her
hand during a classroom high-five, and linger after class to say something to her, all of which
made her uncomfortable and was distressing to her in her place of employment. JR objected to
how AB characterized this behavior and countered that it was normal conduct of a student in an
exercise class. AB reported that she changed her work habits in an attempt to avoid JR, such as
leaving the room immediately after class, trying to not stand in front of JR and so forth. Other
witnesses observed JR trying to stand close to AB, staring at her, attending her classes, and
lingering after class.

       On September 27, 2016, in response to an email that AB and her co-instructor had sent
the TigerX class, JR emailed AB about dance technique and stated, “I also have a song
suggestion…It is a powerful, emotional song, and I would really love to learn how to interpret it
through dance from you.”

        On October 3, 2016, JR wrote an email to AB stating that he was “frustrated” that he
could not take private dance lessons with her and that: “I’m more than certain that I want to do
the private lessons, especially with you as my instructor, as I feel that you can take me where I
really want to go, both physically and emotionally…”

        On October 7, 2016, AB exited the room after class and JR waited for her to return.
AB’s co-instructor convinced JR to leave. Before JR left, he gave the co-instructor a Kaldi’s
Coffee drink token and a piece of paper with “‘The Scientist’ by Coldplay” written on it. This
also made AB feel uncomfortable in her place of employment. During the investigation, JR
stated that he wanted to give AB a token to show that he was inviting her to Kaldi’s to talk about
why she was upset with him and the song was supposed to show her that he wanted to go back to
the beginning – though he did not communicate this to AB at the time.

        On October 14, 2016, JR lingered after class again and provided AB with a letter. She
tried not to accept it, and told him it was inappropriate. Among other things, the three-page letter
expressed in detail his romantic, physical and emotional feelings for AB and invited her on a
date. For brevity, this letter, which describes JR’s opinion of AB’s body, eyes, voice, smile,
dance ability, emotions and in which he professes his love for her, is not reproduced here. It is
attached to the Investigative Report as Exhibit 8. The letter and the sentiments contained within
were unwelcome to AB. This made AB extremely uncomfortable in her place of work, even
more so because she had directly communicated to him in writing that his previous behavior had
crossed the line and that she would not be comfortable spending time with him outside her
employment.

        When I met with JR, he asserted that there was gossip about him within the Rec Center
and stated that he feels hurt. He claimed that he did not understand what he did to upset people.
He expressed frustration at not being selected to be an employee at the Rec Center. He also
expressed frustration that the TigerX instructors either assume male customers are gay or that
they are there to prey upon women. He explained that he enjoys working out and that it is
important to his mental and physical health.




	  
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        Notably, the record also shows that JR told at least one other female undergraduate
instructor at TigerX that he found her “attractive” and asked her to spend time with him outside
of the Rec Center.

         I find by a preponderance of the evidence that JR violated the sexual harassment policy
by engaging in unwelcome verbal and physical conduct of a sexual nature towards AB and
that it created a hostile environment by being sufficiently pervasive that it interfered with
her ability to do her job at TigerX. In April 2016, AB, an undergraduate student, directly
informed JR, a doctoral candidate, that his communications towards her were unwelcome,
unprofessional and crossed the line. After learning that his behavior made AB uncomfortable,
JR chose to attend AB’s TigerX classes multiple times each week, stare at her, make efforts to
speak with her, and make efforts to be near her. He then requested to take private classes with
her, left a token for her, and then wrote a three-page letter describing his very detailed romantic
feelings. From an objective standard, such conduct is unwelcome and hostile. It is also
pervasive in that it lasted over the course of several months.

        I find by a preponderance of the evidence that this same conduct violated the policy
prohibiting stalking on the basis of sex. JR’s actions from March 2016 through October 2016
constitute a course of conduct towards AB that would cause a reasonable person under the
circumstances to be frightened, intimidated or emotionally distressed.

                                                                                                                                                                                                                           SANCTIONS

        Because JR violated the Standard of Conduct, sanctions are appropriate. In issuing
sanctions, factors to consider include, but are not limited to, the nature of and circumstances
surrounding the violation, JR’s disciplinary history, and the need to prevent future recurrence of
violations, as well as any other information deemed relevant.5

        In issuing sanctions, I consider the University’s expectations of doctoral students. For
example, the MU Office of Research and Graduate Studies encourages graduate students to
familiarize themselves with the code of ethics for their profession.6 The American
Anthropological Association’s Principles of Professional Responsibility advises that individuals
should “maintain respectful and ethical professional relationships.”7 It further encourages
professionals to “comport themselves in ways that promote an equitable, supportive and
sustainable workplace environment.”

        JR does not appear to set appropriate professional boundaries with undergraduate
students in workplace environments throughout campus—whether in academic settings or at the
Rec Center. In September 2015, it was alleged that he invited an undergraduate student to office
hours in the evening and insinuated that as her Teaching Assistant he would provide questions or
answers to an exam if she provided him sexual favors. After an investigation, Senior Associate
Provost Ken Dean determined in March 2016 that JR was not responsible for violating the sexual
harassment policy. Yet, Mr. Dean stated:
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
5
  Collected Rules and Regulations Section 200.025.
6
  See http://gradstudies.missouri.edu/academics/scholarly-integrity-ethics/scholarly-honesty-prof-ethics.php.
7
  Available at http://ethics.americananthro.org/category/statement/.


	  
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       Nonetheless, I want to be very clear that [REDACTED NAME] was not
       unreasonable to have inferred, as a subjective belief, that your behavior indicated
       sexual favors were sought. However, you never directly indicated that your offer to
       show her the exam was conditioned on sexual favors. None of the evidence or
       statements contained within the Investigative Report indicated that you requested,
       or hinted that you desired sexual favors in exchange for showing [REDACTED
       NAME] the exam. I find that your behavior, specifically, closing the door to your
       TA Office and stating to [REDACTED NAME] that you did not want money,
       were indicative of an internal recognition that you were doing something wrong by
       offering to show her the exam or read her exam questions, and not evidence that
       you were seeking sexual favors. I will be contacting your immediate supervisor
       and Department Chair so that they may take appropriate action regarding your
       behavior of offering to share exam questions.

Mr. Dean also informed MU Athletics, where JR had served as a tutor to undergraduate students,
that JR should not tutor female students unless the tutoring would be in an open area.

         The Department Chair at the time met with JR and expressed concerns about his conduct.
It is concerning that JR failed to learn from Mr. Dean and the Department Chair’s previous
warning regarding his conduct with an undergraduate female student.

        Thus, considering the totality of the circumstances, the following sanctions are imposed
against JR for violating the sexual harassment and sex-based stalking prohibitions in the Student
Standard of Conduct:

        (1) University Suspension

       JR is suspended from the University of Missouri, including all four campuses, for four
years. This is a temporary separation from the University. He may not attend classes or enroll in
the University. The Registrar, Dean of the College of Arts & Science, and the Anthropology
Department Chair will be notified of the suspension.

       The suspension will go into effect May 13, 2017, and will last through the end of summer
session 2021. Should JR wish to apply for readmission after his period of suspension is
complete, he must complete the remedial measures described below.

        (2) Immediate Prohibition from Entering Campus (Trespass)

        Effective immediately, JR may not be present on the University of Missouri campus
except to obtain medical care.

        This means that JR may not come to campus to complete the courses in which he is
currently enrolled for the Spring 2017 semester. At the discretion of the faculty teaching his
current courses and the Department, JR may be permitted to complete this semester’s




	  
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coursework remotely if such an accommodation is reasonable, not burdensome on the faculty
and would allow him to successfully complete the learning outcomes required for the course.

       Should JR or the Department of Anthropology have questions regarding this restriction or
should he wish to seek permission to come to campus, they should contact the Office for Civil
Rights & Title IX.

      The University of Missouri Police Department will be notified that JR is not to be present
on campus during his suspension and will have authority to enforce this provision. If he comes to
campus, it will be considered criminal trespass and he may be prosecuted in a criminal court.

        (3) Permanent Residence Hall Expulsion

       JR may never reside in or visit any University of Missouri residence hall. The Director of
Residential Life will be notified of this restriction.

        (4) Permanent Recreation Center Expulsion

        JR is permanently expelled from the Recreation Center. He may never visit the
University of Missouri Recreation Center or Complex. The Director of the Recreation Center
will be notified of this restriction.

        (5) Remediation Plan

       If JR wishes to return to the University of Missouri after the suspension period ends, he
must satisfactorily complete the following steps as required remediation, including:

        a. Complete programming on sex-based discrimination and sexual harassment: the
        “Not Anymore” training for students (http://civilrights.missouri.edu/education/not-
        anymore.php) and the UM System’s “Building a Foundation: Discrimination Prevention
        and Title IX” training module online (https://myhr.umsystem.edu) and provide evidence
        of having done so to the Office for Civil Rights & Title IX. If either of these programs
        has already been completed, he is expected to repeat the program;

        b. Review the University of Missouri’s key policies, particularly the equal opportunity,
        sex discrimination and consensual relationship policies, as well the Office of Research
        and Graduate Studies academic integrity and ethics policies
        (http://gradstudies.missouri.edu/policies/academic-integrity-ethics.php) and the faculty
        bylaws describing professional ethics and academic responsibilities;

        c. Secure a faculty coach, professional mentor, therapist and/or counselor to aid him
        in professional and/or personal development to understand:
                (i) appropriate boundaries and behavior when working with undergraduate and
                graduate students in the classroom and across campus;
                (ii) the seriousness of abuse of power, authority and position or the appearance
                thereof; and



	  
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               (iii) the professional commitment to respect for individuals, integrity in academic
               conduct, the proper role as a teacher-scholar; and

        d. Attend at least one external professional development program on how to interact
        professionally with students, faculty and others to establish appropriate interpersonal
        boundaries and demonstrate respect and integrity in the workplace, academy, and campus
        life.

JR should maintain a record of all remediation efforts and should develop a personal, written
campus professionalism policy for himself based on the lessons learned. This personal policy
should include actionable items as to how he will ensure behavioral changes and monitor
adherence to the policy.

        After JR completes the aforementioned items, he must submit written documentation of
achievement of the remediation requirements to the Office for Civil Rights & Title IX which will
determine whether each element of the remediation has been satisfied before he will be eligible
to apply to an academic program at the University of Missouri.

        After satisfactory completion of the remediation program, if JR seeks a graduate
assistantship or employment, JR must be evaluated before he may be employed by the
University, directly supervise others, or oversee undergraduate or graduate students. This
evaluation should be conducted by the chair of the department that wishes to assign JR to a
graduate assistantship position (or by the head of any unit that wishes to employ JR) in
consultation with the Provost’s Office and the Office for Civil Rights and Title IX. If JR seeks to
enroll in classes only, the evaluation will be completed by the Office for Civil Rights & Title IX.

       The evaluation must include careful review and assessment of lessons learned and
evidence of significant behavioral change before he will be permitted to be employed by the
University, supervise others and oversee undergraduate or graduate students.

RETALIATION IS PROHIBITED

        The parties are reminded that retaliation against a person because of participation in the
MU equity process is strictly prohibited and will be sanctioned. This includes, but is not limited
to, any hostile actions such as verbal or visible threats to the wellbeing of an individual, any
threat to spread false information about a person, or any action that would deter reasonable
people from pursuing their rights.

OPTION TO APPEAL

        Either party may appeal this decision on one or more of the following grounds:

               1.   A procedural error occurred that significantly impacted the outcome of
                    the Informal Resolution (e.g. substantiated bias, material deviation
                    from established procedures, etc.).




	  
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              2.   To consider new evidence, unavailable during the original hearing that
                   could substantially impact the original finding or sanction.
              3.   The sanctions fall outside the range typically imposed for these
                   offenses, or for the cumulative conduct record of the
                   Respondent/Accused.

The Equity Resolution Appellate Officer who hears the appeal is Vice Chancellor of Student
Affairs Catherine Scroggs. The parties have three business days to request an appeal. A request
for an appeal must be in writing to Dr. Scroggs by Monday, March 20, 2017, and it must
identify one of the three reasons for appeal. Dr. Scroggs may grant an extension of time to
request an appeal, but it may not exceed five business days. Dr. Scroggs can be reached at
scroggsC@missouri.edu and her Executive Assistants, Ellen Guthrie and Anita Cowan, can be
reached at guthrieE@missouri.edu and cowanA@missouri.edu.

      A copy of the full appeals procedures contained in section 200.025 of the Collected Rules
and Regulations is included with this decision.




	  
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                                APPEAL OF INFORMAL RESOLUTION
                         FINDINGS BY THE ADMINISTRATIVE OFFICER


Complainant:                         Annalise Breaux
Respondent:                          Jeremy Rowles
Administrative Officer:              Ellen Eardley
Equity Resolution
Appellate Officer:                   Dr. Cathy Scroggs
Date:                                March 24, 2017




       On March 15, 2017, Ellen Eardley issued a decision pursuant to the University of
Missouri’s Equity Resolution Process holding that Jeremy Rowles violated the Student Standard
of Conduct for his actions towards Annalise Breaux from March 2016 to October 2016. The
deadline to appeal this decision was extended to March 24, 2017 at 12:00 pm. This appeal is
based on the grounds that the imposed sanctions fall outside the range typically imposed for this
offense or for the cumulative conduct record of the accused.1
Sanctions Imposed
       The administrative decision imposes a four-year suspension from all four campuses of the
University of Missouri, immediate prohibition from entering campus (meaning that he may not
complete current courses that he is taking or teaching), permanent residence hall expulsion,
permanent recreation center expulsion, and a remediation plan.
        A four-year suspension effectively ends the academic career of a graduate student
pursuing a Ph.D. and is not a fair or appropriate sanction for the alleged conduct. Furthermore,
by preventing him from completing his responsibilities this semester both as a TA and a student,
Mr. Rowles’ reputation is damaged in his department and potential references. This damage to
Mr. Rowles’ reputation will also prevent him for pursuing completion from his degree
elsewhere, as well as seeking employment in careers related to his degree field. In addition, the
excessive severity of the suspension will put Mr. Rowles’ financial aid towards his education in
jeopardy, in particular his educational benefits granted to him by the Department of Veterans’
Affairs.
        Mr. Rowles is an African-American man and it is clear that, at least in part, he is the
subject of stereotyping regarding his motives for taking dance classes. Also, in his previous Title
IX investigation, he was told by an investigator that he “looked like someone who might commit

1
    Collected Rules and Regulations, Section 600.030.



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sexual assault.” This type of stereotyping affected the severity of the sanctions issued in this
case. Even though Mr. Rowles was found not to have violated the sexual harassment policy in
the previous investigation, Ms. Eardley clearly focused on the facts from the previous
investigation in issuing sanctions in this case.
        Indeed, reference to the Principals of Professional Responsibility from the American
Anthropological Association is inappropriate in this matter. Mr. Rowles is accused of behavior
that occurred entirely in the course of his participation in the MizzouRec. These allegations do
not relate to his role in the Anthropology Department and are unrelated to his comportment as a
TA or teacher in Anthropology. Social interactions at a sports facility are not governed by
miscellaneous codes of conduct related to work in the Anthropology Department.
Conduct At Issue
        The details of the conduct are mostly undisputed, and center around Mr. Rowles
attempting to form a friendship and/or a romantic relationship with the complainant, whom he
met when she worked as a barista at Kaldi’s then got to know further when she became a fitness
instructor at MizzouRec.
        Notably, nowhere in the complaint or testimony is Mr. Rowles described as threatening
nor engaging in physical contact of any kind other than high-fives before, during, or after fitness
classes. The essence of the complaint is that he wanted more from his relationship with the
complainant than she wanted and he made an effort to interest her. Mr. Rowles is not a
supervisor or teacher for Ms. Breaux. There are no allegations that he was anything other than a
client of the MizzouRec Center.
       First, Mr. Rowles engaged in two months of flirtatious Facebook messages that were
reciprocated and included face-to-face interactions between the parties that were friendly. The
complainant now alleges that she had these interactions because she believed that Mr. Rowles
was gay (and, presumably, thus not interested in any romantic relationship). But at no time did
Ms. Breaux ask Mr. Rowles about his sexual orientation or tell him that she believed that he was
gay. Indeed, his Facebook profile always indicated that he was interested in a relationship with
women. These messages culminated in Mr. Rowles asking Ms. Breaux to go on a date with him.
        There is a small disparity in the testimony about whether Ms. Breaux agreed or whether
she merely said that she was too busy. Either way, Ms. Breaux did not immediately say that she
had no interest and, while she describes feeling uncomfortable, she does not allege that she felt
intimidated or threatened by his request. When Mr. Rowles followed up, Ms. Breaux responded
that she was only interested in a professional relationship. Mr. Rowles immediately apologized.
At the time, Ms. Breaux specifically encouraged Mr. Rowles to continue to attend her dance
classes.
        Mr. Rowles sent no further messages for over five months, though he did continue to
attend dance classes. Ms. Breaux specifically encouraged Mr. Rowles to attend more classes,
including classes she was teaching. At the end of September, in response to an email Ms. Breaux
sent to dance class participants that stated she was available for questions about the class, Mr.




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Rowles sent an email asking for advice about learning dance moves. It was Ms. Breaux who
suggested that he might be able to take private dance lessons. Mr. Rowles understood this
communication as an offer suggesting that Ms. Breaux might be available to teach these lessons.
Several exchanges after that centered around his desire to take dance lessons, and a
misunderstanding of Ms. Breaux’s intent when she suggested the lessons.
        Finally, in October, Mr. Rowles wrote an ill-advised letter to Ms. Breaux attempting to
express his romantic feelings, but also seeking a response from her about whether she wanted to
have a relationship with him or whether she wanted him to give up. While the letter demonstrates
that Mr. Rowles misunderstood Ms. Breaux’s wishes, the letter is not threatening or intimidating
in any way. Indeed, the letter is a clear attempt by Mr. Rowles to express his feelings in a way
that would not be intimidating because it would not involve a face-to-face interaction that might
make Ms. Breaux uncomfortable.
Analysis
        Stalking on the basis of sex requires that the complainant be put “reasonably in fear for his or her
safety or would case a reasonable person under the circumstances to be frightened, intimidated, or
emotionally distressed.”2 Here, the conduct at issue here amounts to misunderstanding of social
cues and unrequited romantic interest. Giving an instructor a high five in an exercise class does
not constitute sexual contact. There is absolutely no allegation that there was inappropriate
sexual contact other than high fives. There are also no allegations that there were interactions
that put the complainant in fear for her safety. Although the original complaint, reported by a
MizzouRec employee, suggests that the complainant felt “intimidated,” the complainant herself
only reports that she felt “uncomfortable.” Therefore, the conduct at issue does not meet the
definition of stalking on the basis of sex.
        In this case, to violate the sexual harassment policy, Mr. Rowles must be found to have
engaged in conduct that is “sufficiently severe or pervasive and objectively offensive that it
interferes with, limits, or denies the ability of an individual to participate in or benefit from …
employment access, benefits or opportunities.”3
       First, the alleged conduct is neither severe nor pervasive. Mr. Rowles attempted to
engage Ms. Breaux in a romantic relationship. His efforts may be awkward, but even Ms. Breaux
acknowledged that his behavior was not “malicious” and that he “has an inability to read social
cues.”
        Second, the alleged conduct is not “objectively offensive.” While the romantic interest
was unrequited, it was not expressed in an offensive manner. Mr. Rowles tried to express his
feelings to Ms. Breaux to give her complete information and see whether she would be interested
in pursuing a romantic relationship. He apologized for any misunderstandings and told her that
he never wanted to make her uncomfortable. He described his feelings in complimentary terms



2
    C.R.R. 200.010.
3
    C.R.R. 200.010.



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and explained that he was looking for an answer from her and that it was “[her] choice, and [he]
will respect [her] choice.”4
         Ms. Eardley finds that “[f]rom an objective standard, such conduct is unwelcome and
hostile.”5 This finding misstates the standard set forth in the definition. The standard is not
whether the conduct is unwelcome—an inherently subjective determination—but rather whether
it is objectively offensive. Unwanted, but non-offensive, offers to change the nature of a
relationship is not “objectively offensive.” Ms. Eardley does not find that the conduct is
objectively offensive.
Conclusion
        I request that the finding that this conduct constitutes stalking be reviewed and reversed
because the conduct does not meet the definition. I also request that the finding that this conduct
constitutes sexual harassment be reviewed and reversed because the alleged conduct is not severe
or pervasive and is not objectively offensive.
       Even if the findings of violation are not reversed, I also request that the imposed
sanctions be reviewed and revised. The imposition of sanctions that amount to an end to my
academic career is not appropriate for this course of conduct. Therefore, I request that the Equity
Resolution Appellate Officer review this case and modify the decision and the imposed
sanctions.




4
    Exhibit 8 to the Investigative Report, p. 33.
5
    Informal Resolution Decision, p. 4.



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